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                           Case No. 23-1392


         United States Court of Appeals
            For the Federal Circuit
             INTEGRATED ADVERTISING LABS, LLC,

                                                  Appellant,
                                   v.

                         REVCONTENT, LLC.

                                                  Appellee.

 Appeal from the United States District Court for the Middle District of
                Florida, Case No. 8:22-cv-00487-KKM

         OPENING BRIEF OF APPELLANT INTEGRATED
                 ADVERTISING LABS, LLC

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        CLAIMS 13 AND 22 OF U.S. PATENT NO. 9,286,622

   13. A method of electronically delivering advertisements as sponsored
news content to a plurality of web sites that each includes non-sponsored
content, the method comprising:

  electronically receiving the sponsored news content by a server
computer from one or more advertisers over a communications network;

  electronically distributing the sponsored news content by the server
computer to a related one or more of the web sites over the
communications network;

  electronically receiving the sponsored news content by the one or more
web sites from the server computer over the communications network;

  electronically posting the sponsored news content among the non-
sponsored content at each of the related one or more of the web sites;

   electronically tracking one or more of impressions, clicks, click-
through rate, or user actions with respect to the sponsored news content
at the related one or more of the web sites;

   electronically monitoring user data or user activity at the related one
or more of the web sites; and

   delivering a specific sponsored news content to a particular user
utilizing a particular one of the monitored user data or user activity,
wherein revenue generated from the delivery of the specific sponsored
news content is shared with the related one or more of the web sites,

  wherein the sponsored news content is not a banner advertisement,

   wherein when the sponsored news content is displayed, it is displayed
separately from any banner advertisement and contiguously together
with at least some of the non-sponsored content appearing on the page to
scroll together with the at least some of the non-sponsored content such
that the sponsored news content is in a fixed, position relative to at least
some of the contiguously displayed non-sponsored content,
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  wherein a time period during which the sponsored news content is
posted at the related one or more of the web sites is limited,

   wherein a frequency at which the sponsored news content is displayed
for each user is limited, and

   wherein a plurality of features of the sponsored news content are
substantially the same as a corresponding plurality of features of the
contiguous non-sponsored news content, and at least one feature of the
sponsored news content differs from or is in addition to the corresponding
feature of the non-sponsored news content in order to distinguish the
sponsored news content from the non-sponsored news content.

   22. The method of claim 13, further comprising electronically posting
the sponsored news content among the non-sponsored content at each of
multiple related web sites, and electronically monitoring user data or
user activity at each of the multiple web sites.

              CLAIM 8 OF U.S. PATENT NO. 9,652,781

   8. A method of electronically delivering advertisements as sponsored
news content to a plurality of web sites that each includes non-sponsored
content, the method comprising:

   electronically monitoring user data or activity on one or more web
sites;

  electronically requesting sponsored news content by a server computer
based on the monitored user data or activity;

  electronically distributing the sponsored news content by the server
computer to a related one or more of the web sites over the
communications networks based on the monitored user data or activity;

  electronically embedding the sponsored news content among the non-
sponsored content at the related one or more of the web sites;

   electronically tracking one or more of impressions, clicks, click-
through rate, or user actions with respect to the sponsored news content
at the related one or more of the web sites; and
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  electronically delivering a specific sponsored news content to a user
based on the monitored user data or user activity,

   displaying specific sponsored content among non-sponsored content on
a plurality of related web sites;

   wherein the sponsored news content is not a banner advertisement or
a static header,

   wherein when the sponsored news content is displayed, it is displayed
separately from any banner advertisement and contiguously together
with at least some of the non-sponsored content appearing on the page to
scroll together with the at least some of the non-sponsored content such
that the sponsored news content is in a fixed position relative to at least
some of the contiguously displayed non-sponsored content,

  wherein a time period during which the sponsored news content is
posted at the related one or more of the web sites is limited,

   wherein a frequency at which the sponsored news content is displayed
for the user is limited, and

   wherein a plurality of features of the sponsored news content are the
same as a corresponding plurality of features of the contiguous non-
sponsored news content, and at least one feature of the sponsored news
content differs from or is in addition to the corresponding feature of the
non-sponsored news content in order to distinguish the sponsored news
content from the non-sponsored news content.
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                                                                     03/03/2023



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2023-01392
   Short Case Caption Integrated Advertising Labs, LLC v. Revcontent, LLC
   Filing Party/Entity Integrated Advertising Labs, LLC



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        03/03/2023
  Date: _________________                   Signature:    V-XVWLQ%.LPEOH

                                            Name:         Justin B. Kimble




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                                                                             03/03/2023



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      X None/Not Applicable            ‫ ܆‬None/Not Applicable
 ,QWHJUDWHG$GYHUWLVLQJ/DEV//&                                     Nativo, Inc.




                                  ‫܆‬      Additional pages attached




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                                                                               03/03/2023



FORM 9. Certificate of Interest                                                             Form 9 (p. 3)
                                                                                             March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable                     ‫܆‬       Additional pages attached

  1HOVRQ%XPJDUGQHU&RQUR\3&        *XQVWHU<RDNOH\ 6WHZDUW3$
  7:LOOLDP.HQQHG\                  -RKQ$6FKLILQR
  1DWKDQ//HYHQVRQ

  7KH/DZ2IILFHRI3DXO06LVFR    :LQVWRQ 6WUDZQ//3
  3DXO06LVFR                       &KULVWRSKHU7*UHVDOIL




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                                  ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable                     ‫܆‬       Additional pages attached




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                STATEMENT OF RELATED CASES

     Pursuant to Federal Circuit Rule 47.5, counsel for Appellant

Integrated Advertising Labs, LLC (“IAL”) states that no other appeal

from the proceeding that is the subject of the present appeal was

previously before this Court or any other appellate court. To the best of

counsel’s knowledge, the only cases that may directly affect or be directly

affected by these appeals are: Integrated Advertising Labs, LLC v.

Revcontent, LLC, Case No. 8:22-cv-00487-KKM-CPT (M.D. Florida) and

Revcontent, LLC v. Integrated Advertising Labs, LLC, Case No. IPR2022-

01511 (PTAB).

                  JURISDICTIONAL STATEMENT

     This action arose under the patent laws of the United States, 35

U.S.C. §§ 101 et seq. Thus, the District Court had subject matter

jurisdiction over this action under 28 U.S.C. §§ 1331 and 1338(a). The

Court of Appeals has jurisdiction under 28 U.S.C. § 1295. IAL seeks

review of the District Court’s December 8, 2022, final order granting

Revcontent, LLC’s (“Revcontent”) motion for judgment on the pleadings

under Rule 12(c), and entering final judgment.




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                    STATEMENT OF THE ISSUES

     1.    Whether the district court legally erred in granting judgment

on the pleadings that all 57 claims of U.S. Patent No. 9,286,622 (the ’622

patent), U.S. Patent No. 9,652,781 (the ’781 patent), U.S. Patent No.

10,147,121 (the ’121 patent) (collectively, “the asserted patents” or “IAL’s

patents”) are directed generically to the abstract idea of targeted

advertising under step one of Alice.

     2.    Whether the district court legally erred in granting judgment

on the pleadings that all claims of the asserted patents lacked inventive

concept under step two, even though IAL specifically pleaded that

numerous claim elements were directed to disclosed problems in the art.

     3.    Whether the allegations of IAL’s Complaint raise factual

disputes that precludes entry of judgment for IAL at the pleadings stage

under Federal Rule of Civil Procedure 12(c).

                     STATEMENT OF THE CASE

     In 2006, inventor Justin Choi conceived of solutions to problems he

faced in attempting to advertise effectively using the Internet. In

particular, he discovered that it was impossible to assimilate existing

advertisements to the look and feel of a website’s formatted content in an


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automated fashion, and manual attempts were not scalable across

numerous websitest. Appx003-004, ¶9. Internet advertising that

assimilated to a website’s formatted content became known as native

advertising. Furthermore, it was impossible to readily make such native

advertisements appear across multiple websites simultaneously. Id.

Through his company, Nativo, Inc., which assigned the asserted patents

to IAL, Choi developed technology that embodied the claimed inventions

at issue on this appeal. Appx003, ¶8.

     An example of the claimed inventions embodied in Nativo’s

technology is shown in the annotated graphic below, taken from Fodor’s

website.




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Appx518. The sponsored content, or advertisement, appears seamlessly,

or natively, amongst other website content within the user interface in a

browser. Claim 1 of the ’121 patent, is reproduced and annotated below

to demonstrate the multiple limitations that are drawn to native

advertising.

          1. A method of displaying sponsored posts among a
     plurality of non-sponsored posts on one or more web
     pages, the method comprising:

           electronically receiving one or more sponsored posts
     over a communications network, wherein the sponsored post
     is directed to a particular user or user type;



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          electronically displaying the sponsored post among
     the non-sponsored posts on the web page;

           electronically tracking user data or activity with respect
     to the sponsored post, the data or activity comprising one or
     more of impressions, clicks, click-through rate, or user
     actions;

         wherein the sponsored post is not a banner
     advertisement or a static header,

          wherein when the sponsored post is displayed, it is
     displayed separately from any banner advertisement
     and contiguously together with at least some of the
     non-sponsored posts appearing on the web page to
     scroll together with the at least some of the non-
     sponsored post such that the sponsored post is in a
     fixed position relative to at least some of the
     contiguously displayed non-sponsored posts,

          wherein the sponsored post includes at least one of
     video or image content;

           wherein a time period during which the sponsored post
     is posted is limited,

           wherein a frequency at which the sponsored post is
     displayed for the user or user type is limited, and

           wherein a plurality of features of the sponsored
     post are the same as a corresponding plurality of
     features of the contiguous non-sponsored posts, and at
     least one feature of the sponsored post differs from or
     is in addition to the corresponding feature of the non-
     sponsored posts in order to distinguish the sponsored
     posts from the non-sponsored posts.

Appx339-340, 14:54-15:22 (emphasis added).
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     The seamless presentation of advertisements of IAL’s patents

contrasts with the early days of intent advertising. For example, the

image below from an early CNET website shows an internet

advertisement as a white bar containing images of various corporate

logos that interrupt the “More Stories” content of the website.




Appx515. This example does not show seamlessness between the

advertisement and the regular website content. Instead, it is an example

of the type of less effective banner advertisements that the asserted

patents teach away from, and contains none of the claim limitations

drawn to what would become referred to as native advertising.




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      IAL’s patents are each entitled “Press Release Distribution

System,” claim priority to June 29, 2006, and comprise 57 claims.

Appx004-006, Appx276. The inventions described and claimed in the

asserted patents relate to new and novel approaches to placing sponsored

content, e.g., advertisements, among non-sponsored content across

multiple websites in a manner that improves upon conventional forms of

advertising on the Internet. See, e.g., Appx322, 15:50-16:32.

      The patents identify numerous extant problems with advertising on

the Internet in 2006, including the ineffectiveness of single banner image

ads, and the difficulties in working with numerous websites across the

Internet. Appx297, 1:19-25, 1:35-37, and 1:46-49. Specifically, because

banner ads were ineffective, it was necessary to manually craft separate

ads for each desired website, which would then need to be modified if the

advertiser’s product changed or new content was added to the websites.

Id., 2:12-21.

      Thus, it was “desirable to provide tools that can be used by the

advertisers or manufacturers to monitor dissemination of information

regarding their brand names or products over the global computer

networks.” Id., 2:43-46. The patents describe and claim embodiments in


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which specific hardware and software modules are used to distribute the

advertisements to multiple websites according to relatedness between

the advertisements and the users of the websites, and to post the

advertisements natively within the content on those websites. Appx293,

Fig. 4, Appx298, 3:3-14, Appx302, 12:48-60; Appx303, 13:55-60. Further,

instead of static banner images, the inventions described in the patents

provided the ability to distribute ads comprising multiple components,

including “text, video, graphics, images, multimedia, programming,

and/or any other suitable information as those skilled in the art would

appreciate.” Appx301, 9:59-62. To distribute and display ads comprised

of these varied components, the patents use specific software plug-ins

within the user’s browser. Id., 10:53-67.

     The patents’ improved native advertising is further described and

illustrated through Figure 6:




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Appx295. About this embodiment, the patents teach that the website

includes one or more banner ads 502 and 506 and one or more posts 510.

Appx303, 13:19-23. The website also “displays a press release 508, which

is displayed with a background color (e.g., red) different from that of the

member posts 510. This way, press releases from the advertisers 403 can

be brought to the immediate attention of the forum member. In other

embodiments, the press release post (or the alert thereof) may be

displayed with other background color, distinguishing font and/or text

format (e.g., bold text) as those skilled in the art would appreciate.” Id.,

13:25-33. Further, as shown in Figure 6, the user can scroll through the




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content and the press release 508 will stay in a fixed position

contiguously with the member posts 510. Appx295.

     These non-abstract improvements to the art are set forth in the

claimed systems and methods and were key to the Patent Office’s

decision to issue the asserted patents. Indeed, the claims of the ’622

patent were issued over initial rejections under § 101. The examiner

originally contended that the claims “do not amount to significantly more

than the abstract idea” of delivering advertisements and “do not amount

to an improvement to the functioning of a computer itself.” Appx345-346.

As the applicant explained, the examiner initially failed to “take into

account that [the claims], among other things, improve upon limitations

of the internet itself. For example, the claims provide a system and

method that places sponsored content among non-sponsored content on a

website a manner that improves upon conventional forms of

advertisements such as banner advertisements. Such improvements

upon the Internet itself are not abstract ideas.” Appx356. As one example,

the applicant also pointed specifically to the limitation of “display[ing]

the sponsored news content separately from any banner advertisement

and contiguously together with at least some of the non-sponsored


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content appearing on the page to scroll together . . . .” Id. The applicant

further explained that the claims “include a number of substantial,

meaningful and concrete limitations that tie the claims down and remove

them from essentially affecting a monopoly on the allegedly abstract idea

of merely delivering advertisements.” Id. Shortly thereafter, the

applicant conducted an interview with the examiner, who then agreed

that the claims were directed to inventive concepts, including “an

improvement to a user interface of a computer system.” Appx365.

     On March 1, 2022, IAL sued Revcontent for infringement of the

claims of the ’622 patent, the ’781 patent, and the ’121 patent. Appx001-

020. IAL made specific allegations in its Complaint that the claims of the

asserted patents are patent eligible. Appx005-011, ¶¶15-22. IAL also

specifically pleaded facts about the inventor, Justin Choi, and Nativo’s

development of the patented technology. Appx003, ¶8, Appx003-004, ¶9.

     IAL also pleaded that the patent examiner allowed and issued the

claims of the ’622 patent over §101 rejections based upon the applicant’s

arguments that claims included multiple limitations that “tie the claim

down and remove them from essentially effectively a monopoly,”

including the limitations relating to “plac[ing] sponsored content among


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non-sponsored content on a website” in a manner that improves upon

conventional approaches such as banner advertisements. Appx009-010,

¶20.

       IAL also specifically pleaded that “[o]ne such ‘problem [in the art]

is that one needs to work through many different sites to reach the

market.’” Appx006, ¶17 (quoting ’622 patent, 1:35-37). And “the existing

banner images may not be ideal for all of the sites that the

advertisements are to be placed on,” and thus separate ads would need

to be crafted for each site. Appx006-007, ¶17 (quoting ’622 patent, 2:12-

16). Thus, the patents include claim limitations solving those problems,

such as “wherein when the sponsored news content is displayed, it is

displayed separately from any banner advertisement and contiguously

together with at least some of the non-sponsored content appearing on

the page to scroll together with the at least some of the non-sponsored

content such that the sponsored news content is in a fixed position

relative to at least some of the contiguously displayed non-sponsored

content,” and “further comprising electronically posting the sponsored

news content among the non-sponsored content at each of multiple




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related web sites, and electronically monitoring user data or user activity

at each of the multiple web sites.” Appx010, ¶21.

     On June 3, 2022, Revcontent filed a motion under Rule 12(c)

seeking judgment on the pleadings that all claims of all three of IAL’s

patents are patent-ineligible under § 101. Appx201-230. IAL filed its

response in opposition on June 24. Appx260-286. Over the following five

months, the parties conducted discovery, disclosed claim construction

positions, and filed a joint claim construction statement on November 11.

Appx402-404. On a limited record and without oral argument, the district

court granted Revcontent’s motion and entered judgment on December 8.

Appx454-470, Appx471-472. IAL timely appealed. Appx473-474.

                  SUMMARY OF THE ARGUMENT

     IAL appeals because the district court erred in issuing judgment on

the pleadings under Rule 12(c) that IAL’s patents do not claim patent

eligible subject matter. The district court could only reach that decision

by ignoring factual disputes and drawing inferences from the intrinsic

and briefing record against IAL, the non-movant. This is reversible error

under Eleventh Circuit law.




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     Moreover, throughout its opinion, the district court required IAL to

prove that its claims are valid, instead of holding Revcontent to its

burden to prove that they are invalid. The district court required IAL to

disprove that Revcontent’s representative claims were appropriate. And

before the parties had fully disclosed their contentions and conducted

claim construction, the district court required IAL to prove that claim

construction raised factual issues. However, the “burden of proof never

shifts to the patentee to prove validity.” Pfizer v. Apotex, Inc., 480 F.3d

1348, 1359 (Fed. Cir. 2007) (emphasis added).

     Under step one of its Alice analysis, the district court further erred

in concluding that all 57 claims of IAL’s 3 asserted patents are directed

to the abstract idea of targeted advertising. The district court cursorily

dismissed the disclosure in the specifications and numerous related claim

limitations on improvements to the functionality of the Internet itself.

Specifically, IAL’s patents are directed to novel approaches to advertising

on the Internet, which would eventually be coined “native advertising.”

Indeed, the district court dismissed limitations that the Patent Office

agreed   overcame    a   rejection   under    §101,     including    displaying

advertisements among other non-sponsored content on websites,


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matching numerous features of the advertisements to the non-sponsored

content, and displaying those native advertisements contiguously

together with the non-sponsored content so that it scrolls together. The

district court thus erred because it did not consider the claims as a whole,

as it must. Diamond v. Diehr, 450 U.S. 175, 188 (1981).

     Further, on the record before it, the district court’s minimal

analysis of step two of Alice is erroneous, in that the court resolved

inferences against IAL and disregarded factual issues, including whether

the combination of elements was well understood, routine, and

conventional in 2006. IAL plausibly pleaded that, before its patents,

there were numerous challenges in advertising on the Internet, and that

existing static banner advertisements were ineffective and inefficient.

IAL’s patents disclosed numerous specific solutions to those problems

that, at minimum, provide an inventive concept. In rendering judgment

on the pleadings, on an undeveloped record and without claim

construction, the district court erred.




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                              ARGUMENT

I.   Standard of review.

     This Court reviews a district court’s grant of a motion for judgment

on the pleadings under Rule 12(c) under regional circuit law, here the

Eleventh Circuit. Automated Tracking Sols., LLC v. Coca-Cola Co., 723

Fed. Appx. 989, 992 (Fed. Cir. 2018). The Eleventh Circuit reviews a

grant of judgment on the pleadings de novo. Cannon v. City of W. Palm

Beach, 250 F.3d 1299, 1301 (11th Cir. 2001).

     Further, in the Eleventh Circuit, “[j]udgment on the pleadings is

appropriate where there are no material facts in dispute and the moving

party is entitled to judgment as a matter of law.” Perez v. Wells Fargo

N.A., 774 F.3d 1329, 1335 (11th Cir. 2014) (internal quotation marks and

citation omitted). “In determining whether a party is entitled to judgment

on the pleadings, we accept as true all material facts alleged in the non-

moving party’s pleading, and we view those facts in the light most

favorable to the nonmoving party.” Id.

     Patent eligibility under § 101 is a question of law, based on

underlying factual questions. Berkheimer v. HP Inc., 881 F.3d 1360, 1368

(Fed. Cir. 2018). It cannot be resolved on the pleadings if a comparison of


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the averments in the competing pleadings reveals a material dispute of

fact. Automated Tracking Sols., LLC v. Coca-Cola Co., 723 Fed. Appx.

989, 992 (Fed. Cir. 2018).

II.   The district court erred in finding that the claims are
      directed to the abstract idea of targeted advertising.

      The district court overgeneralized the claims of the asserted

patents and incorrectly concluded that all 57 claims are simply “directed

to targeted advertising.” Appx463. In so doing, the district court

described the claims at a “high level of abstraction and untethered from

the language of the claims.” Enfish, LLC v. Microsoft Corp., 822 F.3d

1327, 1337 (Fed. Cir. 2016). This approach fails to “articulate what the

claims are directed to with enough specificity to ensure the step one

inquiry is meaningful.” Core Wireless Licensing v. LG Electronics, 880

F.3d 1356, 1361 (Fed. Cir. 2018). Indeed, because “all inventions at some

level embody, use, reflect, rest upon, or apply laws of nature, natural

phenomena, or abstract ideas,” Mayo v. Prometheus Labs., 566 U.S. 66,

71 (2012), courts must “tread carefully in construing this exclusionary

principle lest it swallow all of patent law.” Alice Corp. Pty. Ltd.v. CLS

Bank, 573 U.S. 208, 217 (2014). At step one, courts cannot simply assess

whether the patent claims involve a concept that is abstract; rather, “the

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‘directed to’ inquiry applies a stage-one filter to claims, considered in light

of the specification, based on whether ‘their character as a whole is

directed to excluded subject matter.’” Enfish, LLC, 822 F.3d at 1335

(quoting Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343,

1346 (Fed. Cir. 2015)).

      A.     Assessed as a whole, the claims are not directed to
             generic targeted advertising.

      Here, the asserted patents do not claim all types of targeted

advertising, or even all targeted advertising on the Internet. Instead, the

patents claim specific ordered combinations directed to determining

suitable advertisements and placing them across multiple websites for

limited periods and displaying those advertisements in new and

improved ways within other website content. See, e.g., Appx304, 16:61-

65.   The     district   court,   however,    relying   on   its   overly   broad

characterization of claims 13 and 22 of the ’622 patent, gave short shrift

to numerous claim limitations that narrow the claims beyond generic

targeted advertising, such as posting or embedding advertisements on

multiple related websites for limited time periods, sharing revenue from

the delivery of the advertisements with the multiple websites, and

displaying the advertisements separately from pre-existing and

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ineffective banner advertisements and static headers and contiguously

with other website content, wherein multiple features of the

advertisements and other website content are substantially the same. Id.

           1.   Claims 13 and 22 of the ’622 patent are not
                representative.

     The district court erred in agreeing with Revcontent that claims 13

and 22 of the ’622 patent are representative of all 57 claims of the 3

asserted patents. Appx457. Neither Revcontent nor the district court

demonstrated that those two claims represented all the others. Instead

the district court erroneously shifted the burden to IAL, the non-movant,

to prove otherwise. Appx459.

     In fact, there are many differences between even the independent

method claims of the three patents that are relevant to whether the

claims are patent eligible. For example,

  • Claim 13 of the ’622 patent calls for “electronically posting the
    sponsored news content among the non-sponsored content at each
    of the related one or more of the web sites,” while claim 8 of the ’781
    patent calls for “electronically embedding the sponsored news
    content among the non-sponsored content at the related one or
    more of the web sites.” Appx304, 16:1-3, Appx322, 15:62-64. These
    terms, and whether “posting” and “embedding” have the same
    meaning, are disputed. Appx408-409.

  • Claim 13 of the ’622 patent requires that “the sponsored news
    content is not a banner advertisement,” and claim 8 of the ’781

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     requires that “the sponsored news content is not a banner
     advertisement or a static header” and claim 1 of the ’121 similarly
     states that “the sponsored post is not a banner advertisement or a
     static header.” Appx304, 16:15-16, Appx322, 16:10-11, Appx340,
     16:13-14.

  • Claim 13 of the ’622 patent requires that “a plurality of features of
    the sponsored news content are substantially the same as a
    corresponding plurality of features of the contiguous non-sponsored
    news content”, while claim 8 of the ’781 patent requires “a plurality
    of features of the sponsored news content are the same as a
    corresponding plurality of features of the contiguous non-sponsored
    news content” and claim 1 of the ’121 patent “a plurality of features
    of the sponsored post are the same as a corresponding plurality of
    features of the contiguous non-sponsored posts.” Appx304, 16:30-33,
    Appx322, 16:25-27, Appx340, 16:24-26. The meanings of these
    terms are disputed. Appx410.

     Notwithstanding, without any analysis of the claims, the district

court concluded that two claims of the ’622 patent are representative of

all claims, because IAL did not prove otherwise. App459. This was

erroneous because, absent an agreement, the party challenging the

validity of the claim must prove that each claim is invalid. Shelcore, Inc.

v. Durham Indus., 745 F.2d 621, 625 (Fed. Cir. 1984). Here, like in

Berkheimer, IAL did not agree that claims 13 and 22 of the ’622 patent

were representative of all claims. Appx275-276; Berkheimer, 881 F.3d at

1365. On this basis alone, the district court’s order should be reversed.




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             2.   The district court improperly analyzed claims 13
                  and 22.

     In addition, the district court failed to assess even the so-called

“representative” claims as a whole, and instead purported to break them

down into “four main components” and then determined that each

component is abstract:

     The patent claims a targeted advertising platform, (‘622 at
     15:56–16:11), that allows for revenue sharing among many
     websites, (‘622 at 16:11–13), and enables efficient advertising
     across many websites simultaneously. (‘622 at 16:61–65)
     Furthermore, claim 13 limits IAL’s patent to advertising
     placed on a website contiguously with non-sponsored content.
     (‘622 at 16:14–24, 16:29–36) Each of these four components is
     an abstract idea.

Appx463. This does not comport with the step one requirement to

determine whether the claim as a whole is directed to excluded subject

matter. Instead, at most, this demonstrates an incorrect attempt to

determine whether the claims involve a concept that might be abstract.

Enfish, LLC, 822 F.3d at 1335. But even the district court’s analysis of

claim 13 of the ’622 patent, as broken down into components, is

erroneous.

     In addressing what it identified as the first so-called “component,”

the district court claimed that the entirety of IAL’s patent is directed to


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targeted advertising. Appx463. But, again, this finding erroneously

disregards numerous claim limitations. Illustrating this disregard, the

district court only relies on a small portion of claim 13 of the ’622 patent,

to the exclusion of the very limitations that overcame a §101 rejection

during prosecution and that IAL specifically identified in its pleadings.

Appx464.

     Furthermore, the district court’s reliance on the holding in Free

Stream about targeted advertising is misplaced. In that case, the Court

found that the claims were directed to “1) gathering information about

television users’ viewing habits; (2) matching the information with other

content (i.e., targeted advertisements) based on relevancy to the

television viewer; and (3) sending that content to a second device.” Free

Stream Media Corp. v. Alphonso Inc., 996 F.3d 1355, 1362 (Fed. Cir.

2021). The Court accordingly found the claims directed to the abstract

idea of targeted advertising. Id. Moreover, those claims did not describe

how they achieved the alleged improvement in computer functionality.

Id. at 1363-1364. Here, while the claims involve targeted advertising,

they comprise multiple limitations directed to other improvements in the

way that sponsored content is displayed natively on multiple websites


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across the Internet. See, e.g., Appx304, 16:61-65. Thus, the asserted

claims are not comparable to those found abstract in Free Stream.

     B.    The claims disclose new methods of advertising on the
           Internet.

           1.    Distributing     advertisements         across     multiple
                 websites.

     The district court also incorrectly determined that the additional

requirement in dependent claim 22 of posting the advertisements at

multiple related websites is abstract. Appx464-465. In particular, the

district court found that this disclosure is not “a novel and inventive

mechanism that improves computer functionality.” Id.

     In fact, the claims of the asserted patents do not generically claim

using the Internet to perform an abstract business practice, but instead

provide an improvement to known and disclosed problems with

advertising on the Internet. The asserted patents describe the problems

associated with posting advertisements on multiple websites in 2006,

including less effective banner images and site-specific advertisements

that could not be efficiently delivered to desired websites across the

Internet. Appx297, 2:12-21. And the patents provide a detailed

description of how these difficulties can be overcome, including the

embodiment illustrated in Figure 4, in which a press release distribution
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system, among other things, posts advertisements to the multiple sites

utilizing press release interface plug-ins within the website software.

Appx302, 12:48-60, Appx303, 13:55-60. The plug-ins allowed the

distribution and display of advertisements beyond static images, like the

banner ads, and instead complex ad campaigns of various multimedia

components. Id., 9:57-64. This embodiment is included within the scope

of dependent claim 22 of the ’622 patent and other asserted claims.

     The Court’s decision in DDR is instructive. There, the Court

distinguished Ultramercial because the claims in DDR did “not broadly

and generically claim ‘use of the Internet’ to perform an abstract business

practice,” but instead specified how interactions within the Internet were

manipulated to override what would ordinarily happen when clicking a

hyperlink. DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1257-

1259 (Fed. Cir. 2014) (“[a]lthough the claims address a business

challenge (retaining website visitors), it is a challenge particular to the

internet”). The Court further found that the claims were “necessarily

rooted in computer technology in order to overcome a problem specifically

arising in the realm of computer networks.” Id. In other words, the claims

were “not merely the routine or conventional use of the Internet.” Id.


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     Here, the district court incorrectly distinguished DDR from this

case in determining that the claims in DDR were a new method of

internet commerce, while IAL’s claims are “just a new method of familiar

targeted advertising.” Appx467. Aside from the fact that IAL’s claims are

not directed simply to targeted advertising, the district court’s logic does

not hold. If it is not abstract to improve internet commerce, then also it

is not abstract to improve internet advertising (itself is a form of internet

commerce), which IAL’s claims indisputably accomplish. Before the

inventions of the asserted patents, advertisements were conventional

banner advertisements or other advertisements that were manually

customized for each website. IAL’s patents, on the other hand, claim

methods and systems for automatically posting native advertisements

across multiple websites, which was new and novel in 2006. See, e.g.,

Appx304, 16:61-65, Appx322, 15:50-16:32.

           2.    Displaying advertisements natively.

     The additional limitations within the asserted claims about how the

advertisements are displayed natively amongst other non-sponsored

content also demonstrate that the claims are not simply directed to the

abstract idea of targeted advertising. To solve disclosed problems with


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existing banner images and static headers, the patents describe

displaying specific, non-banner advertisements amongst other website

content, which scroll together with other content on the website, as

shown in Figure 6. Appx295. The patents further explain that these

advertisements would have numerous features in common with the

surrounding non-sponsored website content, including background, font,

text format, and the like. Appx303, 13:19-38. Moreover, a website user

can scroll through the content and the advertisement will stay in a fixed

position contiguously with the surrounding content. Appx295. In these

ways, the advertisements appeared “native” to the websites in which they

appeared.

     The claims (e.g., claim 8 of the ’781 patent) comprise limitations

drawn to these improvements, including those emphasized below:

     8. A method of electronically delivering advertisements as
     sponsored news content to a plurality of web sites that
     each includes non-sponsored content, the method
     comprising:

     electronically monitoring user data or activity on one or more
     web sites;

     electronically requesting sponsored news content by a server
     computer based on the monitored user data or activity;



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electronically distributing the sponsored news content by the
server computer to a related one or more of the web sites over
the communications networks based on the monitored user
data or activity;

electronically embedding the sponsored news content
among the non-sponsored content at the related one or
more of the web sites;

electronically tracking one or more of impressions, clicks,
click-through rate, or user actions with respect to the
sponsored news content at the related one or more of the web
sites; and

electronically delivering a specific sponsored news content to
a user based on the monitored user data or user activity,

displaying specific sponsored content among non-sponsored
content on a plurality of related web sites;

wherein the sponsored news content is not a banner
advertisement or a static header,

wherein when the sponsored news content is displayed,
it is displayed separately from any banner
advertisement and contiguously together with at least
some of the non-sponsored content appearing on the
page to scroll together with the at least some of the
non-sponsored content such that the sponsored news
content is in a fixed position relative to at least some of
the contiguously displayed non-sponsored content,

wherein a time period during which the sponsored news
content is posted at the related one or more of the web sites is
limited,

wherein a frequency at which the sponsored news content is
displayed for the user is limited, and
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     wherein a plurality of features of the sponsored news
     content are the same as a corresponding plurality of
     features of the contiguous non-sponsored news
     content, and at least one feature of the sponsored news
     content differs from or is in addition to the
     corresponding feature of the non-sponsored news
     content in order to distinguish the sponsored news
     content from the non-sponsored news content.

Appx322, 15:50-16:32 (emphasis added).

     The district court erred in not recognizing that these numerous

elements limit the claims beyond generic targeted advertising, and also

in finding the limitations themselves are abstract. Appx466-467. In

finding that “the notion of arranging information on a computer screen is

a claim directed to an abstraction,” the district court ignored the

discussion in the specification about the existing problems in the art and

the solution, and the numerous claim limitations around that solution.

These claims are not simply directed to “arranging information on a

computer screen,” but complex technical advancements.

     Indeed, during prosecution of the ’622 patent, the patent examiner

objected to the claims under §101, and the applicant overcame the

objection. The examiner originally contended that the claims “do not

amount to significantly more than the abstract idea” of delivering


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advertisements and “do not amount to an improvement to the functioning

of a computer itself.” Appx345-346. In response, the applicant explained

that “the claims provide a system and method that places sponsored

content among non-sponsored content on a website in a manner that

improves upon conventional forms of advertisements such as banner

advertisements. Such improvements upon the Internet itself are not

abstract ideas.” Appx356. As one example, the applicant also pointed

specifically to the limitation of “display[ing] the sponsored news content

separately from any banner advertisement and contiguously together

with at least some of the non-sponsored content appearing on the page to

scroll together . . . .” Id. The examiner then agreed that the claims were

directed to inventive concepts, including “an improvement to a user

interface of a computer system.” Appx365.

     The cases that the district court relied upon for the premise that

simply arranging information on a display is abstract are inapposite or

distinguishable. First, the claims deemed abstract in Customedia are not

about displaying information, but instead “recite reserving memory to

ensure storage space is available for at least some advertising data.”

Customedia Techs., LLC v. Dish Network Corp., 951 F.3d 1359, 1365


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(Fed. Cir. 2020). And in Cardionet, the Court found that “merely

displaying data by conventional methods as part of a series of abstract

steps is itself an abstract concept.” Cardionet, LLC v. Infobionic, Inc., 816

Fed. Appx. 471, 475 (Fed. Cir. 2020) (emphasis added). In contrast, the

advertisements here are displayed by unconventional methods, which is

core to the claimed inventions. The Court’s decision in Ultramercial also

does not support the district court’s conclusion. First, the district court

relies upon Ultramercial for step one, but cites its discussion around

inventive concepts under step two. That aside, the claims, in that case,

were determined to be directed to “only the abstract idea of showing an

advertisement before delivering free content.” Ultramercial, Inc. v. Hulu,

LLC, 772 F.3d 709, 715 (Fed. Cir. 2014). The focus of the case was not on

how the advertisement was displayed, but rather whether it was abstract

to provide free content in exchange for showing the advertisement. Thus,

none of these cases stand for the proposition that all possible ways of

displaying information are abstract, nor that all possible forms of

advertising on the Internet are abstract.

     Because it wrongly concluded that two claims are representative,

did not analyze even those claims properly, and ignored multiple claim


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limitations that narrow the claims of the asserted patents beyond simple

“targeted advertising,” the district court erred in finding the claims to be

directed to an abstract idea. Instead, it should have concluded that the

claims are directed to specific improvements to interactions with the

Internet, and denied the motion for judgment on the pleadings.

III. The district court erred in not recognizing that the claims
     teach an inventive concept.

         In its perfunctory step two analysis, which does not span even two

pages, the district court drew and resolved disputed factual issues

against IAL, the non-movant, and did not hold Revcontent to its burden

to overcome the presumption that the claims of IAL’s patents are valid.

Even if it were correct to conclude that the claims of IAL’s patents are

directed to an abstract idea—which IAL disputes—the pleadings,

including those related to the prosecution history, and the lack of a claim

construction, create factual disputes that preclude judgment under Rule

12(c).

         At step two, courts must examine “the elements of the claim to

determine whether it contains an ‘inventive concept’ sufficient to

‘transform’ the claimed abstract idea into a patent eligible application.”

Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 573 U.S. 208, 217 (2014) (quoting

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Mayo Collaborative Servs. V. Prometheus Labs., Inc., 566 U.S. 66, 72

(2012)). To do that, courts “determine whether the claim elements,

individually and as an ordered combination, contain an inventive

concept, which is more than merely implementing an abstract idea using

‘well-understood, routine, [and] conventional activities previously known

to the industry.’” Content Extraction & Transmission LLC v. Wells Fargo

Bank, Nat’l Ass’n, 776 F.3d 1343, 1347-48 (Fed. Cir. 2014) (quoting Alice,

573 U.S. at 225). “Thus, patent eligibility may be resolved at the Rule 12

stage only if there are no plausible factual disputes after drawing all

reasonable inferences from the intrinsic and Rule 12 record in favor of

the non-movant.” Coop. Entm’t, Inc. v. Kollective Tech., Inc., 50 F.4th 127,

130 (Fed. Cir. 2022).

     A.    IAL’s pleadings preclude judgment under 12(c).

     Here, IAL plausibly pleaded that the ordered combination of

features and functions in the claims were not well-understood, routine,

or conventional, that a number of claim limitations solved extant

problems in the art as discussed in the specification, and that those

limitations were relied upon to overcome a § 101 rejection in prosecution

of the ’622 patent. Appx005-011, ¶¶15-22. Further, IAL did not agree that


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claims 13 and 22 of the ’622 patent were representative of all 57 claims

of the three IAL patents. Appx275-276. Finally, the district court did not

conduct a claim construction, even though the parties had filed a joint

claim construction statement identifying a number of disputed claim

terms before the Rule 12(c) order issued. Appx402-411. Such failings

were the basis for this Court’s recent reversal of a Rule 12 order in

Kollective Tech., 50 F.4th at 135-136.

     In     its     Complaint,      IAL       explicitly     pleaded     that

“the technologies covered by the claims consist of ordered combinations

of features and functions that, at the time of the invention, were not,

alone or in combination, well-understood, routine, or conventional.”

Appx005-006, ¶16. IAL also pleaded that the specifications disclosed

shortcomings in the art, such as the challenges in advertising effectively

on multiple websites across the Internet, the insufficiencies of existing

banner advertisements, and the challenge in distributing and displaying

custom advertisements for multiple websites. Appx006-009, ¶¶17-19.

Indeed, IAL’s pleadings included facts relating to inventor Justin Choi’s

contemporaneous work with his company, Nativo, which solely owns IAL.

Appx003, ¶¶8-10. Specifically, IAL explained that before the inventions


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claimed in the asserted patents, it was difficult to automatically

assimilate advertisements to the look and feel of a website’s content,

much less to do so across multiple websites simultaneously. Id. Previous

attempts to do this manually resulted in inelegant or disruptive ad

placement,    particularly   as   webpage     content    was    changed   or

supplemented. Id.

     IAL also pleaded that, during prosecution of the application that

issued as the ’622 patent, the examiner initially rejected the claim under

§ 101, but that the examiner was persuaded to allow the claims. Appx009,

¶20 (“For example, the claims provide a system and method that places

sponsored content among non-sponsored content on a website a manner

that improves upon conventional forms of advertisements such as banner

advertisements. Such improvements upon the Internet itself are not

abstract ideas.”).

     In reversing the lower court in Kollective, the Court noted that the

appellant’s “amended complaint plausibly alleges that the [] patent

claims recite inventive concepts at Alice step two, precluding dismissal.”

Kollective, 50 F.4th at 131. The same is true here. Further, the district

court provided no reasoning or basis by which it could determine that the


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pleaded claim limitations were well understood, routine, or conventional.

Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1129-

1130 (Fed. Cir. 2018) (vacating because pleaded factual allegations

prevented dismissal under Rule 12(b)(6)); Berkheimer, 881 F.3d at 1368.

Construed in favor of IAL, the claims do not preempt all ways of using

user information to deliver targeted content over a network; rather, to

the extent they can be characterized as directed to that idea (a

characterization IAL disputes), “they recite a specific                discrete

implementation of the abstract idea.” Bascom Global Internet Servs. v.

AT&T Mobility LLC, 827 F.3d 1341, 1350 (Fed. Cir. 2016); see also

Cosmokey Sols. GMBH & Co. KG v. Duo Sec. LLC, 15 F.4th 1091, 1099

(Fed. Cir. 2021). Even the “representative” claims recite methods that

include specific server computers configured to execute a specific set of

ordered steps to enable electronic delivery and display of advertisements

to a plurality of websites. The claims improve upon the prior art by

delivering specific advertisements to specific users for limited time

periods and displaying those advertisements separately from existing

banner advertisements but contiguously with other website content.




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     Moreover, the district court ignored that IAL’s pleaded allegations

regarding displaying advertising among website content in a manner

that improved upon conventional (in 2006) advertising, such as banner

advertisements, mirrored the applicant’s arguments in the prosecution

history. Kollective, 50 F.4th at 135 (noting that the pleaded “allegations

mirror the applicant’s statements in the prosecution history and the

patent’s specification.”). The claims here, like those in Weisner, are

patent eligible because “they provided a specific solution to an Internet-

centric problem.” Weisner v. Google LLC, 51 4th 1073, 1087 (Fed. Cir.

2022) (discussing DDR Holdings, 773 F.3d at 1258). Here too, “the record

supports that the claims plausibly provide a solution to an Internet-

centric problem,” and the district court’s judgment should be reversed.

Id. at 1087-1088.

     B.    Disputed claim constructions preclude judgment on
           the pleadings.

      The district court also issued judgment without conducting a claim

construction, shifting the burden to IAL to identify a claim construction

dispute. Appx462 (“Because IAL fails to identify a disputed term

requiring construction before judgment on the pleadings, Revcontent’s

motion is not premature.”) (citation omitted). But before the court issued

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its order, the parties had submitted disputed claim constructions,

including on terms that IAL argued were inventive. Appx402-411. Claim

construction is “often necessary” before proceeding to assess eligibility,

especially at this early dismissal phase. See Bancorp Servs., L.L.C. v. Sun

Life Assur. Co. of Canada, 687 F.3d 1266, 1273 (Fed. Cir. 2012).

     Briefing on Revcontent’s Rule 12(c) motion was limited to a motion

and a response, which was completed on June 24, 2022. Appx260-286. At

that point, Revcontent had not disclosed invalidity contentions and claim

construction proceedings were months away. But on November 9, 2022,

the parties filed a joint claim construction statement, identifying a

number of disputed terms, as well as expert opinion about the terms and

the state of the art. Appx402.

     One dispute is whether “electronically posting the sponsored news

content among the non-sponsored news content at each of the multiple

related web sites” in claim 13 of the ’622 patent had the same meaning

as “electronically embedding the sponsored news content among the non-

sponsored news content at each of the multiple related web sites” in claim

8 of the ’781 patent, and what that meaning is. Appx408-409. Revcontent

argued that both terms mean “posting the sponsored content among the


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non-sponsored news content on the web server hosting each of the

[related one or more] websites.” Id. IAL disputes this, contending that

the terms have their plain meaning, such that in claim 13 the sponsored

content would be embedded into the web page (for example by using an

HTML tag), and in claim 8 the content would be posted on a website

displayed to a user viewing within a browser. Id. In other words, these

terms do not simply mean saving data on a server, but instead are about

one of the key improvements the inventor disclosed and argued to the

examiner over a § 101 rejection.

     The parties also dispute whether the term “wherein a plurality of

features of the sponsored news content are substantially the same as a

corresponding plurality of features of the contiguous non-sponsored news

content” is indefinite. Appx410. Here the dispute is if a person of ordinary

skill could have determined with reasonable certainty whether the

features of the sponsored news content, on the one hand, were

substantially the same as corresponding features of non-sponsored

content on the other. Again, this is core to what makes an advertisement

“native” to the website. Appx003, ¶8 (“placing branded advertisements

within the content experience of websites in such a way that the


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advertisements would not compete with core website content for the

consumer’s attention”), Appx003, ¶9 (“[I]t was a particular challenge to

assimilate advertisements to the look and feel of a website’s content in

an automated fashion.”).

     Thus, before the district court entered judgment, the parties had

submitted competing claim construction positions that could have

impacted the determination of patent eligibility, and the district court

erred in issuing judgment before resolving those disputes. See MyMail,

Ltd. v. ooVoo, LLC, 934 F.3d 1373, 1380 (Fed. Cir. 2019) (citing Aatrix

Software, Inc., 882 F3d at 1125).

     Relatedly, the court found that claims 13 and 22 were

representative even though IAL contested it. Appx457-459. Revcontent

did not prove that claims 13 and 22 are representative, and the district

court erred in invalidating all claims without holding Revcontent to its

burden to demonstrate that all claims are substantially similar and

linked to the same abstract idea, particularly where IAL did not agree to

those claims being representative. See Intellectual Ventures I LLC v.

Symantec Corp., 838 F.3d 1307, 1316 n.9 (Fed. Cir. 2016) (quoting




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Content Extraction & Transmission LLC v. Wells Fargo Bank, N.A., 776

F.3d 1343, 1348 (Fed. Cir. 2014)).

                            CONCLUSION

     IAL asks the Court to reverse the district court’s Rule 12(c) decision

that the claims of the ’622 patent, the ’781 patent, and the ’121 patent

are not patent eligible and thus invalid. The claims are not simply

directed to targeted advertising and, at least, include numerous

limitations that provide an inventive concept. And the district court

resolved numerous factual disputes against IAL, precluding judgment on

the pleadings.




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         ADDENDUM




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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


INTEGRATED ADVERTISING LABS,
LLC,

      Plaintiff,

                                                 Case No: 8:22-cv-487-KKM-CPT

REVCONTENT, LLC,
      Defendant.


                                        ORDER

      Integrated Advertising Labs, LLC, sues Revcontent, LLC, for infringing U.S.

Patent No. 9,286,622 (’622), U.S. Patent No. 9,652,781 (’781), and U.S. Patent No.
10,147,121 (’ 121). (Doc. 1) Challenging the validity of the asserted patents under 35

U.S.C. § 101, Revcontent moves (Doc. 35) for judgment on the pleadings.

I.    BACKGROUND

      Integrated Advertising Labs, LLC, is wholly owned by Nativo, Inc. (Doc. 1 ¶ 1),

which organized IAL to issue patent licenses and receive revenue from the licensed

patents--the ’622 patent, the ’781 patent, and the ’121 patent. (Doc. 1 ¶ 7)However,

Nativo is not a party to this action. (Doc. 1)

      Each patent specifies a "press release distribution system" designed for

advertising on websites colloquially known as "forum sites" (or, sometimes, "fan




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sites"). (’622 at 1:19-2:46) 1 The specified system simultaneously distributes an

advertisement to many forum sites; tracks user engagement; splits advertising revenue

among forum sites, (’622 at 3:29-43, 16:9-13); and allegedly improves conventional

advertisements by "placing sponsored content among non-sponsored content."

(Doc. 1 7 15)

       Revcontent is one of IAL’s competitors. Revcontent created a platform that,

like IAL’s platform, distributes and places advertising on forum sites. IAL alleges that

Revcontent infringes claim 13 of the ’622 patent, claim 8 of the ’781 patent, and claim

1 of the ’121 patent. (Doc. 1 77 28, 38, 48)

       As IAL acknowledges (Doc. 1 7 20; Doc. 40 at 5-6), the patent examiner

initially rejected the ’622 patent because, "[t]he claims merely amount to the

application... [of an] abstract idea (i.e. delivering advertisements) on a computer,"

(Doc. 40-4 7 15) and because "the claims do not effect an improvement to another

technology or technical field; the claims do not amount to an improvement to the

functioning of a computer itself; and the claims do not move beyond a general link of

the use of an abstract idea to a particular technological environment." (Doc. 40-4 7 14)

But the examiner concluded differently after IAL insisted that the claims describe an

improved website display, "in which sponsored content is placed among non-

sponsored content." (Doc. 40-6 at 7.) In other words, the examiner found that the ’622



1As the plaintiff acknowledges in the complaint, "[t]he Asserted Patents are all related and share a
common specification; thus, the citations to the ’622 patent specification apply equally to all
Asserted Patents." (Doc. 1 at 6 n.1)
                                               2




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patent claims a novel way to place advertisements in a list with posts native to the

website. Revcontent moves for judgment on the pleadings and argues that each patent

is invalid under 35 U.S.C. § 101. (Doc. 35)

II. LEGAL STANDARD

      Under Rule 12(c), Fed. R. Civ. P., Revcontent may "move for judgment on the

pleadings" after "the pleadings are closed." To succeed, Revcontent must prove that

"there are no material facts in dispute" and that "the moving party is entitled to

judgment as a matter of law." Scotty. Taylor, 405 F.3d 1251, 1253 (llth Cir. 2005).

In determining whether a party is entitled to judgment on the pleadings, the non-

movant’s factual allegations--but not the non-movant’s legal conclusions--are

assumed true. Perezv. WellsFargo N.A., 774 F.3d 1329, 1335 (llth Cir. 2014). Because

"[p]atent eligibility under § 101 is a question of law that may involve underlying

questions of fact," a determination of patent validity is possible occasionally on the

pleadings. MyMail, Ltd. v. ooVoo, LLC, 934 F.3d 1373, 1379 (Fed. Cir. 2019).

      "The § 101 inquiry must focus on the language of the Asserted Claims

themselves." Synopsys, Inc. v. Mentor Graphics Corp., 839 F.3d 1138, 1149 (Fed. Cir.

2016). The asserted claims must describe a patentable invention. Free Stream Media

Corp. v. Alphonsolnc., 996 F.3d 1355, 1363-64 (Fed. Cir. 2021). A detailed specification

cannot rescue a claim that fails to describe a patentable invention. 996 F.3d at 1363.




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III.   ANALYSIS

       A. Claim 13 and claim 22 of the ’622 patent are representative.

       Revcontent correctly argues (Doc. 35 at 2 n.1) that claim 13 and claim 22 of the

’622 patent are representative of the ’781 patent, the ’ 121 patent, and the ’622 patent’s

other claims. A claim is "representative" of other claims if it is "substantially similar

and linked to the same abstract idea." Content Extraction & Transmission LLC v. Wells

Fargo Bank, Nat. Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014). Furthermore, "[c]ourts

may treat a claim as representative.., if the patentee does not present any meaningful

argument for the distinctive significance of any claim limitations not found in the

representative claim." Ber/~heimerv. HPInc., 881 F.3d 1360, 1365 (Fed. Cir. 2018).

       Claim 13 and Claim 22 of the ’622 patent are substantially similar and linked to

the same abstract idea as the other claims and patents. The ’622 patent claims:

       13. A method of electronically delivering advertisements as sponsored news content
       to a plurality of web sites that each includes non-sponsored content, the method
       comprising;

             electronically receiving the sponsored news content by a server computer from
             one or more advertisers over a communications network;
             electronically distributing the sponsored news content by the server computer
             to a related one or more of the web sites over the communications network;
             electronically receiving the sponsored news content by the one or more web
             sites from the server computer over the communications network;

             electronically posting the sponsored news content among the non-sponsored
             content at each of the related one or more of the web sites;
             electronically tracking one or more of impressions, clicks, click-through rate, or
             user actions with respect to the sponsored news content at the related one or
             more of the web sites;

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            electronically monitoring user data or user activity at the related one or more
            of the web sites; and

            delivering a specific sponsored news content to a particular user utilizing a
            particular one of the monitored user data or user activity, wherein revenue
            generated from the delivery of the specific sponsored news content is shared
            with the related one or more of the web sites,

            wherein the sponsored news content is not a banner advertisement,

            wherein when the sponsored news content is displayed, it is displayed
            separately from any banner advertisement and contiguously together with at
            least some of the non-sponsored content appearing on the page to scroll
            together with the at least some of the non-sponsored content such that the
            sponsored news content is in a fixed, position relative to at least some of the
            contiguously displayed non-sponsored content,

            wherein a time period during which the sponsored news content is posted at
            the related one or more of the web sites is limited,

            wherein a frequency at which the sponsored news content is displayed for each
            user is limited, and

            wherein a plurality of features of the sponsored news content are substantially
            the same as a corresponding plurality of features of the contiguous non-
            sponsored news content, and at least one feature of the sponsored news content
            differs from or is in addition to the corresponding feature of the non-sponsored
            news content in order to distinguish the sponsored news content from the non-
            sponsored news content.

      22. The method of claim 13, further comprising electronically posting the sponsored
      news content among the non-sponsored content at each of multiple related web sites,
      and electronically monitoring user data or user activity at each of the multiple web
      sites.

(’622 at 15:56-36, 16:61-65) Simply stated, claim 13 and claim 22 of the ’622 patent

describe a targeted advertising tool that allows advertisers to easily place

advertisements on many websites. Also, IAL’s platform requires revenue sharing and

arranging advertisements contiguously with non-sponsored content. Although the

other claims do not use the same words, each asserted patent encompasses the


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technology detailed in claim 13 and claim 22 of the ’622 patent. (’622 at 14:26-16:65,

’781 at 14:54-16:63, ’121 at 14:53-16:56)And the ’622 patent, the ’781 patent, and the

’121 patent contain the same specification of IAL’s technology. As IAL acknowledges,

"[t]he Asserted Patents are all related and share a common specification; thus, the

citations to the ’622 patent specification apply equally to all Asserted Patents." (Doc.

1 at 6 n.1)

       Although IAL objects (Doc. 40 at 11-12) to characterizing claim 13 and claim

22 as representative, IAL fails to identify even one distinction between claim 13 and

claim 22 of the ’622 patent and the other asserted patents and claims. Berkheirner, 881

F.3d at 1365 ("Courts may treat a claim as representative.., if the patentee does not

present any meaningful argument for the distinctive significance of any claim

limitations not found in the representative claim..."); Sensorrnatic Elecs., LLC v. Wyze

Labs, Inc., No. 2020-2320, 2021 WL 2944838, at *4 (Fed. Cir. July 14, 2021) (holding

that a claim was representative because the plaintiff"fails to identify any relevant claim

limitations, alone or in combination, that the [district] court failed to consider.").

Furthermore, although IAL never directly asserts that claim 13 of the ’622 patent is

representative, IAL utilizes claim 13 as a representative example to illustrate the claims

of the other asserted patents. (Doc. 1 ¶¶ 17-22.) Because IAL fails to explain the

distinctive significance of the other patents and claims, claim 13 and claim 22 of the

’622 patent are representative of the other claims.




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         B. Patent validity is sometimes resolved by the pleadings.

         Because patent validity is a question of law, "in many cases it is possible and

proper to determine patent eligibility under 35 U.S.C. § 101 on a [Rule 12] motion."

Genetic Techs. Ltd. v. MerialL.L.C., 818 F.3d 1369, 1373-74 (Fed. Cir. 2016). However,

the determination of validity requires more if a factual dispute or a claim construction

dispute appears. Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1125

(Fed. Cir. 2018).

         IAL argues that Revcontent’s Rule 12 motion is improper because "[t]he

presumption of validity creates a fact issue." (Doc. 40 at 9-10) Of course, under 35

U.S.C. § 282, a patent enjoys the benefit of a presumption of validity. However, the

presumption derives only from "the fact that the Patent and Trademark Office has

already examined whether the patent satisfies ’the prerequisites for issuance of a

patent,’ including § 101." Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1319 (Fed. Cir. 2019).

If the presumption of validity creates a factual dispute, a patent is unassailable by a

motion for judgment on the pleadings. 35 U.S.C. § 282; Microsoft Corp. v. I4ILtd. P’ship,

564 U.S. 91, 100 (2011). However, patents are regularly invalidated by judgments on

the pleadings. 2


    e.g., Free StreamMedia Corp. v. Alphonsolnc., 996 F.3d 1355 (Fed. Cir. 2021); Univ. of
2 S~e,

Fla. Rsch. Found., Inc. v. Gen. Elec. Co., 916 F.3d 1363 (Fed. Cir. 2019); FairWarning lP, LLC
v. Iatric Sys., Inc., 839 F. 3d 1089 (Fed. Cir. 2016); Affinity Labs of Texas, LLC v. Amazon.corn
Inc., 838 F.3d 1266 (Fed. Cir. 2016); Mortg. Application Techs., LLC v. MeridianLink, Inc., 839
F. App’x 520 (Fed. Cir. 2021); Cisco Sys., Inc. v. Uniloc2017LLC, 813 F. App’x 495 (Fed. Cir.
2020); Bridge &Post, Inc. v. Verizon Commc’ns, Inc., 778 F. App’x 882 (Fed. Cir. 2019); Content
Extraction & Transmission LLC v. Wells Fargo Bank, Nat. Ass’n, 776 F.3d 1343 (Fed. Cir. 2014).
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      Additionally, IAL asserts that "the Court cannot conclude, as a matter of law,

that the claimed ordered combination was ’well-understood, routine, and

conventional to a skilled artisan at the time of the patent.’" But a broad invocation of

the "claim ordered combination" of three patents fails to identify anything not "well-

understood, routine, and conventional" at the time of the patents. As explained below,

IAL’s patents claim only abstract ideas and lack an inventive concept.

      Next, IAL argues that Revcontent’s motion "is premature because the Court

has not construed the asserted claims." (Doc. 40 at 10.) But "claim construction is not

an inviolable prerequisite to a validity determination under § 101." Bancorp Servs.,

L.L.C. v. Sun Life Assur. Co. of Canada (U.S.), 687 F.3d 1266, 1273-74 (Fed. Cir. 2012).

"In many cases,.., evaluation of a patent claim’s subject matter eligibility under § 101

can proceed even before a formal claim construction." Genetic Techs., 818 F.3d at 1373-

74. Although claim construction is a prerequisite if there is a claim construction

dispute relevant to the validity of the patent, Aatrix Software, 882 F.3d at 1125, neither

party identifies a term requiring claim construction before judgment on the pleadings.

(Doc. 35; Doc. 40); see also Genetic Techs. Ltd. v. MerialL.L.C., 818 F.3d 1369, 1373-74

(Fed. Cir. 2016) (determining patent validity based on the pleadings because "there is

no claim construction dispute relevant to the eligibility issue"); Cyberfone Sys., LLC v.

CNNInteractive Grp., Inc., 558 F. App’x 988, 992 n.1 (Fed. Cir. 2014) CCyberfone

argues that claim construction must precede the § 101 analysis, but does not explain

which terms require construction or how the analysis would change. It merely points




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to claim language that we consider here. There is no requirement that the district court

engage in claim construction before deciding § 101 eligibility."). Because IAL fails to

identify a disputed term requiring construction before judgment on the pleadings,

(Doc. 40 at 10-11), Revcontent’s motion is not premature.


      C. 35 U.S.C. § 101 and Alice invalidate the ’622 patent, the ’781 patent, and
          the ’121 patent.

      Under 35 U.S.C. § 101, "Whoever invents or discovers any new and useful

process, machine, manufacture, or composition of matter, or any new and useful

improvement thereof, may obtain a patent therefor, subject to the conditions and

requirements of this title." Section 101 also includes an exception: "Laws of nature,

natural phenomena, and abstract ideas are not patentable." Alice Corp. Pty. v. CLSBank

IntT, 573 U.S. 208,216 (2014) (quotation omitted).

      Alice, 573 U.S. at 217-18 (citing Mayo Collaborative Servs. v. Prometheus Lab’ys,

Inc., 566 U.S. 66 (2012)), prescribes two steps to identify a patent-ineligible claim.

First, determine whether the claim is directed to a patent-ineligible concept, such as an

abstract idea. Alice, 573 U.S. at 217. Second, if the claim is directed to a patent-

ineligible concept, examine whether the patent claims an "inventive concept" that

ensures "that the patent in practice amounts to significantly more than a patent upon

the ineligible concept itself." Alice, 573 U.S. at 217-18 (quotation omitted).

      Analyzing the validity of a patent under Alice requires accounting for the

primary object of patent law; that is, promoting innovation. Alice, 573 U.S. at 216.




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 Monopolizing an abstract idea "might tend to impede innovation more than it would

 tend to promote it." Mayo, 566 U.S. at 71. Patent law should not "inhibit further

 discovery by improperly tying up the future use of these building blocks of human

 ingenuity." Alice, 573 U.S. at 216 (quotation omitted).


             1.      Step One

       IAL’s asserted patents fail the first step because they claim an abstract idea.

 Claim 13 and claim 22 of the ’622 patent--the representative claims--discuss four

 main components of IAL’s technology. The patent claims a targeted advertising

 platform, (’622 at 15:56-16:11), that allows for revenue sharing among many websites,

 (’622 at 16:11-13), and enables efficient advertising across many websites

 simultaneously. (’622 at 16:61-65) Furthermore, claim 13 limits IAL’s patent to

 advertising placed on a website contiguously with non-sponsored content. (’622 at

 16:14-24, 16:29-36) Each of these four components is an abstract idea.

       Targeted advertising is an abstract idea because targeted advertising is a

 fundamental, routine, and enduring practice long used in marketing. Intell. Ventures I

 LLC v. Cap. One Bank (USA), 792 F.3d 1363, 1369 (Fed. Cir. 2015). For example, Free

 Stream, 996 F.3d at 1361-62, holds that a patent claimed ineligible concepts because

 the claims were directed to "(1) gathering information about television users’ viewing

 habits; (2) matching the information with other content (i.e., targeted advertisements)

 based on relevancy to the television viewer; and (3) sending that content to a second

 device." Like the patent in Free Stream, IAL’s patent is directed to targeted advertising.
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 IAL’s patent claims a method of posting and tracking advertisements to efficiently

 tailor marketing content to future customers. (’622 at 15:56-16:11) This is a patent-

 ineligible subject.

        IAL emphasizes that the technology enables efficient advertising across a

 plurality ofwebsites. (Doc. 40 at 14-15) However, to prove that the patents claim more

 than an abstract idea, IAL must prove that the technology "enables a computer.., to

 do things [that the computer] could not do before." Finjan, Inc. v. Blue Coat Sys., Inc.,

 879 F.3d 1299, 1305 (Fed. Cir. 2018); Customedia Techs., LLCv. Dish Network Corp., 951

 F.3d 1359, 1363 (Fed. Cir. 2020); Ajflnity Labs of Texas, LLC v. Amazon.corn Inc., 838

 F.3d 1266, 1270 (Fed. Cir. 2016). To meet this threshold, IAL must identify language

 in the claims of the asserted patents that describes how IAL’s technology improves

 computer functionality. Free Stream, 996 F.3d at 1363-64. If the claims invoke generic

 computer tools to implement an abstract idea, the patent is invalid. Free Stream, 996

 F.3d at 1363-64; Ajfinity Labs, 838 F.3d at 1269-70; FairWarningIP, LLCv. Iatric Sys.,

 Inc., 839 F.3d 1089, 1096-97 (Fed. Cir. 2016).

        Although the technology enables advertisers to market on a plurality of

 websites, the patent claims describe a system that adds only "conventional computer

 components to well-known business practices." Ajflnity Labs, 838 F.3d at 1270. Claim

 13 asserts that IAL’s technology uses a "server computer" to receive and distribute

 "sponsored news content" and to track "user data and activity." (’622 at 15:56-16:11)

 Claim 22 states that IAL’s platform allows companies to place and monitor

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 advertisements on "multiple related websites." (’622 at 16:61-65) Instead of disclosing

 a novel and inventive mechanism that improves computer functionality, the claims

 "do no more than describe a desired function or outcome." Ajfinity Labs, 838 F.3d at

 1269. "[T]he essentially result-focused, functional character" of the claim language is

 "a frequent feature of claims held ineligible under § 101." Elec. Power Grp., LLC v.

 Alstom S.A., 830 F.3d 1350, 1356 (Fed. Cir. 2016). For instance, in Free Stream, 996

 F.3d at 1363, the patent holder argued that the invention allowed "devices on the same

 network to communicate where such devices were previously unable to do so." But

 the asserted claims disclosed only that the invention operated by "piercing or otherwise

 overcoming a mobile device’s security sandbox." 996 F.3d at 1363. The claims did not

 "describe how that result is achieved." 996 F.3d at 1364. Thus, Free Stream, 996 F.3d

 at 1364, held that the patent claimed an abstract idea because the claims did not "recite

 an improvement in computer functionality." 996 F.3d at 1364; FairWarning, 839 F.3d

 at 1096-97; Ajfinity Labs, 838 F.3d at 1269-70. Like the claims at issue in Free Stream,

 the claims in IAL’s patent describe no improvement in computer functionality. The

 claims describe results, and the claims invoke generic computer tools to achieve those

 results.

        Also, claim 13 describes revenue sharing, "wherein revenue generated from the

 delivery of the specific sponsored news content is shared with the related one or more

 of the web sites." (’622 at 16:11-13) But this claim describes an abstract idea because

 revenue sharing is "a fundamental economic practice long prevalent in our system of

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 commerce." Bilski v. Kappos, 561 U.S. 593, 611 (2010); Content Extraction, 776 F.3d at

 1347 ("[C]laims directed to the mere formation and manipulation of economic

 relations may involve an abstract idea."). Although the claims describe the concept of

 revenue sharing through computer technology, "[s]tating an abstract idea while adding

 the words ’apply it with a computer’" is "not enough for patent eligibility." Alice, 573

 U.S. at 223.

       Lastly, IAL argues (Doc. 40 at 14-20) that the claims do not recite an abstract

 idea because the patents do not relate to traditional "banner advertisements." (’622 at

 16:16-23) Instead, the patents claim sponsored content that appears contiguously with

 "non-sponsored content." (’622 at 16:16-23) IAL cites this limitation as the primary

 reason that the patent examiner reversed her initial objection to IAL’s claims. (Doc.

 40 at 17 (citing Doc. 40-5 at 8; Doc. 40-6 at 7)) But this limitation is directed to an

 abstract idea. A claim that purports to patent the notion of arranging information on

 a computer screen is a claim directed to an abstraction. Custornedia Techs., LLC, 951

 F.3d at 1364-65; CardioNet, LLCv. InfoBionic, Inc., 816 F. App’x 471,475-76 (Fed. Cir.

 2020) ("CardioNet’s unified display may be very useful to physicians, but usefulness

 alone does not necessarily negate abstractness."). For instance, Ultrarnercial, Inc. v.

 Hulu, LLC, 772 F.3d 709, 715-16 (Fed. Cir. 2014), holds that requiring users to view

 an advertisement before viewing copyrighted material is an abstract idea. The asserted

 patents claim advertisements that "scroll together" with "non-sponsored content such

 that the sponsored news content is in a fixed position relative to at least some of the

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 contiguously displayed non-sponsored content." (’622 at 16:19-23) This requirement

 claims a certain format for displaying advertisements on a website. Because the

 arrangement of displayed advertisements is an abstract idea, the asserted patents fail

 step one of Alice.

        IAL insists (Doc. 40 at 14-15) that the asserted claims are akin to the valid

 patent claims in DDR Holdings, LLC v. Hotels.corn, L.P., 773 F.3d 1245 (Fed. Cir. 2014),

 and Bascorn Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341 (Fed. Cir.

 2016). But the invention in DDR Holdings, 773 F.3d at 1257-59, allows a user to

 purchase a product from a third-party advertiser without leaving the host website. 773

 F.3d at 1257-58. The invention in DDR Holdings is a new method of internet

 commerce, not just a new method of familiar targeted advertising. 773 F.3d at 1257-

 59. Furthermore, DDR Holdings, 773 F.3d at 1258, cautions:

        [N]ot all claims purporting to address Internet-centric challenges are eligible for patent.
        For example, in our recently decided Ultramercial opinion, the patentee argued that its
        claims were ’directed to a specific method of advertising and content distribution that
        was previously unknown...’ But this alone could not render its claims patent-
        eligible. In particular, we found the claims to merely recite the abstract idea of
        ’offering media content in exchange for viewing an advertisement’...
 IAL’s claims are like the claims in Ultrarnercial, 772 F.3d at 714-16, because IAL’s

 claims describe only targeted advertising. Comparatively, the patent in DDR Holdings,

 773 F.3d at 1257-59, claims an invention that facilitates new forms of internet

 commerce.

        Nor does Bascom, 827 F.3d 1341, support IAL’s argument. In Bascom, the patent

 claimed an internet filter designed to prevent a user’s viewing objectionable online
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 material. 827 F.3d at 1348. Although IAL cites Bascom to argue that the asserted claims

 "are not directed to an abstract idea" under step one of Alice, (Doc. 40 at 12, 15),

 Bascom actually holds that filtering internet content "is an abstract idea." 827 F.3d at

 1348. Notably, Bascom, 827 F.3d at 1350, holds also that the internet filter satisfies step

 two of Alice because the patent describes "how its particular arrangement of elements

 is a technical improvement over prior art ways of filtering such content." But unlike

 the patent in Bascom, IAL’s patents merely describe an abstract idea--targeted

 advertising, Free Stream, 996 F.3d at 1361-62; Intell. Ventures I, 792 F.3d at 1369-

 along "with the requirement to perform [the abstract idea] on the Internet, [and] to

 perform [the abstract idea] on a set of generic computer components." Bascom, 827

 F.3d at 1350. Claim 13 states no more than that IAL’s technology employs "a server

 computer" to engage in targeted advertising. (’622 at 15:57-67) "Such claims [do] not

 contain an inventive concept." Bascom, 827 F.3d at 1350. The internet filter in Bascom

 manifests a sufficiently inventive concept; IAL’s patents fail to describe improvements

 adequate to confer patentability.

             2.       Step Two

       Although the asserted patents fail step one of Alice, the patents remain valid if

 they claim an "inventive concept" that ensures "that the patent in practice amounts to

 significantly more than a patent upon the ineligible concept itself." Alice, 573 U.S. at

 217-18 (quotation omitted). Step two of Alice examines "precisely... what the claim

 elements add to determine if they identify an inventive concept in the application of

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 the ineligible matter to which the claim is directed." Customedia, 951 F.3d at 1365. For

 example, Custornedia, 951 F.3d at 1365-66, holds that a patent claiming a method of

 targeted advertising fails step two of Alice because "[a] side from the abstract idea of

 delivering targeted advertising, the claims recite only generic computer components,

 including a programmable receiver unit, a storage device, a remote server and a

 processor... Such generic and functional hardware is insufficient to render eligible

 claims directed to an abstract idea."

       Like the patent in Custornedia, the asserted patents fail step two of Alice, that is,

 the patents fail to "amount to significantly more" than an abstract idea. Instead, the

 claims merely restate abstract ideas. Claim 13 says that IAL’s system uses "a server

 computer" to receive and distribute "sponsored news content." (’622 at 15:57-67)

 IAL’s technology tracks "impressions, clicks, click-through rates, or user actions with

 respect to the sponsored news content." (’622 at 16:4-7) But these claims deliver no

 explanation of how IAL’s system improves computer functionality. Instead, the claims

 restate traditional components of targeted advertising, which is nothing more than an

 instruction to "apply" an abstract idea. Custornedia, 951 F.3d at 1365-66. The asserted

 patents claim both the platform’s revenue sharing capability, (’622 at 16:11-13), and

 the platform’s ability to operate on "multiple related web sites." (’622 at 16:61-65)

 However, the claims never describe how IAL’s platform accomplishes these abstract

 ideas. (’622 at 16:11-13, 16:61-65); Elec. Power Grp., 830 F.3d at 1356 ("[T]he

 essentially result-focused, functional character of claim language has been a frequent

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 feature of claims held ineligible under § 101."). Further, the claims limit IAL’s patents

 to advertisements "displayed separately from any banner advertisement and

 contiguously together with at least some of the non-sponsored content." (’622 at

 16:17-18) But this does not amount to "significantly more" than an abstract idea. Alice,

 573 U.S. at 218. Instead, the claim describes the abstract idea of where to display an

 online advertisement. Ultramercial, 772 F.3d at 715-16. Because "the claims at issue

 amount to ’nothing significantly more’ than an instruction to apply [an] abstract idea,"

 Alice, 573 at 225-226, the asserted patents fail step two of Alice.

 IV.    CONCLUSION

        The ’622 patent, the ’781 patent, and the ’121 patent are invalid under 35 U.S.C.

 § 101 and Alice. Accordingly, Revcontent’s motion (Doc. 35) for judgment on the

 pleadings is GRANTED. Revcontent’s request (Doc. 42) for oral argument is

 DENIED. The clerk is directed to enter JUDGMENT in favor of Revcontent; to

 terminate any pending motion and deadline; and to CLOSE this case.

           ORDERED in Tampa, Florida, on December 8, 2022.




                                                         STEVEN D. MERRY-DAY
                                                     UNITED STATES DISTRICT JUDGE




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                                      Page:              Page 1 of 2 PagelD 764
                                                  Filed: 03/14/2023




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

INTEGRATED ADVERTISING
LABS, LLC,

                    Plaintiff,

v.                                                Case No: 8:22-cv-487-KKM-CPT

REVCONTENT, LLC,

                    Defendant.


                        JUDGMENT IN A CIVIL CASE

Decision by Court. This action came before the Court and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED that Judgment is entered in favor of

      Revcontent.

                                       ELIZABETH M. WARREN,
                                       CLERK

                                       s/ST, Deputy Clerk




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         Case: 23-1392     Document
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                                                 Filed: 03/14/2023
                CIVIL APPEALS JURISDICTION CHECKLIST
Appealable Orders: Courts of Appeals have jurisdiction conferred and strictly limited by statute:

(a)      Appeals from final orders pursuant to 28 U.S.C. Section 1291: Only final orders and judgments of district courts, or final
         orders of bankruptcy courts which have been appealed to and fiilly resolved by a district court under 28 U.S.C. Section 158,
         generally are appealable. A final decision is one that "ends the litigation on the merits and leaves nothing for the court to do
         but execute the judgment." Pitney Bowes, Inc. V. Mestre, 701 F.2d 1365, 1368 (llth Cir. 1983). A magistrate judge’s report
         and recommendation is not final and appealable until judgment thereon is entered by a district court judge. 28 U.S.C. Section
         636(c).

(b)      In cases involving multiple parties or multiple claims, a judgment as to fewer than all parties or all claims is not a final,
         appealable decision unless the district court has certified the judgment for immediate review under Fed.R.Civ.P. 54(b),
         Williams v. Bishop, 732 F.2d 885, 885-86 (llth Cir. 1984). A judgment which resolves all issues except matters, such as
         attorneys’ fees and costs, that are collateral to the merits, is immediately appealable. Budimch v. Becton Dickinson & Co.,
         486 U.S. 196, 201,108 S. Ct. 1717, 1721-22, 100 L.Ed.2d 178 (1988); LaChance v. Duffv’s Draft House, Inc., 146 F.3d 832,
         837 (llth Cir. 1998).

(c)      Appeals pursuant to 28 U.S.C. Section 1292(a): Appeals are permitted from orders "granting, continuing, modifying,
         refi~sing or dissolving injunctions or refi~sing to dissolve or modify injunctions..." and from "[i]nterlocutoly
         decrees...determining the rights and liabilities of parties to admiralty cases in which appeals from fmal decrees are allowed."
         Interlocutory appeals from orders denying temporary restraining orders are not permitted.

(d)      Appeals pursuant to 28 U.S.C. Section 1292(b) and Fed.R.App.P.5: The certification specified in 28 U.S.C. Section
         1292(b) must be obtained before a petition for permission to appeal is filed in the Court of Appeals. The district court’s
         denial of a motion for certification is not itself appealable.

(e)      Appeals pursuant to judicially created exceptions to fl~e finality rule: Limited exceptions are discussed in cases including,
         but not limited to: Cohen V. Beneficial Indus. Loan Corp., 337 U.S. 541,546,69 S.Ct. 1221, 1225-26, 93 L.Ed. 1528 (1949);
         Atlantic Fed. Say. & Loan Ass’n v. Blythe Eastman Paine Webber, Inc., 890 F. 2d 371,376 (llth Cir. 1989); Gillespie v.
         United States Steel Corp., 379 U.S. 148, 157, 85 S. Ct. 308,312, 13 L.Ed.2d 199 (1964).

Time for Filing: The timely filing of a notice of appeal is mandatory and jurisdictional. Rinaldo v. Corbett, 256 F.3d 1276, 1278 (1 lth
Cir. 2001). In civil cases, Fed.R.App.P.4(a) and (c) set the following time limits:

(a)      Fed.R.App.P. 4(a)(1): A notice of appeal in compliance with the requirements set forth in Fed.R.App.P. 3 must be filed in
         the district court within 30 days after the enn7 of the order or judgment appealed from. However, if the United States or an
         officer or agency thereof is a party, the notice of appeal must be filed in the district court within 60 days after such ennT.
         THE NOTICE MUST BE RECEIVED AND FILED IN THE DISTRICT COURT NO LATER THAN THE LAST
         DAY OF THE APPEAL PERIOD - no additional days are provided for mailing. Special filing provisions for inmates are
         discussed below.

(b)      Fed.R.App.P. 4(a)(3): "If one party timely files a notice of appeal, any other party may file a notice of appeal within 14 days
         after the date when the first notice was filed, or within the time otherwise prescribed by this Rule 4(a), whichever period ends
         later."

(c)      Fed.R.App.P.4(a)(4): If any party makes a timely motion in the district court under the Federal Rules of Civil Procedure of
         a type specified in this rule, the time for appeal for all parties runs from the date of entry of the order disposing of the last
         such timely filed motion.

         Fed.R.App.P.4(a)(5) and 4(a)(6): Under certain limited circumstances, the district court may extend the time to file a notice
         of appeal. Under Rule 4(a)(5), the time may be extended ifa motion for an extension is filed within 30 days after expiration
         of the time othowise provided to file a notice of appeal, upon a showing of excusable neglect or good cause. Under Rule
         4(a)(6), the time may be extended if the district court fmds upon motion that a party did not timely receive notice of the entry
         of the judgment or order, and that no party would be prejudiced by an extension.

(e)      Fed.R.App.P.4(c): If an inmate confined to an institution files a notice of appeal in either a civil case or a criminal case, the
         notice of appeal is timely if it is deposited in the institution’s internal mail system on or before the last day for filing. Timely
         filing may be shown by a declaration in compliance with 28 U.S.C. Section 1746 or a notarized statement, either of which
         must set forth the date of deposit and state that first-class postage has been prepaid.

Format of the notice of appeal: Form 1, Appendix of Forms to the Federal Rules of Appellate Procedure, is a suitable format. See
also Fed.R.App.P. 3(c). A pro se notice of appeal must be signed by the appellant.

Effect of a notice of appeal: A district court loses jurisdiction (authority) to act after the filing of a timely notice of appeal, except for
actions in aid of appellate jurisdiction or to rtile on a timely motion of the type specified in Fed.R.App.P. 4(a)(4).
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                                                                                                     US009286622B2


(12) United States Patent                                                          (10) Patent No.:     US 9,286,622 B2
       Choi                                                                        (45) Date of Patent:     Mar. 15, 2016

(54)    PRESS RELEASE DISTRIBUTION SYSTEM                                        2002/0065802 A1       5/2002    Uchiyama
                                                                                 2003/0028441 A1       2/2003    Barsness et al.
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(*)     Notice:         Subject to any disclaimer, the term of this
                        patent is extended or adjusted under 35                             FOREIGN PATENT DOCUMENTS
                        U.S.C. 154(b) by 0 days.
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(22)    Filed:          Apr. 26, 2013
                                                                                CNN.com homepage, Jan. 1, 2005, Wayback Machine internet
(65)                      Prior Publication Data                                archive.*
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                  Related U.S. Application Data
                                                                                Primary Examiner Amanda Abrahamson
(63)    Continuation of application No. 11/772,014, filed on
                                                                                Assistant Examiner Meredith A Long
        Jun. 29, 2007.
                                                                                (74) Attorney, Agent, or Firm Lewis Roca Rothgerber
(60)    Provisional application No. 60/817,771, filed on Jun.                   Christie LLP
        29, 2006.

(5]) Int. CI.                                                                   (57)                    ABSTRACT
     GO6Q 30/00               (20 ] 2.01)
                                                                                A press release distribution system provides press release and
     GO6Q 30/02               (2012.01 )
                                                                                other news to forum sites as posts. The forum software that
(52) U.S. Cl.                                                                   runs at forum sites includes press release interface software or
     CPC ............ GO6Q 30/02,16 (2013.01); GO6Q 30/00
                                                                                is adapted to receive press release interface plug-in modules
               (2013.01); GO6Q 30/0256 (2013.01); GO6Q
                                                                                for interfacing with the press release distribution system. The
            30/0269 (2013.01); GO6Q 30/0277 (2013.01);
                                                                                press release interface software or plug-in module may also
                 GO6Q 30/024i (2013.01); GO6Q 30/025i
                                                                                monitor and/or analyze user data of forum members and/or
                                                  (2013.01)
                                                                                forum activities of the users. The monitored user data and
(58) Field of Classification Search                                             forum activities may be provided to the press release distri-
     None                                                                       bution system for analysis and generation of user profiles.
     See application file for complete search history.                          Using the result of the analysis (e.g., user profiles), the press
                          References Cited                                      release distribution system can target particular users or
(56)                                                                            forums to direct the press releases, news, or advertisements
                  U.S. PATENT DOCUMENTS                                         for most effective advertising campaign.
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  U.S. Patent        Mar. 15, 2016   Sheet 3 of 7         US 9,286,622 B2




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 Threads in Forum : Showroom




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                                                                                                  FIG. 6
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      RECEIVE PRESS RELEASE
           OR NEWS 600
                                                                O
                                                                4~
                                                                OO
                                                                ~4
   PROVIDE THE PRESS RELEASE
   OR NEWS TO FORUM SITE 602

        MONITOR USER DATA
                   6O4


   MONITOR FORUM ACTIVITY OF
    ONE OR MORE USERS 605

   ANALYZE THE USER DATAAND
      FORUM ACTIVITIES 606

  USE THE ANALYSIS RESULT TO
TARGET THE USER/FORUM SITE 608

 PROVIDE PRESS RELEASES, NEWS,
  ADS TO THE FORUM SITE/USER
                   610
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       PRESS RELEASE DISTRIBUTION SYSTEM                                 without any further information on ad effectiveness. In addi-
                                                                         tion, the fan site operator typically provides advertising track-
              CROSS-REFERENCE TO RELATED                                 ing information once in a while by sending an e-mail, for
                           APPLICATION                                   example, and the advertiser has no way of validating their
                                                                     5 data. Therefore, it is very difficult to quantitatively assess
     This application is a continuation of application Ser. No.          which site is truly better than another site.
  11/772,014 filed Jun. 29, 2007, which claimed the benefit of              Further, since each site has its own paperwork and pro-
  U.S. Provisional Application No. 60/817,771 filed Jun. 29,             cesses for accepting ads and ad money, ranging from very
  2006, the entire content of which is incorporated by reference         formal to very informal, an advertiser must spend extra time
  herein.                                                            10 to track which placement invoices should be coming for
                                                                         which sites and for how long.
                    FIELD OF THE INVENTION                                  To further complicate the matter, the existing banner
                                                                         images may not be ideal for all of the sites that the advertise-
     The present invention relates to online brand marketing             ments are to be placed on. In this case, separate ads should be
  and monitoring.                                                    15 crafted for certain specific sites, which makes tracking even
                                                                         more complicated and the advertiser must keep track of which
                          BACKGROUND                                     ads go to which sites. In addition, when the advertiser’s
                                                                         products change and/or a new feature is added, the advertiser
     Global computer networks, such as the Intemet, are                  must re-do all of his advertising banners to reflect the changes
  increasingly being used for marketing and advertisements, 2o and resubmit them to the appropriate sites. This may involve
  encroaching into advertising markets traditionally reserved            sending e-mails to all of the various site owners.
  for printed media (e.g., newspapers and magazine) and/or                  Other problems associated with online advertisements and
  television. Online advertisements often appear on web sites            marketing that prevent many businesses from effectively uti-
  or web pages of the World Wide Web (WWW) in a form of                  lizing the web for advertising brands or products include: 1)
  banner ads, or the like. There are also other web sites that are 25 difficulty in monitoring positive and negative comments on
  fan sites (or forum sites) utilized for discussing particular          user forums, fan sites and/or the like that can make noticeable
  interests or hobbies. These fan sites normally consist of mes-         impacts on sales, as it is difficult and time consuming to
  sage forums and other venues for disseminating information             monitor the thousands of user forums and other sites on the
  over the global computer networks, are being used to portray           web; 2) lack of advertisers’ knowledge or expertise in gaug-
  certain products or brands in a positive or negative light, and 30 ing the quality ofthe vendors’ sites and limited availability of
  can be important sources of consumer feedback for advertis-            tools for measuring the performance of the online placements
  ers, manufacturers and consumers alike.                                that are purchased, even when advertisers want to diversify
     Since these fan sites tend to have smaller audiences, one           their ad spending and advertising on enthusiast web sites; and
  should advertise across many of them to reach a sizable                3) difficulty in monitoring unauthorized retailers who sell
  market. While this market is highly desirable, the problem is 35 fake products because small or medium-sized businesses gen-
  that one needs to work through many different sites to reach           erally cannot afford to spend the time to monitor the entire
  the market. Also, since each fan site typically requires a fee         web for unauthorized dealers.
  for placing an advertisement, it is impractical or impossible to          Therefore, it is desirable to provide tools that will facilitate
  place advertisements on each and every one of them. There-             the advertisers, manufacturers or brand managers to locate
  fore, the advertisers, manufacturers or those seeking to reach 4o the most suitable fan sites that are frequented by the target
  the market through the fan sites must select the right fan sites       audience, and to monitor the effectiveness of any advertise-
  on which to place their advertisements. Further, these sites           ments that are placed on these fan sites. Further, it is desirable
  tend to be less professional than typical larger sites (Yahoo,         to provide tools that can be used by the advertisers or manu-
  CNN, etc.) that sell ad spaces so it is desirable to have them fit     facturers to monitor dissemination of information regarding
  into a set standard for distributing and processing ads.           45 their brand names or products over the global computer net-
     Due to a generally large number of fan sites available for works.
  placing advertisements, it is often very difficult and time
  consuming to select those relatively few fan sites to run adver-                     SUMMARY OF THE INVENTION
  tisements. For one thing, it is often difficult to identify those
  fan sites that are frequented by a number of potential custom- 50 In one exemplary embodiment according to the present
  ers. Further, it is even more difficult to measure the effective-      invention, a press release distribution system is used to pro-
  ness of the advertisements placed on any particular fan site.          vide press releases, other news, advertisements, messages
     Such difficulties in identifying the target fan sites are even      and/or non-"press" events to the forum sites.
  more pronounced when the brands being advertised or mar-                  In one exemplary embodiment according to the present
  keted are for a niche market such as the automotive aftermar- 55 invention, the press release distribution system inserts or
  ket industry, for example. The automotive aftermarket is               posts a press release as a message at one or more forum sites.
  already fragmented into a number of different market seg-                 In one exemplary embodiment according to the present
  ments such as parts for trucks, sport compact cars, domestic           invention, the press release distribution system interfaces
  performance cars, luxury SUVs, etc. Therefore, it is not an            with the forum software that runs at each of the forum sites.
  easy task for an aftermarket manufacturer, which is often a 6o The forum software may have a built-in software for interfac-
  small or medium-sized business with limited resources and              ing with the press release distribution system or may be
  marketing budget, to select one or more aftermarket car                adapted to receive a press release interface plug-in module for
  enthusiast fan sites that will serve as an effective venue for its     interfacing with the press release distribution system.
  marketing campaign.                                                       In one exemplary embodiment according to the present
     Further, although these fan sites typically provide an adver- 65 invention, the component of the press release distribution
  tising tracking program, they generally only indicate how              system that runs at respective forum sites, e.g., the press
  many people saw the ad and how many people clicked on it               release interface plug-in, generates a user profile (e.g., a mar-




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  keting profile) using user data and/or user activities at the            FIG. 7 is a flow diagram of the operation of the press
  forum such as user reads and uploads.                                 release distribution system in one embodiment in accordance
     In an exemplary embodiment according to the present                with the present invention.
  invention, a press release distribution system includes a dis-
  tributor module adapted to receive a press release, and to                             DETAILED DESCRIPTION
  distribute the press release to one or more forum sites over a
  network according to relatedness between the press release               Exemplary embodiments according to the present inven-
  and the one or more forum sites; at least one input handler           tion provide a method and apparatus for facilitating targeted
  module adapted to receive the press release from one or more          advertising of various different brands and monitoring
                                                                    10 thereof, over global computer networks, including distribu-
  advertisers, and to provide the press release to the distributor
                                                                        tion of press releases. This application contains subject matter
  module; and at least one press release poster module adapted
                                                                        related to U.S. patent application Ser. No. 11/359,003 filed
  to run at respective said one or more forum sites, to receive the     Eeb. 21, 2006, which claims priority to and the benefit of U.S.
  press release over the network, and to post the press release as      Provisional Application No. 60/654,163 filed on Eeb. 18,
  a message at the respective said one or more forum sites.         15 2005, the entire contents of both of which are incorporated
     In another exemplary embodiment according to the present           herein by reference.
  invention, a method of distributing a press release to one or            A brand management system or a brand monitoring and
  more forum sites, is provided. The method includes: receiv-           marketing system in exemplary embodiments of the present
  ing the press release from one or more advertisers; distribut-        invention is a web-based application suite that provides busi-
  ing the press release to the one or more forum sites over a 2o nesses with the tools necessary to monitor and market their
  network according to relatedness between the press release            brands online. The system will provide the businesses with
  and the one or more forum sites; and posting the press release        one or more of the tools including, but not limited to, a brand
  as a message at the one or more forum sites.                          monitoring tool, an ad management tool, and a file manage-
     In exemplary embodiments of the present invention, a               ment tool. The system can aggregate existing tools and/or
  brand management system used to provide marketing and 25 provide new tools and services that are not currently avail-
  monitoring services for brands or products over the global            able. The brand management system in one embodiment also
  computer networks, includes a press release distribution sys-         includes a press release distribution system, and a number of
  tem.                                                                  press release interface software or plug-in modules running at
     In another exemplary embodiment according to the present           forum sites to interface with the press release distribution
  invention, a brand management system coupled to a plurality 3o system. The press release distribution system and the press
  of web sites over a communications network, is provided. The          release interface software may together be also referred to as
  brand management system includes: a press release distribu-           a press release distribution system.
  tion system adapted to receive a press release related to an             In an exemplary embodiment according to the present
  advertiser and provide the press release to one or more forum         invention, the brand management system includes an ad
  sites among the plurality of web sites to post as a message, in 35 directory system or an ad directory in a form of a web site to
  accordance with relatedness between the press release and the         link the brand advertisers or manufacturers to various differ-
  one or more forum sites; a brand monitoring tool adapted to           ent web sites that are likely to provide an effective venue for
  automatically monitor one or more of the web sites for at least       marketing and advertisements for particular market seg-
  one keyword related to a particular brand or product of the           ments. The advertisers or manufacturers can view (which can
  advertiser; and an advertisement directory system comprising 4o include logging in) the web page on which the directory of
  a directory of web sites that are likely to provide an effective      web sites is placed, and select one or more web sites based on
  venue for one or more advertisements for the particular brand         their particular needs, in accordance with the information
  or product.                                                           provided in the directory.
     These and other aspects of the invention will be more                 The ad directory system can also be used to facilitate dis-
  readily comprehended in view of the discussion herein and 45 tribution of the advertisements, tracking and monitoring of
  accompanying drawings.                                                the effectiveness of the advertisements, and transfer of adver-
                                                                        tisement fees between the advertisers and the web site own-
          BRIEF DESCRIPTION OF THE DRAWINGS                             ers. The brand management system can use a brand monitor
                                                                        including a bot to monitor various different sites (e.g., popular
     FIG. 1 is a configuration diagram of a brand management 5o forums, fan sites, etc.) through a ke3~vvord search, for
  system coupled over the global computer networks to adver-            example,
  tisers, ad sites, monitored sites, consumers and dealers;                The brand management system of the present invention
     FIG. 2 is a block diagram showing components of the brand          provides one or more of, without being limited to, the follow-
  management system of FIG. 1;                                          ing features: 1) identification of the sites that would be suit-
     FIG. 3 is a flow diagram illustrating the process of using the 55 able or ideal for the brands and/or products of interest, instead
  brand management system for ad placement and tracking in              of finding one site at a time; 2) quantitative assessment as to
  an exemplary embodiment of the present invention;                     which site is truly better than another site; 3) quantitative
     FIG. 4 is a configuration diagram of a press release distri-       measurement ofad effectiveness, by such information as how
  bution system coupled over the global computer networks to            many customers actually purchased products as a result of a
  advertisers and forum sites in an embodiment in accordance 6o particular advertisement on a particular web site; 4) indepen-
  with the present invention;                                           dent confirmation of advertisement tracking data provided by
     FIG. 5 is a conceptualized block diagram of the press              the web site operators; 5) ability to create banner and/or other
  release distribution system of FIG. 4 in one embodiment               images that are suitable or ideal for all of the sites on which
  according to the present invention;                                   the advertisements are placed, because separate ads may be
     FIG. 6 is a schematic view of a screen shot of a forum site 65 required for certain specific sites, which makes tracking even
  home page in an embodiment in accordance with the present             more complicated since the advertiser must keep track of
  invention; and                                                        which ads go to which sites; and 6) saving the advertisers




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  from having to re-do all of the advertising banners to reflect      system 100 can, in addition to purchasing products from the
  the changes and resubmit them to the appropriate sites, when        advertisers/manufacturers/distributors online, bid for prod-
  the products change or a new feature is added.                      ucts online, such that the ad directory system 202 can be used
     As illustrated in FIG. 1, a brand management system 100 is       for advertising, selling, purchasing and/or bidding of various
  coupled to advertisers 103, and is coupled to monitored sites 5 different products having different prices and in different
  110, including ad sites 1 to N 104, 106, 108, over the global       quantities. All these transactions can be monitored using the
  computer networks 102. The monitored sites 110 also include         ad tracker 206 such that the effectiveness of the ads and/or ad
  popular sites 109 that are not necessarily ad sites. By way of      campaigns can be measured.
  example, the popular sites may include large sites that are            The file manager 210 can be used for online distribution of
  monitored but do not have ad sales provided through the 10 information related to products or brands (e.g., images, bro-
  brand management system 100. Consumers 112 (or comput-              chures, performance data, etc.) to the dealers and/or the con-
  ers thereof) are coupled to the ad sites 1 to N 104, 106, 108.      sumers. Any advertising fee transactions between the adver-
  The consumers generally would not directly access the brand         tisers and ad site owners can take place using the online
  management system 100.                                              payment system 204, for example.
     The brand management system 100 is used for monitoring 15 In other embodiments, the ad distributor 208 may also
  and marketing by one or more advertisers, for example, and          distribute press releases as ad units, and the ad tracker 206
  may also be referred to as a brand monitoring and marketing         may also track effectiveness of the press releases. In yet other
  system herein. The advertisers 103 represent one or more            embodiments, the file manager 210 may also be used to
  different advertisers, manufacturers, dealers or brand market-      distribute the press releases. In still other embodiments, a
  ers who are using the services provided by the brand man- 20 separate press releases distribution system is used as a part of
  agement system 100. Similarly, the monitored sites 110 rep-         the brand management system 100 or as a separate system!
  resent one or more sites that are monitored by the brand            module to receives press releases and other news, and distrib-
  management system 100 on behalf of the advertisers 103.             ute them to the advertisement sites (e.g., forum sites). One
     As can be seen in FIG. 2, the brand management system            instance of such press release distribution system is illus-
  100 includes brand monitoring tools 200, an ad directory 25 trated in FIG. 4, and described in reference to FIGS. 4-6
  system 202, an online payment system 204, and a file man-           below.
  ager 210. The ad directory system 202 includes an ad tracker           Search engine ranking, linked sites, eBay® postings, and
  206, an ad generator 207 and an ad distributor 208. In one          other negative or positive product comments on forums and
  embodiment, the brand management system optionally                  other web sites can have a dxamatic impact on how a brand is
  includes a press release distribution system 400. The box 400 30 perceived. This negative or positive "press" can also directly
  representing the press release distribution system 400 is           affect sales. Hence, in an exemplary embodiment, the brand
  shown in dotted lines because the press release distribution        management system 100 performs brand monitoring using
  system 400 is optional. In addition, the press release distri-      the brand monitoring tools 200.
  bution system 400 may be implemented in one or more other              The brand monitoring tools 200 include a hot 201. The
  modules, such as the ad tracker 206, the ad distributor 208 35 brand monitoring tools 200 may also include one or more
  and/or the file manager 210. Further, some of the components        other tools known to those skilled in the art. During brand
  of the press release distribution system 400, such as, for          monitoring, the bot is used to automatically monitor certain
  example, press release plug-ins shown in FIG. 4 (or press           web sites and web postings for specific keywords. These
  release posters shown in FIG. 5) may be implemented at the          keywords may appear as topics and/or content of discussions
  forum sites, separately from the rest of the brand management 40 in different online forums. They may also appear as products
  system 100.                                                         for sale on Internet auction sites. Hence, the hot can be used
     The brand monitoring tools 200 are used for monitoring the       to monitor/track various different web sites and/or web post-
  user forums, fan sites, etc. to afford advertisers or manufac-      ings to search for particular keywords, brands, products,
  turers an insight into how their products and/or brands are         advertiser identifications, etc. to monitor how the monitored
  received or perceived in the market, especially by the relevant 45 brands, products, etc. are characterized/perceived by the
  online community. The ad directory system 202 is for bring-         online community. By way of example, the bot can be tar-
  ing together sellers and buyers of online advertisements, and       geted to one or more predetermined web sites. The user may
  includes ad tracking, ad generation and ad distributor features     also have flexibility to tailor monitoring of various different
  as follows. The ad generator 207 can be used by the advertis-       web sites and postings to fit his needs using the bot. The web
  ers or manufacturers to create or to modify online ads (e.g., 5o sites searched can include one or more of, but are not limited
  including banners), while the ad distributor 208 and the ad         to, eBay® and other auction site postings, FroogleTM posts,
  tracker 206 can be used to distribute ads and to track effec-       Epinions® posts, forum posts, search engines, number of
  tiveness of ads, respectively. Alternatively, the advertisers or    links to the manufacturer’s web site, Alexa® ranking,
  manufacturers can submit their own pre-created ads for dis-         Google® Adwords®, Overture®, Groups, and the like.
  tribution rather than using the ad generator 207.                55    EBAY® is a registered trademark ofeBay Inc., a Delaware
     By way of example, the ad directory system 202 facilitates       corporation; FROOGLETM is a trademark of Google Tech-
  the advertisements by the manufacturers/distributors by             nology Inc., a California corporation; EPINIONS® is a reg-
  enabling them to create/submit/modify their own advertise-          istered trademark of Epinions, Inc., a Delaware corporation;
  ments and placing them on the advertisement directory of the        ALEXA® is a registered trademark ofAlexa Internet Corpo-
  ad directory system 202. The advertisers may also post spe- 6o ration, a California corporation; GOOGLE® andAdwords®
  cific products and quantities/inventories available for sale for    are registered trademarks of Google Inc., a Delaware corpo-
  each product, such that transactions can be facilitated through     ration; and OVERTURE® is a registered trademark of Over-
  the use of the brand management system 100. Hence, the              ture Services, Inc. a Delaware corporation.
  brand management system 100 brings the sellers and pur-                The advertiser, such as a brand owner and/or a product
  chasers together in an online community setting.                 65 manufacturer, can select which keywords, trademarks, and
     The transactions can be consummated through the use of           phrases are relevant to their businesses. The advertiser can be
  the online payment system 204. The users of the ad directory        given links to any posts that contain these keywords. This




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  feature can be used, for example, to give the marketing man-         multiple ads in rotation in one single placement. Optionally,
  ager an instant overview of the web activity that their brand is     advertisers may have the brand management system auto-
  generating. For example, the marketing managers can have, matically disable the less effective one or more ads of a
  all on one screen, a summary of Internet activities relevant to      plurality of ads. Advertisers would be able to set which factor
  their brand.                                                      5 they wish to use in evaluating effectiveness including click-
      The bot of the brand monitoring tools 200 should be more         thrus, orders, contact form submissions, and/or the like.
  sophisticated than a normal bot, and should be used for check-          In addition to traditional banner placements, the brand
  ing Internet activities. In one embodiment, the bot is able to       management system 100, or the ad distributor 208 thereof,
  navigate web sites that require users to log in to the web site.     will enable advertisers to distribute online press releases, or
  In this embodiment, the bot is also able to look for specific 10 choose keyword-related placements tied to text or image ads
  data on each web page. Further, the bot is a programmable bot        on the ad sites, which may be enthusiast sites.
  that can be customized for each site being monitored.                   An online media buy may include dozens of web sites, so
      In one embodiment, the bot reports indexing failures to          organizing and tracking these payments online will be impor-
  indicate changes to the web sites that may cause the bot to fail.    tant for advertisers. The brand management system 100 can
  "Behaviors" are programmed into the bot as many of these 15 process the transactions for the placement fees through its
  web sites have rules designed to exclude bots from using             online payment system 204 using a model similar to that of an
  specific features on their sites. For example, some forums do        application service provider (ASP) model. By way of
  not allow more than one search every 20 seconds to avoid bots        example, monthly fees may be charged by the ad sites through
  overloading their servers. Those skilled in the art would know       the online payment system 204 for placing advertisements.
  how to create/program a bot having one or more of the above 2o Advertiser/site feedback may also be incorporated into the
  features according to exemplary embodiments.                         brand management system 100. The online payment system
      The ad directory system 202, which may also be referred to       204 can also be used by the advertisers and/or the ad sites to
  as an ad directory, of the brand management system 100               pay for services provided by the brand management system
  provides manufacturers or advertisers with a large directory         100.
  of web sites related to a particular brand, such as top automo- 25 A model similar to the ASP model can also be used
  tive enthusiast web sites. The manufacturers or advertisers          between the advertisers and/or ad sites and the brand man-
  can select web sites that they wish to advertise their brands or     agement system 100. By way of example, a model similar to
  products on, using a system similar to an online shopping cart.      the ASP can be used to implement the transactions between
      By aggregating and organizing these sites, the brand man-        the advertisers and/or the ad sites and the brand management
  agement system will enable advertisers to quickly create and 30 system 100. This way, the brand management sy stem 100 c an
  manage ad campaigns across multiple web sites. For web               charge a monthly access fee to the advertisers and/or ad sites
  sites selling advertising spaces, the ad directory system 202        for buying and selling of ad spaces.
  will enable them to post their site information, ad programs,           There are at least two fees that are associated with the brand
  audience type, and ad rates. These enthusiast sites will have        management system of the present invention. A first fee is an
  the option of having their traffic audited for an additional 35 access fee to access the system for brand monitoring and to
  monthly fee. Such auditing process can be automated through          access ad directory. The access fee can be a monthly ASP
  an automated digital tracking system (e.g., pixeling), for           style fee, and it is conceivable that some customers may only
  example. These sites can be specially marked, for example, to        pay this monthly access fee but not buy any ads. The online
  indicate that their traffic has been audited.                        payment system 204 is used to pay for the placement of the
     Advertisers or manufacturers should be able to view these 4o ads. The operator of the brand management system, for
  enthusiast sites by site type (e.g., make/model) and easily          example, may keep a percentage of revenue generated
  select multiple ad placements to create an online media buy.         through all of the transactions involving purchasing ad spaces
  Web sites selling their placements through the brand manage-         and placing ads.
  ment system 100 should be able to review requested place-               According to FIG. 3, the advertiser or manufacturer first
  ments and ads submitted by manufacturers. Once an ad place- 45 accesses the ad directory system (300). The ad directory
  ment is accepted by a particular web site, the brand                 system contains information on available ad sites correspond-
  management system 100 will automatically place the ad on             ing to the products or brands of interest. The advertiser or
  that particular web site. The ad distributor 208 manages ad          manufacturer selects ad sites based on the site type (e.g.,
  distribution, and the ad tracker 206 manages detailed ad             catering to the specific industry) and/or the like (302).
  tracking.                                                         5o The advertiser or manufacturer may already have available
      The ad tracker 206, which may also be referred to as an ad       ads, or they may wish to modify existing ads and/or create
  tracking system, would enable advertisers to easily track a          new ads using the tools available in the brand management
  variety of data per ad or per placement. Advertisers would be        system, such as the ad generator 207 (304). After selection of
  able to track information including contact form submissions,        the ad sites and the creation!submission of the ads, a payment
  orders, number of shopping carts started, product pages 55 is arranged (305), for example, through the online payment
  vie~ved, and the like.                                               system 204. Then, the ads are distributed to the selected ad
      The ad generator 207, which may also be referred to as an        sites (306). The effectiveness of the ads can be tracked (308)
  ad generation system or an ad creation system, is a tool that        using the ad tracker 206, for example. The ad campaign can
  can be used to generate ads that are suitable for all ad sites.      then be adjusted (310) using factors such as effectiveness of
  The ad generator 207 can also be used to generate two or more 6o the various different ad sites.
  ads, each of which is suitable for placement on one or more             Further, advertisers or manufactures can gain detailed
  specific sites. In addition, the ad generator 207 can be used to     tracking information by using the brand management system
  convert existing ads on printed media to banner or other ads         100. By way of example, a total summary for the campaign
  suitable for placement on web pages.                                 may show total clicks, total impressions, click-through rates
      The ad distributor 208, which may also be referred to as an 65 (CTR) and total user actions, all of which can be tracked, such
  ad distribution system, provides the advertiser with the ability     that ads can be tied to some user activity such as a dealer
  to remove and/or replace ads. Advertisers could also run             search, product page view, contact form submission, or an




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  online order. This way, one or more user activities associated    (410,420,430), wherein N is an integer greater than or equal
  with the advertisements can be tracked/monitored.                 to 3. In the described embodiment, there is no limit to the
     In addition, manufacturers or advertisers can distribute ads   number of forum sites that the press release distribution sys-
  evenly or remove ineffective ads after so many days or after so   tem 4011 is coupled with. The press release distribution system
  many impressions. Further, the advertisers or manufactures 5 400 receives press releases, news feed and/or Really Simple
  can remove or edit existing ads or generate new ads. This way,    Syndication (RSS) feed over a network 4112, which may be a
  advertisers or manufactures can quickly change ads on mul-        global computer network or the Internet, or any other suitable
  tiple sites, run multiple ads in one placement, run different ads network known to those skilled in the art. The press release
  based on time of day, and/or remove ineffective ads without       distribution system 400 may be a part of a brand management
  having to resubmit the ads manually to multiple site owners. 10 system 100, or may be a standard alone system. Such stand
     Currently, product images, documents, and data are typi-       alone press release distribution system may be coupled or not
  cally distributed by burning the data onto CD-ROMs as their       coupled with the brand management system 100. One
  dealers request them. By moving this functionality online, the    embodiment of the press release system 400 may be referred
  manufacturer will gain several benefits including, but not        to as POSTRELEASETM, which is a trademark of CIE Stu-
  limited to, reduced labor costs associated with distributing 15 dios, LLC, Long Beach, Calif.
  materials to dealers and media and reduced CD media and              In the example depicted in FIG. 4, the press release distri-
  postage costs.                                                    bution system 400 receives press releases from the advertisers
     The file manager 210 is a part of a suite of tools (i.e., the  403. In other embodiments, the press release distribution
  brand management system 100) that address the common              system 400 may receive the press releases in any other suit-
  needs of advertisers or manufacturers, such as the automotive 2o able manner over the network 402 or otherwise. Further, the
  aftermarket industry.                                             news and RSS feeds may be provided using any suitable
     The file manager 210 should enable advertisers or manu- method over the network 402 or otherwise, as those skilled in
  facturers to do one or more of, but not limited to, the follow-   the art would appreciate. Any advertisements including text
  ing: 1) upload various documents and images; 2) upload large      and/or graphics can also be distributed and posted directly
  images and automatically have "thumbnail" previews cre- 25 into forums using the press release distribution system 400, of
  ated; 3) organize documents and images into categories and/ course. The press releases are posted on (or inserted into) the
  or subcategories; 4) establish access rights depending on user    forum (or forum site) as a message or an announcement. The
  type; 5) track downloads by user and by file; and 6) provide      "message" may also be referred to as a "post" throughout this
  news/updates to dealers.                                          specification. Further, the "message" is not limited to text, but
     Further, the file manager 210 should enable manufacturers’ 30 may also include one or more ofimages, video, web site code,
  dealers to do one or more of, but not limited to, the following:  Flash, or any other suitable information or data.
  1) view thumbnails of images (created automatically by the           As can be seen in FIG. 4, one or more users 440 (i.e.,
  system); 2) search for files by a keyword; 3) browse files by     computers or other network devices thereof) are also coupled
  category/subcategory; 4) select multiple files or download        to the forum sites 1-N (410, 420, 430) via the network 402.
  entire categories of files; and 5) quickly see new files 35 The users 440 are consumers who may be members or users
  uploaded since the last login.                                    of the forum sites 1-N. The press releases posted on the forum
     While the present application has been described mainly in     sites 1-N will be read by the users 440 of the corresponding
  reference to the automotive aftermarket, the directory system     forum sites. The users 440 uploadposts at the forum sites, and
  in exemplary embodiments of the present invention can be          also read the posts of interest from the fortun sites. These user
  applied to any suitable market with strong enthusiast follow- 4o activities can be used or analyzed to generate personal/mar-
  ing online. The sites and market segments having such strong      keting profiles for the users. While only one box 400 is used
  enthusiast following online, may include wedding sites, golf,     to designate the users in FIG. 4, the users of course can be
  professional wrestling, and the like.                             located at multiple different locations (e.g., across the globe).
     As discussed above, in embodiments in accordance with             The press release distribution system 400 may be included
  the present invention, the following strategy is used, for 45 in the brand management system 100 of FIGS. 1 and 2, for
  example, for brand monitoring, marketing and management: example, or implemented as a system separate from the brand
  1 ) A large number of small automotive forums (publishers)        management system 100 on the same or different server from
  are aggregated into one automotive network; 2) The clients        that of the brand management system 100. In other embodi-
  are enabled to easily create online ad campaigns by selecting     ments, the features and functions of the press release distri-
  various publishers; 3) The advertisers are enabled to upload, 5o bution system 400 are implemented in other modules of the
  distribute, and track ad banners across these publishers; 4)      brand management system 100, such as the ad tracker 206, the
  The brand monitoring and marketing system will automati-          ad distributor 208 and/or the file manager 210.
  cally monitor posts on these sites to see if anything negative or    The forum site 1 (410) runs forum software 412; the forum
  positive is said about the advertiser; and 5) Other online        site 2 (420) runs forum software 422; and the forum site N
  services will be provided to advertisers through the brand 55 (430) runs forum software 432. The forum software 412,422
  monitoring and marketing system (e.g., e-commerce, etc.).         and 432 respectively have installed therein, respective press
     In another embodiment in accordance with the present           release (PR) plug-ins (or plug-in modules) 414,424 and 434.
  invention, a press release distribution system is used to inject  The press release plug-ins may also be referred to as press
  or post press releases into the forum. The press releases can     release interface plug-ins herein. The forum software may be
  include text, video, graphics, images, multimedia, program- 6o VBulletin or any other forum software available to those
  ming, and/or any other suitable information as those skilled in   skilled in the art. Those skilled in the art would appreciate that
  the art would appreciate. Here, each of the press releases may    the plug-in modules are designed and developed to work with
  be viewed or referred to as an ad unit that can be embedded       one or more desired forum software. The press release plug-in
  into the forums.                                                  module receives the press releases and/or other news from the
     As shown in FIG. 4, a press release (PR) distribution sys- 65 press release distribution system 400, and posts the received
  tem 400 in an embodiment in accordance with the present           press releases and/or other news on the corresponding forum
  invention, is coupled to advertisers 403 and forum sites 1 to N   site. Alternatively, the press release distribution system 400




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  and the press release plug-ins may together also be referred to     needs only install the forum software when it already includes
  as a press release distribution system.                             the features and functions of the press release interface plug-
     Each of the forum sites 1 to N (410, 420, 430) also includes in module.
  a respective one of databases 415, 425 and 435. The database           The press release distribution system 400 in one embodi-
  includes user data, e.g., name, birth date/age, gender, occu- 5 ment limits the time period during which particular press
  pation, address, e-mail address, phone number, and/or any           releases are posted at one or more forums. Further, in one
  other personal data required (or optionally requested) by the       embodiment, the press release distribution system 400 (either
  forum site for registration as a member. The database also          alone or together with the forum software and/or the press
  includes the forum postings, traffic and forum activities, and      release interface plug-in module) limits the frequency at
                                                                   10 which   the press releases are displayed for each user. The press
  may also include history and/or archive of the forum postings,
  traffic and forum activities. The forum activities may include release        distribution system 400 in one embodiment also
                                                                      tracks the result (i.e., effectiveness) of the press release dis-
  the activities of the users/members while logged onto the           tribution campaigns.
  forum site, such as the posts downloaded/read and posts writ-          As shown in FIG. 4, therefore, press releases, news and/or
  terduploaded by the users.                                       15 advertisements from!related to the advertisers 403 of particu-
     In one embodiment, the press release plug-in module is lar brand or product can be directed to particular one or more
  used to monitor the posts, user information, user behavior,         forum sites in accordance with the relationship or relatedness
  and/or other forum activity at the corresponding forum site.        between the press releases, news, advertisements, advertisers,
  By way of example, most forum sites require that the users be brand, product and the forum sites. By way of example, press
  registered as members in order to post on forums, while 20 releases, advertisement, etc. from aftermarket automotive
  non-registered users can still view the site and posts thereon.     parts manufacturers will be directed to forum sites of auto
  Also, most forums are broken down by topic areas. Further,          enthusiasts and press releases, advertisements, etc. from golf
  the registration process on many forums including nearly all        club manufacturers will be directed to golf enthusiast forum
  automotive forums require age information and optional loca-        sites. Further, in one embodiment, the press releases, adver-
  tion, occupation, and other personal data. The press release 25 tisements, news, etc. are directed to one or more particular
  plug-in in one embodiment uses such personal data and by            users/members of the fomm sites in accordance with the user
  tracking the content of each message the user posts and reads,      profiles and/or user activities at the foruna site. By way of
  to develop a marketing profile for that user. Further, almost example, a user actively reading or uploading on threads on
  every forum has a search feature or function, and the search        multi-function cellular phones will be targeted to be provided
  activity of the user (e.g., search terms or keywords used by the 30 with press releases and/or advertisements from cellular phone
  user during the search) can also be used to create user profile.    manufacturers.
  As such, the plug-in module in one embodiment monitors the             FIG. 5 is a conceptual block diagram of the press release
  forum activity of the user and uses that information to create      distribution system 400 of FIG. 4. As shown in FIG. 5, the
  a marketing profile (or user profile) and then deliver ads press release distribution system includes a press release han-
  against that profile for a targeted advertising. By way of 35 dler module (or press release handler) 450, a news feed han-
  example, in one embodiment, the marketing profile (or user dler module (or news feed handler) 452 and an rss feed
  profile) can be created by analyzing the posts/messages that        handler module (or rss feed handler) 454 for receiving and
  the user reads, the posts/messages that the user creates, and/or    handling press releases, news feed, and rss feed, respectively.
  the profile information the user entered when the user created      The press release handler module 450, the news feed handler
  his/her account on the forum.                                    4o module 452 and the rss feed handler module, either together
     By way of example, if someone is viewing a post thread or separately, may also be referred to as an input handler or
  about wheels and he responds to the thread, the press release       input handler module. The term "module" is used throughout
  plug-in module can be used to determine that that particular        this specification to refer to any hardware, software, firm-
  user may have an interest in wheels, and deliver wheel ads to       ware, application, tool, widget, plug-in, any other suitable
  that user. Alternatively, the press release plug-in module may 45 processing apparatus or method known to those skilled in the
  provide the user activity information to the press release          art to inlplement the described functions, or any combinations
  distribution system 400 for such analysis/determination. As         thereof.
  such, in the described embodiment, the press release distri-           The press release distribution system 400 also includes a
  bution system 400 is integrated into existing forum sites using     distributor/controller module 460 (to be referred to hereinaf-
  the press release plug-in modules, rather than sites specifi- 5o ter as "distributor" or"distributor module") 460. The distribu-
  cally developed for operating with the press release distribu-      tor module 460 receives the press releases, news feed and rss
  tion system. Hence, the press release distribution system 400       feed, mad provide them to one or more press release poster/
  draws existing data from forums (i.e., mines already existing monitor modules (to be referred to hereinafter as "press
  data) that are generated by user activities on forums. To get       release posters" or "press release poster modules") 470, 472,
  these forum sites to join the network of press release distri- 55 474 to be posted at the respective forum sites. In one embodi-
  bution system 400, a revenue sharing may be instituted, in          ment, each of the press release poster modules 470, 472 and
  which the press release distribution system 400 delivers ads        474 posts or inserts the press releases as a message on the
  and shares revenue, as many of these forum sites, despite           forum (or forum site). In one embodiment, the press release
  having great traffic, typically need help to generate revenue       poster modules 470, 472, 474 are implemented as plug-ins,
  from the traffic.                                                6o such as the PR interface plug-ins 414,424 and 434 of FIG. 4.
     In other embodiments, the forum software may already                In addition to posting the press releases, news feed, and rss
  include a press release interface module for receiving and          feed, the press release poster modules 470, 472,474 monitor
  posting press releases from the press release distribution sys-     user data and/or forum activities of one or more users at
  tem 400 and for monitoring user data and forum activity respective forum sites. The press release poster module 470,
  thereof, such that a separate plug-in module is not necessary. 65 472 or 474 may analyze the user data and/or forum activity
  Hence, while the press release interface plug-in module is          data. Alternatively or in addition to the analysis of the user
  installed separately by the forum site owner, the site owner        data and/or forum activity data in the press release poster




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  modules 470, 472, 474, in one embodiment, the distributor            reading the posts (or threads thereof) or writing posts onto the
  module 460 analyzes the user data and/or the forum activities.       forum sites. The press release plug-in also monitors these
  The distributor module 460 may also receive the result of the        forum activities of one or more users/members (605). The
  analysis of one or more of the press release poster modules          monitored information may be gathered and analyzed by the
  470, 472 or 474, and further analyze such analysis result. 5 press release plug-in and/or may be provided to the press
  Then the distributor module 460 uses the analysis result to          release distribution system to be analyzed to generate user
  target the user/forum site to direct the press releases, news,       profiles (606). Based on such user profiles, the press release
  advertisements, messages and/or non-"press" events. There-           distribution system can target particular forum sites and/or
  fore, in one embodiment, the distributor module 460 analyzes         members thereof to direct the press releases, news and/or
  or further analyzes the user/forum activity data, and/or con- 10 advertisements (608). Hence, based on the user profiles, par-
  trois providing press releases, news, rss feed, messages, non-       ticular press releases, advertisements and/or news can be
  "press" events, and/or advertisements to the forum sites and/        directed (or provided) to the particular forums and/or users
  or the users. The press release poster modules 470, 472 and          (610).
  474 are not limited to posting press releases and/or monitor-           While certain exemplary embodiments have been
  ing the user data/forum activities, but may be used to post 15 described above in detail and shown in the accompanying
  other information such as, for example, advertisements, other        drawings, it is to be understood that such embodiments are
  news, messages and/or non-"press" events, or any other infor-        merely illustrative of and not restrictive of the broad inven-
  mation suitable for posting on one or more forum sites.              tion. It will thus be recognized that various modifications may
     As can be seen in the schematic view of a screen shot of a        be made to the illustrated and other embodiments of the
  forum site home page 500 in FIG. 6, the home page of a forum 2o invention described above, without departing from the broad
  site typically includes a forum name 504 and one or more             inventive scope thereof. In view of the above it will be under-
  banner ads 502,506. The home page typically displays one or          stood that the invention is not limited to the particular
  more posts 510 posted by the members of the forum. Such              embodiments or arrangements disclosed, but is rather
  posts may include threads initiated by a particular posting or       intended to cover any changes, adaptations or modifications
  postings. The home page 500 also displays a press release 25 which are within the scope and spirit of the invention.
  508, which is displayed with a background color (e.g., red)             What is claimed is:
  different from that of the member posts 510. This way, press            1. A press release distribution system configured to deliver
  releases from the advertisers 403 can be brought to the imme-        advertisements as sponsored news content to multiple web
  diate attention of the forum member. In other embodiments,           sites that each includes one or more pages containing non-
  the press release post (or the alert thereof) may be displayed 30 sponsored content, the press release distribution system com-
  with other background color, distinguishing font and/or text         prising:
  format (e.g., bold text) as those skilled in the art would appre-       one or more server computers configured to receive spon-
  ciate. Such press releases can be viewed and referred to as ad             sored news content from one or more advertisers over a
  units in the described embodiment, and may be effective                    communications network and to distribute the spon-
  advertisements directed at particular forum sites, and/or par- 35          sored news content to a related one or more of the web
  ticular members or users. While the press release 508 is                   sites over the communications network;
  shown as an announcement in FIG. 6, the press release 508               multiple web server computers coupled to the server com-
  may be posted or inserted as a message in other embodiments.               puter over the communications network,
     FIG. 7 illustrates a flow diagram showing an operation of            each web server computer configured to run at one or more
  the press release distribution system in one embodiment in 40              of the related one or more of the web sites, wherein the
  accordance with the present invention. The flow diagram of                 web servers are further configured to receive the spon-
  FIG. 7 will be described in reference to FIGS. 4, 5 and 7. The             sored news content from the server computer over the
  press release distribution system 400 first receives a press               communications network, to post the sponsored news
  release or news (600). The press release may have originated               content among the non-sponsored content at the related
  from one of the advertisers 403 who desires to use the press 45            one or more of the web sites, and to monitor user data or
  release as an advertisement to be distributed to the forum sites           user activity at the related one or more of the web sites,
  of interest. By way of example, the advertiser may be a                 wherein the press release distribution system is further
  manufacturer of after market auto parts who desires to dis-                configured to utilize a particular one of the monitored
  tribute a press release regarding a scheduled release of a new             user data or user activity to deliver a specific advertise-
  product to the auto enthusiast fan or forum sites. The press 50            ment in a form of the sponsored news content to a par-
  release distribution system 400 may also receive news or RSS               ticular user,
  feed relevant to one or more of its associated forum sites 1-N          wherein the one or more web servers are further configured
  (410,420,430), and distribute the news or other information                to track one or more of impressions, clicks, click-
  to the forum sites and/or users/members of the forum sites.                through rate, or user actions with respect to the spon-
     The press release distribution system 400 then distributes 55           sorer news content,
  the press release or news to the relevant forum sites (602). The        wherein the sponsored news content is not a banner adver-
  press release interface plug-in (414,424 or 434) in the forum              tisement or a static header,
  software (412, 422 or 432) of these forum sites posts such              wherein the at least one web server is further configured to
  press release or news at the forum to be viewed by the mem-                display the sponsored news content separately from any
  bers and visitors of the forum site.                              60       banner advertisement or static header on the page,
     The press release plug-in module also monitors user data                embed the sponsored news content contiguously
  (e.g., stored in the database 415,425 or 435) or the respective            together with at least some of the non-sponsored content
  forum site (604). Such user data is gathered from the users/               on the page, enable the sponsored content to scroll
  members by the forum sites at the time of registration or at any           together with the at least some of the non-sponsored
  other suitable time. The database at the forum site also 65                content on the page, and to place the sponsored news
  includes information regarding user activities. By way of                  content in a fixed position relative to the contiguous
  example, the database may include such forum activities as                 non-sponsored news content on the page,




                                                         APPX303
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     wherein a plurality of features of the sponsored news con-          electronically posting the sponsored news content among
        tent are substantially the same as a corresponding plu-             the non-sponsored content at each of the related one or
        rality of features of the contiguous non-sponsored news             more of the web sites;
        content, and at least one feature of the sponsored news          electronically tracking one or more of impressions, clicks,
        content differs from or is in addition to the correspond- 5         click-through rate, or user actions with respect to the
                                                                            sponsored news content at the related one or more of the
        ing feature of the non-sponsored news content in order to
                                                                            web sites;
        distinguish the sponsored news content from the non-             electronically monitoring user data or user activity at the
        sponsored news content, and                                         related one or more of the web sites; and
     wherein the press release distribution system is further 10 delivering a specific sponsored news content to a particular
        adapted to limit a time period during which the spon-               user utilizing a particular one of the monitored user data
        sored news content is posted at the related one or more of          or user activity, wherein revenue generated from the
        the web sites, and to limit a frequency at which the                delivery of the specific sponsored news content is shared
        sponsored news content is displayed for each user.                  with the related one or more of the web sites,
     2. The press release distribution system of claim 1, wherein        wherein the sponsored news content is not a banner adver-
                                                                   15       tisement,
  the sponsored news content comprises a press release, news,
  announcement, message, news feed, or non-"press" event.                wherein when the sponsored news content is displayed, it is
     3. The press release distribution system of claim 1, wherein           displayed separately from any banner advertisement and
  the non-sponsored content comprises one or more of mes-                   contiguously together with at least some of the non-
  sages, postings, posts, or threads.                                       sponsored content appearing on the page to scroll
     4. The press release distribution system of claim 1, wherein  20       together   with the at least some of the non-sponsored
  the communications network is the Internet.                               content such that the sponsored news content is in a
     5. The press release distribution system of claim 1, wherein           fixed, position relative to at least some of the contigu-
                                                                            ously displayed non-sponsored content,
  the plurality of web sites comprise forum sites, fan sites,
  popular sites, enthusiast sites, message forums, user forums,          wherein    a time period during which the sponsored news
  or popular forums.                                               25       content is posted at the related one or more of the web
     6. The press release distribution system of claim 1, wherein           sites is limited,
  the at least one poster module comprises a corresponding at            wherein a frequency at which the sponsored news content
  least one press release plug-in module.                                   is displayed for each user is limited, and
     7. The press release distribution system of claim 1, wherein        wherein a plurality of features of the sponsored news con-
  the press release distribution system is further configured to 30         tent are substantially the same as a corresponding plu-
  generate user profiles from the monitored user data or user               rality of features of the contiguous non-sponsored news
  activity at the related one or more of the web sites.                     content, and at least one feature of the sponsored news
     8. The press release distribution system of claim 1, wherein           content differs from or is in addition to the correspond-
  the user activity at the related one or more of the web sites             ing feature of the non-sponsored news content in order to
  comprises one or more of posts, reads of posts, or searches at            distinguish the sponsored news content from the non-
  the related one or more of the web sites.                                 sponsored news content.
     9. The press release distribution system of claim 1, wherein        14. The method of claim 13, wherein the sponsored news
  the sponsored news content comprises one or more of text,           content comprises a press release, news, announcement, mes-
  video, or images.                                                   sage, news feed, or non-"press" event.
                                                                   4o    15. The method of claim 13, wherein the non-sponsored
     10. The press release distribution system of claim 1,
  wherein the at least one poster module is configured to display     content  comprises one or more of messages, postings, posts,
  the sponsored news content with a background color or               or threads.
  another distinguishing feature to denote it as being different         16. The method of claim 13, wherein the communications
  from the non-sponsored content.                                     network is the Internet.
                                                                   45    17. The method of claim 13, wherein the plurality of web
     11. The press release distribution system of claim 1,
  wherein revenue generated from the delivery of the specific         sites comprise forum sites, fan sites, popular sites, enthusiast
  advertisement is shared between an operator of the press            sites, message forums, user forums, or popular forums.
  release distribution system and operators of the related one or        18. The method of claim 13, further comprising electroni-
  more of the web sites.                                              cally  generating user profiles from the monitored user data or
                                                                   5o user activity at the related one or more of the web sites.
     12. The press release distribution system of claim 1,
  wherein the poster module is configured to post the sponsored          19. The method of claim 13, wherein the user activity at the
  news content among the non-sponsored content at each of             related one or more of the web sites comprises one or more of
  multiple web sites, aud to monitor user data or user activity at    posts, reads of posts, or searches at the related one or more of
  each of the multiple web sites.                                     the web sites.
                                                                   55    20. The method of claim 13, wherein the sponsored news
     13. A method of electronically delivering advertisements
  as sponsored news content to a plurality of web sites that each     content comprises one or more of text, video, or images.
  includes non-sponsored content, the method comprising:                 21. The method of claim 13, wherein the sponsored news
     electronically receiving the sponsored news content by a         content is displayed with a background color or another dis-
        server computer from one or more advertisers over a           tinguishing feature to denote it as being different from the
                                                                   60 non-sponsored content.
        communications network;
     electronically distributing the sponsored news content by           22. The method of claim 13, further comprising electroni-
        the server computer to a related one or more of the web       cally posting the sponsored news content among the non-
        sites over the communications network;                        sponsored content at each of multiple related web sites, and
     electronically receiving the sponsored news content by the       electronically monitoring user data or user activity at each of
                                                                   65 the multiple web sites.
        one or more web sites from the server computer over the
        communications network;




                                                        APPX304
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(12) United States Patent                                            (10) Patent No.: US 9,652,781 B2
       Choi                                                          (45) Date of Patent: *May 16, 2017

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                                                                                                                         348/E5.105
(73) Assignee: NATIVO, INC., E1 Segundo, CA (US)
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( * ) Notice:       Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35                    FOREIGN PATENT DOCUMENTS
                    U.S.C. 154(b) by 0 days.                      WO       WO 2006/017622 A2 2/2006
                    This patent is subject to a terminal dis-
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(22)   Filed:       Mar. 14, 2016                                                        (Continued)

(65)                  Prior Publication Data                      Primary Examiner Meredith A Long
                                                                  (74) Attorney, Agent, or Firm Lewis Roca Rothgerber
       US 2016/0196581 A1         Jul. 7, 2016                    Christie LLP

                                                                  (57)                      ABSTRACT
                Related U.S. Application Data
                                                                  A press release distribution system provides press release
(63)   Continuation of application No. 13/871,794, filed on       and other news to forum sites as posts. The forum software
       Apr. 26, 2013, now Pat. No. 9,286,622, which is a          that runs at forum sites includes press release interface
                        (Continued)                               software or is adapted to receive press release interface
                                                                  plug-in modules for interfacing with the press release dis-
(51) Int. CI.                                                     tribution system. The press release interface software or
      GO6Q 30/00              (2012.01)                           plug-in module may also monitor and/or analyze user data of
      GO6Q 30/02              (2012.01)                           forum members and/or forum activities of the users. The
                                                                  monitored user data and forum activities may be provided to
(52) U.S. el.                                                     the press release distribution system for analysis and gen-
      CPC ......... GO6Q 30/0255 (2013.01); GO6Q 30/00            eration of user profiles. Using the result of the analysis (e.g.,
                     (2013.01); GO6Q 30/0246 (2013.01);           user profiles), the press release distribution system can target
                       (Continued)                                particular users or forums to direct the press releases, news,
(58) Field of Classification Search                               or advertisements for most effective advertising campaign.
      None
      See application file for complete search history.                             17 Claims, 7 Drawing Sheets


                                                                                                               5OO




                  BANNER AD                                         FORUM NAME
                        502
                                  I                                           504




                                                     BANNER AD
                                                                                                               508




                                                                                                                     510




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               Related U.S. Application Data                                                  OTHER PUBLICATIONS
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         Jun. 29, 2007.                                                   2008.
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  (60) Provisional application No. 60/817,771, filed on Jun.              No. 11/359,003, 10 pages.
                                                                          U.S. Office action dated Jul. 6, 2010 corresponding to U.S. Appl.
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                                                                          U.S. Office action dated Sep. 15, 2011 corresponding to U.S. Appl.
  (52)   U.S. CI.                                                         No. 11/359,003, 13 pages.
         CPC ..... GO6Q 30/0256 (2013.01); GO6Q 30/0269                   U.S. Office action dated Apr. 27, 2012 corresponding to U.S. Appl.
                  (2013.01); G06Q 30/0277 (2013.01); GO6Q                 No. 11/359,003, 14 pages.
               30/0241 (2013.01); GO6Q 30/0251 (2013.01)                  U.S. Office action dated Sep. 10, 2012 corresponding to U.S. Appl.
                                                                          No. 11/359,003, 3 pages.
                                                                          U.S. Office action dated Jtm. 14, 2010 corresponding to U.S. Appl.
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                                                          APPX307
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                                                                                           (’3




     ADVERTISERS                                          AD SITE 1                        O
                                                              104                          OO
          103                                                                              "-4




                                                          AD SITE 2
                                                              106


       BRAND                                                                   CONSUMERS
     MANAGEMENT                                                                   112
       SYSTEM                                             AD SITE N
OO                                                            108
         100

                                                          POPULAR
                                                           SITES
                                                             109


                                                     MONITORED
                                                       SITES
                                                                     110
                                                                               FIG.
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                                                                       O




  BRAND                                            PRESS RELEASE       0
                                 FILE                                  OO
MONITORING                                          DISTRIBUTION       ~J
                               MANAGER                 SYSTEM
  TOOLS! BOT                     210
   200    201                                            4OO



   AD                AD                        AD
TRACKER           GENERATOR               DISTRIBUTOR
  206                207                      208


           AD DIRECTORY SYSTEM 202

            ONLINE PAYMENT SYSTEM
                     204
          BRAND MANAGEMENT SYSTEM
                    100

                                                              FiG. 2
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                                                                                                          C)



                                                                                 FORUM SITE 1
                                                                                             410
                                                                                                          O
                                                                              FORUM SW                    4~
                                      ADVERTISERS                                                         OO
                                                                                   412                    "-4
                                            403
                                                                                                   415
                                                                                     4"14
                                                                            IPR PLUG-IN
    PRESS            Press releases                                               FORUM SITE 2
                                                                                             420
  RELEASE
DISTRIBUTION                               402                                 FORUM SW
   SYSTEM                                                                             422
                        News feed                                                                   425
    400                                                                               424
                                                                             IPR PLUG-IN
                        RSS feed


                                          FORUM SITE N
                                                  430                                    ®
                                                                                     ®
                                                                                 @
                                       FORUM SW
          USERS                             432
           44O                                                 435
                                       PR PLUG-IN
                                            434
                                                                                         FiG. 4
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                                                                                               C)




                   PRESS RELEASE
Press releases                                                                                 O
                      HANDLER                                                PRESS RELEASE     4~
                                                                                               OO
                                                                            POSTER / MONITOR   "-4
                      MODULE
                                                                             MODULE 470
                 I      450

                                                DISTRIBUTOR /                PRESS RELEASE
                     NEWS FEED                                              POSTER / MONITOR
  News feed                                     CONTROLLER
                      HANDLER                                                MODULE 472
                                                   MODULE
                      MODULE
                        452                           460

  rss feed            RSS FEED                                               PRESS RELEASE
                      HANDLER                                               POSTER / MONITOR
                       MODULE                                                 MODULE 474
                         454


                            PRESS RELEASE DISTRIBUTION SYSTEM

                                                400


                                                                                 FiG. 5
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                                                                               O
                                                                               OO
                                                                               "-4




                 BANNERAD
                                                                       508




                                                                         510




                                                              FIG. 6
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                                                                C)




         RECEIVE PRESS RELEASE
              OR NEWS 600                                       O
                                                                4~
                                                                0o
                                                                ~4


        OR NEWS TO FORUM SITE 602




         ONE OR MORE USERS 6o5


           FORUM ACTIVITIES eo~


    TARGET THE USER/FORUM SITE 608

    PROVIDE PRESS RELEASES, NEWS,
      ADS TO THE FORUM SITE/USER
                     610
                                                       FiG. 7
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      PRESS RELEASE DISTRIBUTION SYSTEM                                aftermarket car enthusiast fan sites that will serve as an
                                                                       effective venue for its marketing campaign.
              CROSS-REFERENCE TO RELATED                                  Further, although these fan sites typically provide an
                         APPLICATIONS                                  advertising tracking program, they generally only indicate
                                                                    5 how many people saw the ad and how many people clicked
     This application is a continuation of U.S. patent applica-        on it without any further information on ad effectiveness. In
  tion Ser. No. 13/871,794 filed Apr. 26, 2013, which is a             addition, the fan site operator typically provides advertising
  continuation of U.S. patent application Ser. No. 11/772,014          tracking information once in a while by sending an e-mail,
  filed Jun. 29, 2007, which claims the benefit of U.S. Provi-         for example, and the advertiser has no way of validating
  sional Application No. 60/817,771 filed Jun. 29, 2006, the 10 their data. Therefore, it is very difficult to quantitatively
                                                                       assess which site is truly better than another site.
  entire contents of each which is incorporated by reference
  herein.                                                                 Further, since each site has its own paperwork and pro-
                                                                       cesses for accepting ads and ad money, ranging from very
                 FIELD OF THE INVENTION                                formal to very informal, an advertiser must spend extra time
                                                                    15 to track which placement invoices should be coming for
                                                                       which sites and for how long.
     The present invention relates to online brand marketing              To further complicate the matter, the existing banner
  and monitoring.                                                      images may not be ideal for all of the sites that the
                                                                       advertisements are to be placed on. In this case, separate ads
                         BACKGROUND                                 2o should be crafted for certain specific sites, which makes
                                                                       tracking even more complicated and the advertiser must
     Global computer networks, such as the Internet, are               keep track of which ads go to which sites. In addition, when
  increasingly being used for marketing and advertisements,            the advertiser’s products change and/or a new feature is
  encroaching into advertising markets traditionally reserved          added, the advertiser must re-do all of his advertising
  for printed media (e.g., newspapers and magazine) and/or 25 banners to reflect the changes and resubmit them to the
  television. Online advertisements often appear on web sites          appropriate sites. This may involve sending e-mails to all of
  or web pages of the World Wide Web (WWW) in a form of the various site owners.
  banner ads, or the like. There are also other web sites that are        Other problems associated with online advertisements
  fan sites (or forum sites) utilized for discussing particular        and marketing that prevent many businesses from effectively
  interests or hobbies. These fan sites normally consist of 3o utilizing the web for advertising brands or products include:
  message forums and other venues for disseminating infor-             1) difficulty in monitoring positive and negative comments
  mation over the global computer networks, are being used to          on user forums, fan sites and/or the like that can make
  portray certain products or brands in a positive or negative         noticeable impacts on sales, as it is difficult and time
  light, and can be important sources of consumer feedback             consuming to monitor the thousands of user forums and
  for advertisers, manufacturers and consumers alike.               35 other sites on the web; 2) lack of advertisers’ knowledge or
     Since these fan sites tend to have smaller audiences, one         expertise in gauging the quality of the vendors’ sites and
  should advertise across many of them to reach a sizable              limited availability of tools for measuring the performance
  market. While this market is highly desirable, the problem is        of the online placements that are purchased, even when
  that one needs to work through many different sites to reach         advertisers want to diversify their ad spending and adver-
  the market. Also, since each fan site typically requires a fee 4o tising on enthusiast web sites; and 3) difficulty in monitoring
  for placing an advertisement, it is impractical or impossible        unauthorized retailers who sell fake products because small
  to place advertisements on each and every one of them.               or medium-sized businesses generally cannot afford to spend
  Therefore, the advertisers, manufacturers or those seeking to        the time to monitor the entire web for unauthorized dealers.
  reach the market through the fan sites must select the right            Therefore, it is desirable to provide tools that will facili-
  fan sites on which to place their advertisements. Further, 45 tate the advertisers, manufacturers or brand managers to
  these sites tend to be less professional than typical larger         locate the most suitable fan sites that are frequented by the
  sites (Yahoo, CNN, etc.) that sell ad spaces so it is desirable      target audience, and to monitor the effectiveness of any
  to have them fit into a set standard for distributing and            advertisements that are placed on these fan sites. Further, it
  processing ads.                                                      is desirable to provide tools that can be used by the adver-
     Due to a generally large number of fan sites available for 5o tisers or manufacturers to monitor dissemination of infor-
  placing advertisements, it is often very difficult and time          mation regarding their brand names or products over the
  consuming to select those relatively few fan sites to run            global computer networks.
  advertisements. For one thing, it is often difficult to identify
  those fan sites that are frequented by a number of potential                     SUMMARY OF THE INVENTION
  customers. Further, it is even more difficult to measure the 55
  effectiveness of the advertisements placed on any particular            In one exemplary embodiment according to the present
  fan site.                                                            invention, a press release distribution system is used to
     Such difficulties in identifying the target fan sites are even    provide press releases, other news, advertisements, mes-
  more pronounced when the brands being advertised or                  sages and/or non-"press" events to the forum sites.
  marketed are for a niche market such as the automotive 60               In one exemplary embodiment according to the present
  aftermarket industry, for example. The automotive aftermar-          invention, the press release distribution system inserts or
  ket is already fragmented into a number of different market          posts a press release as a message at one or more forum sites.
  segments such as parts for trucks, sport compact cars,                  In one exemplary embodiment according to the present
  domestic performance cars, luxury SUVs, etc. Therefore, it           invention, the press release distribution system interfaces
  is not an easy task for an aftermarket manufacturer, which is 65 with the forum software that runs at each of the forum sites.
  often a small or medium-sized business with limited                  The forum software may have a built-in software for inter-
  resources and marketing budget, to select one or more                facing with the press release distribution system or may be




                                                         APPX315
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  adapted to receive a press release interface plug-in module          FIG. 5 is a conceptualized block diagram of the press
  for interfacing with the press release distribution system.       release distribution system of FIG. 4 in one embodiment
     In one exemplary embodiment according to the present           according to the present invention;
  invention, the component of the press release distribution           FIG. 6 is a schematic view of a screen shot of a forum site
  system that runs at respective forum sites, e.g., the press       home page in an embodiment in accordance with the present
  release interface plug-in, generates a user profile (e.g., a      invention; and
  marketing profile) using user data and/or user activities at         FIG. 7 is a flow diagram of the operation of the press
  the forum such as user reads and uploads.                         release distribution system in one embodiment in accor-
     In an exemplary embodiment according to the present            dance with the present invention.
  invention, a press release distribution system includes a 10
  distributor module adapted to receive a press release, and to                      DETAILED DESCRIPTION
  distribute the press release to one or more forum sites over
  a network according to relatedness between the press release         Exemplary embodiments according to the present inven-
  and the one or more forum sites; at least one input handler       tion provide a method and apparatus for facilitating targeted
  module adapted to receive the press release from one or 15 advertising of various different brands and monitoring
  more advertisers, and to provide the press release to the         thereof, over global computer networks, including distribu-
  distributor module; and at least one press release poster         tion of press releases. This application contains subject
  module adapted to run at respective said one or more forum        matter related to U.S. patent application Ser. No. 11/359,003
  sites, to receive the press release over the network, and to      filed Feb. 21, 2006, which claims priority to and the benefit
  post the press release as a message at the respective said one 2o ofU.S. Provisional Application No. 60/654,163 filed on Feb.
  or more forum sites.                                              18, 2005, the entire contents of both of which are incorpo-
     In another exemplary embodiment according to the pres-         rated herein by reference.
  ent invention, a method of distributing a press release to one       A brand management system or a brand monitoring and
  or more forum sites, is provided. The method includes:            marketing system in exemplary embodiments of the present
  receiving the press release from one or more advertisers; 25 invention is a web-based application suite that provides
  distributing the press release to the one or more forum sites     businesses with the tools necessary to monitor and market
  over a network according to relatedness between the press         their brands online. The system will provide the businesses
  release and the one or more forum sites; and posting the          with one or more of the tools including, but not limited to,
  press release as a message at the one or more forum sites.        a brand monitoring tool, an ad management tool, and a file
     In exemplary embodiments of the present invention, a 3o management tool. The system can aggregate existing tools
  brand management system used to provide marketing and             and/or provide new tools and services that are not currently
  monitoring services for brands or products over the global        available. The brand management system in one embodi-
  computer networks, includes a press release distribution          ment also includes a press release distribution system, and a
  system.                                                           number of press release interface software or plug-in mod-
     In another exemplary embodiment according to the pres- 35 ules running at forum sites to interface with the press release
  ent invention, a brand management system coupled to a             distribution system. The press release distribution system
  plurality of web sites over a communications network, is          and the press release interface software may together be also
  provided. The brand management system includes: a press           referred to as a press release distribution system.
  release distribution system adapted to receive a press release       In an exemplary embodiment according to the present
  related to an advertiser and provide the press release to one 4o invention, the brand management system includes an ad
  or more forum sites among the plurality of web sites to post      directory system or an ad directory in a form of a web site
  as a message, in accordance with relatedness between the          to link the brand advertisers or manufacturers to various
  press release and the one or more forum sites; a brand            different web sites that are likely to provide an effective
  monitoring tool adapted to automatically monitor one or           venue for marketing and advertisements for particular mar-
  more of the web sites for at least one keyword related to a 45 ket segments. The advertisers or manufacturers can view
  particular brand or product of the advertiser; and an adver-      (which can include logging in) the web page on which the
  tisement directory system comprising a directory of web           directory of web sites is placed, and select one or more web
  sites that are likely to provide an effective venue for one or    sites based on their particular needs, in accordance with the
  more advertisements for the particular brand or product.          information provided in the directory.
     These and other aspects of the invention will be more 5o          The ad directory system can also be used to facilitate
  readily comprehended in view of the discussion herein and         distribution of the advertisements, tracking and monitoring
  accompanying dxawings.                                            of the effectiveness of the advertisements, and transfer of
                                                                    advertisement fees between the advertisers and the web site
         BRIEF DESCRIPTION OF THE DRAWINGS                          owners. The brand management system can use a brand
                                                                 55 monitor including a bot to monitor various different sites
     FIG. 1 is a configuration diagram of a brand management (e.g., popular forums, fan sites, etc.) through a keyword
  system coupled over the global computer networks to adver-        search, for example,
  tisers, ad sites, monitored sites, consumers and dealers;            The brand management system of the present invention
     FIG. 2 is a block diagram showing components of the            provides one or more of, without being limited to, the
  brand management system of FIG. 1;                             6o following features: 1) identification of the sites that would
     FIG. 3 is a flow diagram illustrating the process of using     be suitable or ideal for the brands and/or products of interest,
  the brand management system for ad placement and tracking         instead of finding one site at a time; 2) quantitative assess-
  in an exemplary embodiment of the present invention;              ment as to which site is truly better than another site; 3)
     FIG. 4 is a configuration diagram of a press release           quantitative measurement of ad effectiveness, by such infor-
  distribution system coupled over the global computer net- 65 mation as how many customers actually purchased products
  works to advertisers and forum sites in an embodiment in          as a result of a particular advertisement on a particular web
  accordance with the present invention;                            site; 4) independent confirmation of advertisement tracking




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                               5
  data provided by the web site operators; 5) ability to create      of the ad directory system 202. The advertisers may also post
  banner and/or other images that are suitable or ideal for all      specific products and quantities/inventories available for
  of the sites on which the advertisements are placed, because       sale for each product, such that transactions can be facili-
  separate ads may be required for certain specific sites, which     tated through the use of the brand management system 100.
  makes tracking even more complicated since the advertiser 5 Hence, the brand management system 100 brings the sellers
  must keep track of which ads go to which sites; and 6) saving      and purchasers together in an online community setting.
  the advertisers from having to re-do all of the advertising           The transactions can be consummated through the use of
  banners to reflect the changes and resubmit them to the            the online payment system 204. The users of the ad directory
  appropriate sites, when the products change or a new feature       system 100 can, in addition to purchasing products from the
  is added.                                                       10 advertisers/manufacturers/distributors online, bid for prod-
     As illustrated in FIG. 1, a brand management system 100         ucts online, such that the ad directory system 202 can be
  is coupled to advertisers 103, and is coupled to monitored         used for advertising, selling, purchasing and/or bidding of
  sites 110, including ad sites 1 to N 104, 106, 108, over the       various different products having different prices and in
  global computer networks 102. The monitored sites 110 also         different quantities. All these transactions can be monitored
  include popular sites 109 that are not necessarily ad sites. By 15 using the ad tracker 206 such that the effectiveness of the ads
  way of example, the popular sites may include large sites          and/or ad campaigns can be measured.
  that are monitored but do not have ad sales provided through          The file manager 210 can be used for online distribution
  the brand management system 100. Consumers 112 (or                 of information related to products or brands (e.g., images,
  computers thereof) are coupled to the ad sites 1 to N 104,         brochures, performance data, etc.) to the dealers and/or the
  106, 108. The consumers generally would not directly 2o consumers. Any advertising fee transactions between the
  access the brand management system 100.                            advertisers and ad site owners can take place using the
     The brand management system 100 is used for monitoring          online payment system 204, for example.
  and marketing by one or more advertisers, for example, and            In other embodiments, the ad distributor 208 may also
  may also be referred to as a brand monitoring and marketing        distribute press releases as ad units, and the ad tracker 206
  system herein. The advertisers 103 represent one or more 25 may also track effectiveness of the press releases. In yet
  different advertisers, manufacturers, dealers or brand mar-        other embodiments, the file manager 210 may also be used
  keters who are using the services provided by the brand            to distribute the press releases. In still other embodiments, a
  management system 100. Similarly, the monitored sites 110          separate press releases distribution system is used as a part
  represent one or more sites that are monitored by the brand        of the brand management system 100 or as a separate
  management system 100 on behalf of the advertisers 103.         3o system!module to receives press releases and other news,
     As can be seen in FIG. 2, the brand management system           and distribute them to the advertisement sites (e.g., forum
  100 includes brand monitoring tools 200, an ad directory           sites). One instance of such press release distribution system
  system 202, an online payment system 204, and a file               is illustrated in FIG. 4, and described in reference to FIGS.
  manager 210. The ad directory system 202 includes an ad            4-6 below.
  tracker 206, an ad generator 207 and an ad distributor 208. 35        Search engine ranking, linked sites, eBay® postings, and
  In one embodiment, the brand management system option-             other negative or positive product comments on forums and
  ally includes a press release distribution system 400. The         other web sites can have a dxamatic impact on how a brand
  box 400 representing the press release distribution system         is perceived. This negative or positive "press" can also
  400 is shown in dotted lines because the press release             directly affect sales. Hence, in an exemplary embodiment,
  distribution system 400 is optional. In addition, the press 4o the brand management system 100 performs brand moni-
  release distribution system 400 may be implemented in one          toring using the brand monitoring tools 200.
  or more other modules, such as the ad tracker 206, the ad             The brand monitoring tools 200 include a bot 201. The
  distributor 208 and/or the file manager 210. Further, some of      brand monitoring tools 200 may also include one or more
  the components of the press release distribution system 400,       other tools known to those skilled in the art. During brand
  such as, for example, press release plug-ins shown in FIG. 45 monitoring, the bot is used to automatically monitor certain
  4 (or press release posters shown in FIG. 5) may be                web sites and web postings for specific keywords. These
  implemented at the forum sites, separately from the rest of        keywords may appear as topics and/or content of discussions
  the brand management system 100.                                   in different online forums. They may also appear as products
     The brand monitoring tools 200 are used for monitoring          for sale on Internet auction sites. Hence, the bot can be used
  the user forums, fan sites, etc. to afford advertisers or 5o to monitor/track various different web sites and/or web
  manufacturers an insight into how their products and/or            postings to search for particular keywords, brands, products,
  brands are received or perceived in the market, especially by      advertiser identifications, etc. to monitor how the monitored
  the relevant online community. The ad directory system 202         brands, products, etc. are characterized/perceived by the
  is for bringing together sellers and buyers of on-line adver-      online community. By way of example, the bot can be
  tisements, and includes ad tracking, ad generation and ad 55 targeted to one or more predetermined web sites. The user
  distributor features as follows. The ad generator 207 can be       may also have flexibility to tailor monitoring of various
  used by the advertisers or manufacturers to create or to           different web sites and postings to fit his needs using the bot.
  modify online ads (e.g., including banners), while the ad          The web sites searched can include one or more of, but are
  distributor 208 and the ad tracker 206 can be used to              not limited to, eBay® and other auction site postings,
  distribute ads and to track effectiveness of ads, respectively. 6o FroogleTM posts, Epinions® posts, forum posts, search
  Alternatively, the advertisers or manufacturers can submit         engines, number of links to the manufacturer’s web site,
  their own pre-created ads for distribution rather than using       Alexa® ranking, Google® Adwords®, Overture®, Groups,
  the ad generator 207.                                              and the like.
     By way of example, the ad directory system 202 facili-             EBAY® is a registered trademark of eBay Inc., a Dela-
  tates the advertisements by the manufacturers/distributors 65 ware corporation; FROOGLETM is a trademark of Google
  by enabling them to create/submit/modify their own adver-          Technology Inc., a California corporation; EPINIONS® is a
  tisements and placing them on the advertisement directory          registered trademark of Epinions, Inc., a Delaware corpo-




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  ration; ALEXA® is a registered trademark ofAlexa Internet         be able to track information including contact form submis-
  Corporation, a California corporation; GOOGLE® and                sions, orders, number of shopping carts started, product
  Adwords® are registered trademarks of Google Inc., a              pages viewed, and the like.
  Delaware corporation; and OVERTURE® is a registered                  The ad generator 2D7, which may also be referred to as an
  trademark of Overture Services, Inc. a Delaware corpora- 5 ad generation system or an ad creation system, is a tool that
  tion.                                                             can be used to generate ads that are suitable for all ad sites.
     The advertiser, such as a brand owner and/or a product         The ad generator 2D7 can also be used to generate two or
  manufacturer, can select which keywords, trademarks, and          more ads, each of which is suitable for placement on one or
  phrases are relevant to their businesses. The advertiser can      more specific sites. In addition, the ad generator 2D7 can be
                                                                 10 used to convert existing ads on printed media to banner or
  be given links to any posts that contain these keywords. This
  feature can be used, for example, to give the marketing other ads suitable for placement on web pages.
                                                                       The ad distributor 21)8, which may also be referred to as
  manager an instant overview of the web activity that their        an ad distribution system, provides the advertiser with the
  brand is generating. For example, the marketing managers ability to remove and/or replace ads. Advertisers could also
  can have, all on one screen, a summary of Internet activities 15 run multiple ads in rotation in one single placement. Option-
  relevant to their brand.                                          ally, advertisers may have the brand management system
     The bot of the brand monitoring tools 2DD should be more       automatically disable the less effective one or more ads of a
  sophisticated than a normal bot, and should be used for           plurality of ads. Advertisers would be able to set which
  checking Internet activities. In one embodiment, the bot is       factor they wish to use in evaluating effectiveness including
  able to navigate web sites that require users to log in to the 2o click-thrus, orders, contact form submissions, and/or the
  web site. In this embodiment, the bot is also able to look for    like.
  specific data on each web page. Further, the bot is a                In addition to traditional banner placements, the brand
  programmable bot that can be customized for each site being       management system 1DD, or the ad distributor 2D8 thereof,
  monitored.                                                        will enable advertisers to distribute online press releases, or
     In one embodiment, the bot reports indexing failures to 25 choose keyword-related placements tied to text or image ads
  indicate changes to the web sites that may cause the bot to       on the ad sites, which may be enthusiast sites.
  fail. "Behaviors" are programmed into the bot as many of             An online media buy may include dozens of web sites, so
  these web sites have rules designed to exclude bots from          organizing and tracking these payments online will be
  using specific features on their sites. For example, some         important for advertisers. The brand management system
  forums do not allow more than one search every 20 seconds 30 1DD can process the transactions for the placement fees
  to avoid bots overloading their servers. Those skilled in the     through its online payment system 2D4 using a model similar
  art would know how to create/program a bot having one or          to that of an application service provider (ASP) model. By
  more of the above features according to exemplary embodi-         way of example, monthly fees may be charged by the ad
  ments.                                                            sites through the online payment system 2D4 for placing
     The ad directory system 2D2, which may also be referred 35 advertisements. Advertiser/site feedback may also be incor-
  to as an ad directory, of the brand management system 1DD         porated into the brand management system 100. The online
  provides manufacturers or advertisers with a large directory      payment system 2D4 can also be used by the advertisers
  of web sites related to a particular brand, such as top           and/or the ad sites to pay for services provided by the brand
  automotive enthusiast web sites. The manufacturers or             management system 100.
  advertisers can select web sites that they wish to advertise 4o      A model similar to the ASP model can also be used
  their brands or products on, using a system similar to an         between the advertisers and/or ad sites and the brand man-
  online shopping cart.                                             agement system 1DD. By way of example, a model similar to
     By aggregating and organizing these sites, the brand the ASP can be used to implement the transactions between
  management system will enable advertisers to quickly create       the advertisers and/or the ad sites and the brand management
  and manage ad campaigns across multiple web sites. For 45 system 100. This way, the brand management system 100
  web sites selling advertising spaces, the ad directory system     can charge a monthly access fee to the advertisers and/or ad
  2D2 will enable them to post their site information, ad           sites for buying and selling of ad spaces.
  programs, audience type, and ad rates. These enthusiast sites        There are at least two fees that are associated with the
  will have the option of having their traffic audited for an       brand management system of the present invention. A first
  additional monthly fee. Such auditing process can be auto- 50 fee is an access fee to access the system for brand monitor-
  mated through an automated digital tracking system (e.g.,         ing and to access ad directory. The access fee can be a
  pixeling), for example. These sites can be specially marked,      monthly ASP style fee, and it is conceivable that some
  for example, to indicate that their traffic has been audited.     customers may only pay this monthly access fee but not buy
     Advertisers or manufacturers should be able to view these      any ads. The online payment system 2D4 is used to pay for
  enthusiast sites by site type (e.g., make/model) and easily 55 the placement of the ads. The operator of the brand man-
  select multiple ad placements to create an online media buy.      agement system, for example, may keep a percentage of
  Web sites selling their placements through the brand man-         revenue generated through all of the transactions involving
  agement system 1DD should be able to review requested             purchasing ad spaces and placing ads.
  placements and ads submitted by manufacturers. Once an ad            According to FIG. 3, the advertiser or manufacturer first
  placement is accepted by a particular web site, the brand 6o accesses the ad directory system (3DD). The ad directory
  management system 1DD will automatically place the ad on          system contains information on available ad sites corre-
  that particular web site. The ad distributor 2D8 manages ad       sponding to the products or brands of interest. The advertiser
  distribution, and the ad tracker 2D6 manages detailed ad          or manufacturer selects ad sites based on the site type (e.g.,
  tracking.                                                         catering to the specific industry) and/or the like (3D2).
     The ad tracker 21)6, which may also be referred to as an 65 The advertiser or manufacturer may already have avail-
  ad tracking system, would enable advertisers to easily track      able ads, or they may wish to modify existing ads and/or
  a variety of data per ad or per placement. Advertisers would      create new ads using the tools available in the brand man-




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  agement system, such as the ad generator 207 (304). After distribute, and track ad banners across these publishers; 4)
  selection of the ad sites and the creation!submission of the        The brand monitoring and marketing system will automati-
  ads, a payment is arranged (305), for example, through the cally monitor posts on these sites to see if anything negative
  online payment system 204. Then, the ads are distributed to         or positive is said about the advertiser; and 5) Other online
  the selected ad sites (306). The effectiveness of the ads can 5 services will be provided to advertisers through the brand
  be tracked (308) using the ad tracker 206, for example. The monitoring and marketing system (e.g., e-commerce, etc.).
  ad campaign can then be adjusted (310) using factors such              In another embodiment in accordance with the present
  as effectiveness of the various different ad sites.                 invention, a press release distribution system is used to inject
     Further, advertisers or manufactures can gain detailed           or post press releases into the forum. The press releases can
  tracking information by using the brand management system 10 include text, video, graphics, images, multimedia, program-
  100. By way of example, a total summary for the campaign ming, and/or any other suitable information as those skilled
  may show total clicks, total impressions, click-through rates       in the art would appreciate. Here, each of the press releases
  (CTR) and total user actions, all of which can be tracked,          may be viewed or referred to as an ad unit that can be
  such that ads can be tied to some user activity such as a           embedded into the forums.
  dealer search, product page view, contact form submission, 15 As shown in FIG. 4, a press release (PR) distribution
  or an online order. This way, one or more user activities           system 400 in an embodiment in accordance with the present
  associated with the advertisements can be tracked/moni-             invention, is coupled to advertisers 403 and forum sites 1 to
  tored.                                                              N (410, 420, 430), wherein N is an integer greater than or
     In addition, manufacturers or advertisers can distribute         equal to 3. In the described embodiment, there is no limit to
  ads evenly or remove ineffective ads after so many days or 2o the number of forum sites that the press release distribution
  after so many impressions. Further, the advertisers or manu-        system 400 is coupled with. The press release distribution
  factures can remove or edit existing ads or generate new ads.       system 400 receives press releases, news feed and/or Really
  This way, advertisers or manufactures can quickly change            Simple Syndication (RSS) feed over a network 402, which
  ads on multiple sites, run multiple ads in one placement, run may be a global computer network or the Internet, or any
  different ads based on time of day, and/or remove ineffective 25 other suitable network known to those skilled in the art. The
  ads without having to resubmit the ads manually to multiple         press release distribution system 400 may be a part of a
  site owners.                                                        brand management system 100, or may be a standard alone
     Currently, product images, documents, and data are typi-         system. Such stand alone press release distribution system
  cally distributed by burning the data onto CD-ROMs as their         may be coupled or not coupled with the brand management
  dealers request them. By moving this functionality online, 30 system 100. One embodiment of the press release system
  the manufacturer will gain several benefits including, but not      400 may be referred to as POSTRELEASETM, which is a
  limited to, reduced labor costs associated with distributing        trademark of CIE Studios, LLC, Long Beach, Calif.
  materials to dealers and media and reduced CD media and                In the example depicted in FIG. 4, the press release
  postage costs.                                                      distribution system 400 receives press releases from the
     The file manager 210 is a part of a suite of tools (i.e., the 35 advertisers 403. In other embodiments, the press release
  brand management system 100) that address the common                distribution system 400 may receive the press releases in any
  needs of advertisers or manufacturers, such as the automo-          other suitable manner over the network 402 or otherwise.
  tive aftermarket industry.                                          Further, the news and RSS feeds may be provided using any
     The file manager 210 should enable advertisers or manu- suitable method over the network 402 or otherwise, as those
  facturers to do one or more of, but not limited to, the 4o skilled in the art would appreciate. Any advertisements
  following: 1) upload various documents and images; 2) including text and/or graphics can also be distributed and
  upload large images and automatically have "thumbnail"              posted directly into forums using the press release distribu-
  previews created; 3) organize documents and images into             tion system 400, of course. The press releases are posted on
  categories and/or subcategories; 4) establish access rights         (or inserted into) the forum (or forum site) as a message or
  depending on user type; 5) track downloads by user and by 45 an announcement. The "message" may also be referred to as
  file; and 6) provide news/updates to dealers.                       a "post" throughout this specification. Further, the "mes-
     Further, the file manager 210 should enable manufactur- sage" is not limited to text, but may also include one or more
  ers’ dealers to do one or more of, but not limited to, the of images, video, web site code, Flash, or any other suitable
  following: 1) view thumbnails of images (created automati- information or data.
  cally by the system); 2) search for files by a keyword; 3)5o As can be seen in FIG. 4, one or more users 440 (i.e.,
  browse files by category/subcategory; 4) select multiple files      computers or other network devices thereof) are also
  or download entire categories of files; and 5) quickly see coupled to the forum sites 1-N (410, 420, 430) via the
  new files uploaded since the last login.                            network 402. The users 440 are consumers who may be
     While the present application has been described mainly          members or users of the forum sites 1-N. The press releases
  in reference to the automotive aftermarket, the directory 55 posted on the forum sites 1-N will be read by the users 440
  system in exemplary embodiments of the present invention            of the corresponding forum sites. The users 440 upload posts
  can be applied to any suitable market with strong enthusiast        at the forum sites, and also read the posts of interest from the
  following online. The sites and market segments having              forum sites. These user activities can be used or analyzed to
  such strong enthusiast following online, may include wed-           generate personal/marketing profiles for the users. While
  ding sites, golf, professional wrestling, and the like.          6o only one box 400 is used to designate the users in FIG. 4, the
     As discussed above, in embodiments in accordance with            users of course can be located at multiple different locations
  the present invention, the following strategy is used, for          (e.g., across the globe).
  example, for brand monitoring, marketing and management:               The press release distribution system 400 may be included
  1) A large number of small automotive forums (publishers) in the brand management system 100 of FIGS. 1 and 2, for
  are aggregated into one automotive network; 2) The clients 65 example, or implemented as a system separate from the
  are enabled to easily create online ad campaigns by selecting       brand management system 100 on the same or different
  various publishers; 3) The advertisers are enabled to upload,       server from that of the brand management system 100. In




                                                       APPX319
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  other embodiments, the features and functions of the press            release distribution system 400 for such analysis/determi-
  release distribution system 400 are implemented in other nation. As such, in the described embodiment, the press
  modules of the brand management system 100, such as the               release distribution system 400 is integrated into existing
  ad tracker 206, the ad distributor 208 and/or the file manager forum sites using the press release plug-in modules, rather
  210.                                                               5 than sites specifically developed for operating with the press
     The forum site 1 (410) rtms forum software 412; the release distribution system. Hence, the press release distri-
  forum site 2 (420) rtms forum software 422; and the forum bution system 400 draws existing data from forums (i.e.,
  site N (430) runs forum software 432. The forum software mines already existing data) that are generated by user
  412, 422 and 432 respectively have installed therein, respec- activities on forums. To get these forum sites to join the
  tive press release (PR) plug-ins (or plug-in modules) 414, 10 network of press release distribution system 400, a revenue
  424 and 434. The press release plug-ins may also be referred sharing may be instituted, in which the press release distri-
  to as press release interface plug-ins herein. The foruna
  software may be VBulletin or any other forum software bution system 400 delivers ads and shares revenue, as many
                                                                        of these forum sites, despite having great traffic, typically
  available to those skilled in the art. Those skilled in the art
  would appreciate that the plug-in modules are designed and 15 need help to generate revenue from the traffic.
  developed to work with one or more desired forum software.               In other embodiments, the forum software may already
  The press release plug-in module receives the press releases          include a press release interface module for receiving and
  and/or other news from the press release distribution system          posting press releases from the press release distribution
  400, and posts the received press releases and/or other news          system 400 and for monitoring user data and forum activity
  on the corresponding forum site. Alternatively, the press 2o thereof, such that a separate plug-in module is not necessary.
  release distribution system 400 and the press release plug-           Hence, while the press release interface plug-in module is
  ins may together also be referred to as a press release               installed separately by the forum site owner, the site owner
  distribution system.                                                  needs only install the forum software when it already
     Each of the forum sites 1 to N (410, 420, 430) also includes the features and functions of the press release
  includes a respective one of databases 415,425 and 435. The 25 interface plug-in module.
  database includes user data, e.g., name, birth date/age,                 The press release distribution system 400 in one embodi-
  gender, occupation, addxess, e-mail addxess, phone number,            ment limits the time period during which particular press
  and/or any other personal data required (or optionally                releases are posted at one or more forums. Further, in one
  requested) by the forum site for registration as a member.            embodiment, the press release distribution system 400 (ei-
  The database also includes the forum postings, traffic and 30 ther alone or together with the forum software and/or the
  foruna activities, and may also include history and/or archive        press release interface plug-in module) limits the frequency
  of the forum postings, traffic and foruna activities. The foruna      at which the press releases are displayed for each user. The
  activities may include the activities of the users/members            press release distribution system 400 in one embodiment
  while logged onto the forum site, such as the posts down-
  loaded/read and posts written!uploaded by the users.              35 also tracks the result (i.e., effectiveness) of the press release
     In one embodiment, the press release plug-in module is             distribution campaigns.
  used to monitor the posts, user information, user behavior,              As shown in FIG. 4, therefore, press releases, news and/or
  and/or other forum activity at the corresponding forum site.          advertisements from!related to the advertisers 403 of par-
  By way of example, most forum sites require that the users ticular brand or product can be directed to particular one or
  be registered as members in order to post on forums, while 4o more forum sites in accordance with the relationship or
  non-registered users can still view the site and posts thereon.       relatedness between the press releases, news, advertise-
  Also, most forums are broken down by topic areas. Further,            ments, advertisers, brand, product and the forum sites. By
  the registration process on many forums including nearly all          way of example, press releases, advertisement, etc. from
  automotive forums require age information and optional aftermarket automotive parts manufacturers will be directed
  location, occupation, and other personal data. The press 45 to forum sites of auto enthusiasts and press releases, adver-
  release plug-in in one embodiment uses such personal data             tisements, etc. from golf club manufacturers will be directed
  and by tracking the content of each message the user posts            to golf enthusiast forum sites. Further, in one embodiment,
  and reads, to develop a marketing profile for that user.              the press releases, advertisements, news, etc. are directed to
  Further, almost every forum has a search feature or function,         one or more particular users/members of the forum sites in
  and the search activity of the user (e.g., search terms or 5o accordance with the user profiles and/or user activities at the
  keywords used by the user during the search) can also be              forum site. By way of example, a user actively reading or
  used to create user profile. As such, the plug-in module in           uploading on threads on multi-function cellular phones will
  one embodiment monitors the foruna activity of the user and           be targeted to be provided with press releases and/or adver-
  uses that information to create a marketing profile (or user tisements from cellular phone manufacturers.
  profile) and then deliver ads against that profile for a targeted 55 FIG. 5 is a conceptual block diagram of the press release
  advertising. By way of example, in one embodiment, the distribution system 400 of FIG. 4. As shown in FIG. 5, the
  marketing profile (or user profile) can be created by analyz- press release distribution system includes a press release
  ing the posts/messages that the user reads, the posts/mes-            handler module (or press release handler) 450, a news feed
  sages that the user creates, and/or the profile information the       handler module (or news feed handler) 452 and an rss feed
  user entered when the user created his/her account on the 6o handler module (or rss feed handler) 454 for receiving and
  forum.                                                                handling press releases, news feed, and rss feed, respec-
     By way of example, if someone is viewing a post thread tively. The press release handler module 450, the news feed
  about wheels and he responds to the thread, the press release         handler module 452 and the rss feed handler module, either
  plug-in module can be used to determine that that particular          together or separately, may also be referred to as an input
  user may have an interest in wheels, and deliver wheel ads 65 handler or input handler module. The term "module" is used
  to that user. Alternatively, the press release plug-in module         throughout this specification to refer to any hardware, soft-
  may provide the user activity information to the press                ware, firmware, application, tool, widget, plug-in, any other




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  suitable processing apparatus or method known to those          FIG. 7 will be described in reference to FIGS. 4, 5 and 7. The
  skilled in the art to implement the described functions, or     press release distribution system 400 first receives a press
  any combinations thereof.                                       release or news (600). The press release may have originated
     The press release distribution system 400 also includes a    from one of the advertisers 403 who desires to use the press
  distributor/controller module 460 (to be referred to herein- 5 release as an advertisement to be distributed to the forum
  after as "distributor" or "distributor module") 460. The        sites of interest. By way of example, the advertiser may be
  distributor module 460 receives the press releases, news feed   a manufacturer of after market auto parts who desires to
  and rss feed, and provide them to one or more press release     distribute a press release regarding a scheduled release of a
  poster/monitor modules (to be referred to hereinafter as        new product to the auto enthusiast fan or forum sites. The
  "press release posters" or "press release poster modules") 10 press release distribution system 400 may also receive news
  470, 472, 474 to be posted at the respective forum sites. In    or RSS feed relevant to one or more of its associated forum
  one embodiment, each of the press release poster modules        sites 1-N (410, 420, 430), and distribute the news or other
  470, 472 and 474 posts or inserts the press releases as a       information to the forum sites and/or users/members of the
  message on the forum (or forum site). In one embodiment,        forum sites.
  the press release poster modules 470, 472, 474 are imple- 15 The press release distribution system 400 then distributes
  mented as plug-ins, such as the PR interface plug-ins 414,      the press release or news to the relevant forum sites (602).
  424 and 434 of FIG. 4.                                          The press release interface plug-in (414, 424 or 434) in the
     In addition to posting the press releases, news feed, and    forum software (412, 422 or 432) of these forum sites posts
  rss feed, the press release poster modules 470, 472, 474        such press release or news at the forum to be viewed by the
  monitor user data and/or forum activities of one or more 2o members and visitors of the forum site.
  users at respective forum sites. The press release poster          The press release plug-in module also monitors user data
  module 470, 472 or 474 may analyze the user data and/or         (e.g., stored in the database 415, 425 or 435) or the respec-
  forum activity data. Alternatively or in addition to the        tive forum site (604). Such user data is gathered from the
  analysis of the user data and/or forum activity data in the     users/members by the forum sites at the time of registration
  press release poster modules 470, 472, 474, in one embodi- 25 or at any other suitable time. The database at the forum site
  ment, the distributor module 460 analyzes the user data         also includes information regarding user activities. By way
  and/or the forum activities. The distributor module 460 may     of example, the database may include such forum activities
  also receive the result of the analysis of one or more of the   as reading the posts (or threads thereof) or writing posts onto
  press release poster modules 470, 472 or 474, and further       the forum sites. The press release plug-in also monitors these
  analyze such analysis result. Then the distributor module 30 forum activities of one or more users/members (605). The
  460 uses the analysis result to target the user/forum site to   monitored information may be gathered and analyzed by the
  direct the press releases, news, advertisements, messages       press release plug-in and/or may be provided to the press
  and/or non-"press" events. Therefore, in one embodiment,        release distribution system to be analyzed to generate user
  the distributor module 460 analyzes or further analyzes the     profiles (606). Based on such user profiles, the press release
  user/forum activity data, and/or controls providing press 35 distribution system can target particular forum sites and/or
  releases, news, rss feed, messages, non-"press" events, and/    members thereof to direct the press releases, news and/or
  or advertisements to the forum sites and/or the users. The      advertisements (608). Hence, based on the user profiles,
  press release poster modules 470, 472 and 474 are not           particular press releases, advertisements and/or news can be
  limited to posting press releases and/or monitoring the user    directed (or provided) to the particular forums and/or users
  data!forum activities, but may be used to post other infor- 40 (610).
  mation such as, for example, advertisements, other news,           While certain exemplary embodiments have been
  messages and/or non-"press" events, or any other informa-       described above in detail and shown in the accompanying
  tion suitable for posting on one or more forum sites.           drawings, it is to be understood that such embodiments are
     As can be seen in the schematic view of a screen shot of     merely illustrative of and not restrictive of the broad inven-
  a forum site home page 500 in FIG. 6, the home page of a 45 tion. It will thus be recognized that various modifications
  forum site typically includes a forum name 504 and one or       may be made to the illustrated and other embodiments of the
  more banner ads 502, 506. The home page typically displays      invention described above, without departing from the broad
  one or more posts 510 posted by the members of the forum.       inventive scope thereof. In view of the above it will be
  Such posts may include threads initiated by a particular        understood that the invention is not limited to the particular
  posting or postings. The home page 500 also displays a press 50 embodiments or arrangements disclosed, but is rather
  release 508, which is displayed with a background color         intended to cover any changes, adaptations or modifications
  (e.g., red) different from that of the member posts 510. This   which are within the scope and spirit of the invention.
  way, press releases from the advertisers 403 can be brought
  to the immediate attention of the forum member. In other           What is claimed is:
  embodiments, the press release post (or the alert thereof) 55 1. A press release distribution system configured to
  may be displayed with other background color, distinguish-      deliver sponsored news content to multiple web sites that
  ing font and/or text format (e.g., bold text) as those skilled  each includes one or more pages containing non-sponsored
  in the art would appreciate. Such press releases can be         content, the press release distribution system comprising
  viewed and referred to as ad units in the described embodi-     multiple web server computers delivering web pages con-
  ment, and may be effective advertisements directed at par- 6o taining sponsored and non-sponsored news content to cli-
  ticular forum sites, and/or particular members or users.        ents, the web server computers each configured to:
  While the press release 508 is shown as an announcement in         monitor user data or user activity at a related one or more
  FIG. 6, the press release 508 may be posted or inserted as a          of the web sites,
  message in other embodiments.                                      request sponsored new content from one or more ad
     FIG. 7 illustrates a flow diagram showing an operation of 65       servers over a communication network for inclusion on
  the press release distribution system in one embodiment in            one or more related web sites based on monitored user
  accordance with the present invention. The flow diagram of            data or activity;




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     post the sponsored news content among the non-spon-               electronically tracking one or more of impressions, clicks,
        sored content at the related one or more of the web               click-through rate, or user actions with respect to the
        sites, wherein the posting comprises displaying the               sponsored news content at the related one or more of
        sponsored news content separately from any banner                 the web sites; and
        advertisement or static header on the page and embed- 5        electronically delivering a specific sponsored news con-
        ding the sponsored news content contiguously together             tent to a user based on the monitored user data or user
        with at least some of the non-sponsored content on the            activity,
        page such that the sponsored content scrolls together          displaying specific sponsored content among non-spon-
        with the at least some of the non-sponsored content on            sored content on a plurality of related web sites;
        the page, and the sponsored news content is placed in 10 wherein the sponsored news content is not a banner
        a fixed position relative to the contiguous non-spon-
        sored news content on the page;                                   advertisement or a static header,
                                                                       wherein   when the sponsored news content is displayed, it
     track one or more of impressions, clicks, click-through
        rate, or user actions with respect to the sponsored news          is displayed separately from any banner advertisement
        content;                                                 15       and contiguously together with at least some of the
     limit a time period during which the sponsored news                  non-sponsored content appearing on the page to scroll
        content is posted at the related one or more of the web           together with the at least some of the non-sponsored
        sites; and                                                        content such that the sponsored news content is in a
     limit a frequency at which the sponsored news content is             fixed position relative to at least some of the contigu-
        displayed;                                               2o       ously displayed non-sponsored content,
     wherein the sponsored news content posted by the web              wherein a time period during which the sponsored news
        server is not a banner advertisement or a static header,          content is posted at the related one or more of the web
     wherein at least one feature of the sponsored news content           sites is limited,
        is the same as a corresponding feature of the contiguous       wherein a frequency at which the sponsored news content
        non-sponsored news content on the page, and at least 25           is displayed for the user is limited, and
        one other feature of the sponsored news content differs        wherein a plurality of features of the sponsored news
        from or is in addition to the corresponding feature of            content are the same as a corresponding plurality of
        the non-sponsored news content in order to distinguish            features of the contiguous non-sponsored news content,
        the sponsored news content from the contiguous non-               and at least one feature of the sponsored news content
        sponsored news content.                                  30       differs from or is in addition to the corresponding
     2. The press release distribution system of claim 1,                 feature of the non-sponsored news content in order to
  wherein the sponsored news content comprises a press                    distinguish the sponsored news content from the non-
  release.                                                                sponsored news content.
     3. The press release distribution system of claim 1,
  wherein the non-sponsored content comprises one or more 35           9. The method of claim 8, wherein the sponsored news
  of messages, postings, posts, or threads.                         content comprises a press release, news, announcement,
     4. The press release distribution system of claim 1, message, news feed, or non-press event.
  wherein the communications network is the Internet.                  10. The method of claim 8, wherein the non-sponsored
     5. The press release distribution system of claim 1,           content  comprises one or more of messages, postings, posts,
  wherein the web servers are further configured to monitor 40 or threads.
  user data and user activity at the related one or more of the        11. The method of claim 8, wherein the communications
  web sites.                                                        network is the Internet.
     6. The press release distribution system of claim 1,              12. The method of claim 8, wherein the plurality of web
  wherein the user activity at the related one or more of the       sites comprise forum sites, fan sites, popular sites, enthusiast
  web sites comprises one or more of posts, reads of posts, or 45 sites, message forums, user forums, or popular forums.
  searches at the related one or more of the web sites.                13. The method of claim 8, further comprising electroni-
     7. The press release distribution system of claim 1,           cally  generating user profiles from the monitored user data
  wherein the sponsored news content comprises one or more          or user activity at the related one or more of the web sites.
  of text, video, or images.                                           14. The method of claim 8, wherein the user activity at the
     8. A method of electronically delivering advertisements as 50 related one or more of the web sites comprises one or more
  sponsored news content to a plurality of web sites that each      of posts, reads of posts, or searches at the related one or more
  includes non-sponsored content, the method comprising:            of the web sites.
                                                                       15. The method of claim 8, wherein the sponsored news
     electronically monitoring user data or activity on one or
        more web sites;                                             content comprises one or more of text, video, or images.
     electronically requesting sponsored news content by a 55 16. The method of claim 8, wherein the sponsored news
        server computer based on the monitored user data or         content is displayed with a background color or another
        activity;                                                   distinguishing feature to denote it as being different from the
     electronically distributing the sponsored news content by      non-sponsored content.
        the server computer to a related one or more of the web        17. The method of claim 8, further comprising electroni-
        sites over the communications networks based on the 6o cally       posting the sponsored news content among the non-
        monitored user data or activity;                            sponsored    content at each of multiple related web sites, and
     electronically embedding the sponsored news content            electronically monitoring user data or user activity at each of
        among the non-sponsored content at the related one or       the multiple web sites.
        more of the web sites;




                                                       APPX322
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                                                                                       US010147121B2


(12) United States Patent                                            (lO) Patent No.: US 10,147,121 B2
       Choi                                                          (45) Date of Patent: *Dec. 4, 2018

(54)   PRESS RELEASE DISTRIBUTION SYSTEM                          (56)                  References Cited

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(73) Assignee: NATIVO, INC., E1 Segundo, CA (US)                   2003/0028441 A1        2/2003 Barsness et al.
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(*) Notice:         Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35                  FOREIGN PATENT DOCUMENTS
                    U.S.C. 154(b) by 0 days.
                                                                  WO      WO 2006/017622 A2 2/2006
                    This patent is subject to a terminal dis-
                    claimer.
                                                                                      OTHER PUBLICATIONS
(21) Appl. No.: 15/476,876
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(22)   Filed:       Mar. 31, 2017                                 archive.
                                                                                      (Continued)
(65)                  Prior Publication Data
       US 2017/0206563 A1         Jul. 20, 2017                   Primary Examiner Meredith A Long
                                                                  (74) Attorney, Agent, or Firm Lewis Roca Rothgerber
                Related U.S. Application Data                     Christie LLP
(63)   Continuation of application No. 11/772,014, filed on
       Jun. 29, 2007, now Pat. No. 9,646,324.                     (57)                    ABSTRACT
(60)   Provisional application No. 60/817,771, filed on Jun.
                                                          A press release distribution system provides press release
       29, 2006.                                          and other news to forum sites as posts. The forum software
                                                          that runs at forum sites includes press release interface
(51) Int. CI.                                             software or is adapted to receive press release interface
      GO6Q 30/00              (2012.01)                   plug-in modules for interfacing with the press release dis-
      GO6Q 30/02              (2012.01)                   tribution system. The press release interface software or
(52) U.S. Cl.                                             plug-in module may also monitor and/or analyze user data of
      CPC ......... GO6Q 30/0271 (2013.01); GO6Q 30/00    forum members and/or forum activities of the users. The
               (2013.01); GO6Q 30/0246 (2013.01); GO6Q    monitored user data and forum activities may be provided to
             30/0255 (2013.01); GO6Q 30/0256 (2013.01);   the press release distribution system for analysis and gen-
                 GO6Q 30/0269 (2013.01); GO6Q 30/0277 eration of user profiles. Using the result of the analysis (e.g.,
               (2013.01); GO6Q 30/0241 (2013.01); GO6Q    user profiles), the press release distribution system can target
                                        30/0251 (2013.01) particular users or forums to direct the press releases, news,
(58) Field of Classification Search                       or advertisements for most effective advertising campaign.
       CPC ........... G06Q 30/0241; G06Q 30/0251; G06Q
                     30/0255; G06Q 30/0256; G06Q 30/0269
       See application file for complete search history.                           18 Claims, 7 Drawing Sheets

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                              BANNER502 AD ]                       FORUMso~,NAME
                                                        [


                                                        BANNERAD
                                                            ~o~                                   508



                                                                                                    510




                                                      APPX324
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  Machine internet archive (6 pages).                               Appl. No. 11/359,003, (7 pages).




                                                        APPX325
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ADVERTISERS                                           AD SITE 1
                                                           104                         0
     103
                                                                                       OO
                                                                                       ~J



                                                      AD SITE 2
                                                           106
                                                            :
   BRAND                                                                   CONSUMERS
MANAGEMENT                                                                    112
  SYSTEM                                              AD SITE N
                                                           108
    100


                                                       POPULAR
                                                        SITES
                                                           109


                                                      MONITORED
                                                        SITES
                                                                  110
                                                                           FIG. 1
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                                                                         O




     BRAND                                        PRESS RELEASE          0
                                  FILE                                   OO
   MONITORING                                      DISTRIBUTION          ~J
                                MANAGER               SYSTEM
     TOOLS BOT
                                  210                   400
      200 201


    AD                 AD                   AD
  TRACKER           GENERATOR           DISTRIBUTOR
    206                207                  208


                AD DIRECTORY SYSTEM 202

                ONLINE PAYMENT SYSTEM
                         204
            BRAND MANAGEMENT SYSTEM
                     100

                                                                FIG. 2
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                                                                           FORUM SITE 1
                                                                                         410
                                                                                               0
                                                                        FORUM SW               OO
                                     ADVERTISERS                                               ~J
                                          403                                  412
                                                                        PR PLUG-IN
                                                                               414



    PRESS           Press releases                                          FORUM SITE 2
                                                                                         420
  RELEASE
DISTRIBUTION                                                             FORUM SW
   SYSTEM                                                                          422
                       News feed                                         PR PLUG-INt424
     4OO
                       RSS feed


                                        FORUM SITE N
                                                430
                                                                               ¯
                                                                           ¯
                                      FORUM SW
           USERS                          432
            44O                                             435
                                      PR PLUG-IN
                                          434
                                                                                    FIG. 4
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                                                                                             0
                     PRESS RELEASE                                                           OO
Press releases                                                             PRESS RELEASE     ~J
                       HANDLER
                        MODULE                                            POSTER / MONITOR
                          450                                              MODULE 470

                                                 DISTRIBUTOR /             PRESS RELEASE
                        NEWS FEED                                         POSTER / MONITOR
  News feed                                      CONTROLLER
                         HANDLER                                           MODULE 472
                                                    MODULE
                         MODULE
                           452
                                                       46O

  rss feed               RSS FEED                                          PRESS RELEASE
                         HANDLER                                          POSTER / MONITOR
                          MODULE                                            MODULE 474
                           454


                                 PRESS RELEASE DISTRIBUTION SYSTEM

                                                 400


                                                                                 FIG. 5
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                                      APPX332
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                                1                                                                   2
      PRESS RELEASE DISTRIBUTION SYSTEM                                   Further, although these fan sites typically provide an
                                                                       advertising tracking program, they generally only indicate
              CROSS-REFERENCE TO RELATED                               how many people saw the ad and how many people clicked
                         APPLICATIONS                                  on it without any further information on ad effectiveness. In
                                                                    5 addition, the fan site operator typically provides advertising
     This application is a continuation of U.S. patent applica-        tracking information once in a while by sending an e-mail,
  tion Ser. No. 11/772,014, filed on Jun. 29, 2007, which              for example, and the advertiser has no way of validating
  claims priority to and the benefit of U.S. Provisional Appli-        their data. Therefore, it is very difficult to quantitatively
  cation No. 60/817,771 filed on Jun. 29, 2006, the entire             assess which site is truly better than another site.
  contents of each of which are incorporated by reference 10 Further, since each site has its own paperwork and pro-
  herein.                                                              cesses for accepting ads and ad money, ranging from very
                                                                       formal to very informal, an advertiser must spend extra time
                 FIELD OF THE INVENTION                                to track which placement invoices should be coming for
                                                                       which sites and for how long.
     The present invention relates to online brand marketing 15 To further complicate the matter, the existing banner
  and monitoring.                                                      images may not be ideal for all of the sites that the
                                                                       advertisements are to be placed on. In this case, separate ads
                         BACKGROUND                                    should be crafted for certain specific sites, which makes
                                                                       tracking even more complicated and the advertiser must
     Global computer networks, such as the Internet, are 2o keep track of which ads go to which sites. In addition, when
  increasingly being used for marketing and advertisements,            the advertiser’s products change and/or a new feature is
  encroaching into advertising markets traditionally reserved          added, the advertiser must re-do all of his advertising
  for printed media (e.g., newspapers and magazine) and/or             banners to reflect the changes and resubmit them to the
  television. Online advertisements often appear on web sites          appropriate sites. This may involve sending e-mails to all of
  or web pages of the World Wide Web (WWW) in a form of 25 the various site owners.
  banner ads, or the like. There are also other web sites that are        Other problems associated with online advertisements
  fan sites (or forum sites) utilized for discussing particular        and marketing that prevent many businesses from effectively
  interests or hobbies. These fan sites normally consist of            utilizing the web for advertising brands or products include:
  message forums and other venues for disseminating infor-             1) difficulty in monitoring positive and negative comments
  mation over the global computer networks, are being used to 3o on user forums, fan sites and/or the like that can make
  portray certain products or brands in a positive or negative         noticeable impacts on sales, as it is difficult and time
  light, and can be important sources of consumer feedback             consuming to monitor the thousands of user forums and
  for advertisers, manufacturers and consumers alike.                  other sites on the web; 2) lack of advertisers’ knowledge or
     Since these fan sites tend to have smaller audiences, one         expertise in gauging the quality of the vendors’ sites and
  should advertise across many of them to reach a sizable 35 limited availability of tools for measuring the performance
  market. While this market is highly desirable, the problem is        of the online placements that are purchased, even when
  that one needs to work through many different sites to reach         advertisers want to diversify their ad spending and adver-
  the market. Also, since each fan site typically requires a fee       tising on enthusiast web sites; and 3) difficulty in monitoring
  for placing an advertisement, it is impractical or impossible        unauthorized retailers who sell fake products because small
  to place advertisements on each and every one of them. 4o or medium-sized businesses generally cannot afford to spend
  Therefore, the advertisers, manufacturers or those seeking to        the time to monitor the entire web for unauthorized dealers.
  reach the market through the fan sites must select the right            Therefore, it is desirable to provide tools that will facili-
  fan sites on which to place their advertisements. Further,           tate the advertisers, manufacturers or brand managers to
  these sites tend to be less professional than typical larger         locate the most suitable fan sites that are frequented by the
  sites (Yahoo, CNN, etc.) that sell ad spaces so it is desirable 45 target audience, and to monitor the effectiveness of any
  to have them fit into a set standard for distributing and            advertisements that are placed on these fan sites. Further, it
  processing ads.                                                      is desirable to provide tools that can be used by the adver-
     Due to a generally large number of fan sites available for tisers or manufacturers to monitor dissemination of infor-
  placing advertisements, it is often very difficult and time          mation regarding their brand names or products over the
  consuming to select those relatively few fan sites to run 5o global computer networks.
  advertisements. For one thing, it is often difficult to identify
  those fan sites that are frequented by a number of potential                      SUMMARY OF THE INVENTION
  customers. Further, it is even more difficult to measure the
  effectiveness of the advertisements placed on any particular            In one exemplary embodiment according to the present
  fan site.                                                         55 invention, a press release distribution system is used to
     Such difficulties in identifying the target fan sites are even    provide press releases, other news, advertisements, mes-
  more pronounced when the brands being advertised or                  sages and/or non-"press" events to the forum sites.
  marketed are for a niche market such as the automotive                  In one exemplary embodiment according to the present
  aflermarket industry, for example. The automotive aflermar-          invention, the press release distribution system inserts or
  ket is already fragmented into a number of different market 6o posts a press release as a message at one or more forum sites.
  segments such as parts for trucks, sport compact cars,                  In one exemplary embodiment according to the present
  domestic performance cars, luxury SUVs, etc. Therefore, it           invention, the press release distribution system interfaces
  is not an easy task for an aflermarket manufacturer, which is        with the forum software that runs at each of the forum sites.
  often a small or medium-sized business with limited                  The forum software may have a built-in software for inter-
  resources and marketing budget, to select one or more 65 facing with the press release distribution system or may be
  aflermarket car enthusiast fan sites that will serve as an           adapted to receive a press release interface plug-in module
  effective venue for its marketing campaign.                          for interfacing with the press release distribution system.




                                                         APPX333
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                               3                                                                  4
     In one exemplary embodiment according to the present              FIG. 5 is a conceptualized block diagram of the press
  invention, the component of the press release distribution        release distribution system of FIG. 4 in one embodiment
  system that runs at respective forum sites, e.g., the press       according to the present invention;
  release interface plug-in, generates a user profile (e.g., a         FIG. 6 is a schematic view of a screen shot of a forum site
  marketing profile) using user data and/or user activities at      home page in an embodiment in accordance with the present
  the forum such as user reads and uploads.                         invention; and
     In an exemplary embodiment according to the present               FIG. 7 is a flow diagram of the operation of the press
  invention, a press release distribution system includes a         release distribution system in one embodiment in accor-
  distributor module adapted to receive a press release, and to     dance with the present invention.
                                                                 10
  distribute the press release to one or more forum sites over
  a network according to relatedaaess between the press release                      DETAILED DESCRIPTION
  and the one or more forum sites; at least one input handler          Exemplary embodiments according to the present inven-
  module adapted to receive the press release from one or           tion provide a method and apparatus for facilitating targeted
  more advertisers, and to provide the press release to the 15 advertising of various different brands and monitoring
  distributor module; and at least one press release poster         thereof, over global computer networks, including distribu-
  module adapted to run at respective said one or more forum        tion of press releases. This application contains subject
  sites, to receive the press release over the network, and to      matter related to U.S. patent application Ser. No. 11/359,003
  post the press release as a message at the respective said one    filed Feb. 21, 2006, which claims priority to and the benefit
  or more forum sites.                                           20 ofU.S. Provisional Application No. 60/654,163 filed on Feb.
     In another exemplary embodiment according to the pres-         18, 2005, the entire contents of both of which are incorpo-
  ent invention, a method of distributing a press release to one    rated herein by reference.
  or more forum sites, is provided. The method includes:               A brand management system or a brand monitoring and
  receiving the press release from one or more advertisers;         marketing system in exemplary embodiments of the present
  distributing the press release to the one or more forum sites 25 invention is a web-based application suite that provides
  over a network according to relatedaaess between the press        businesses with the tools necessary to monitor and market
  release and the one or more forum sites; and posting the          their brands online. The system will provide the businesses
  press release as a message at the one or more forum sites.        with one or more of the tools including, but not limited to,
     In exemplary embodiments of the present invention, a           a brand monitoring tool, an ad management tool, and a file
  brand management system used to provide marketing and 30 management tool. The system can aggregate existing tools
                                                                    and/or provide new tools and services that are not currently
  monitoring services for brands or products over the global
                                                                    available. The brand management system in one embodi-
  computer networks, includes a press release distribution
                                                                    ment also includes a press release distribution system, and a
  system.                                                           number of press release interface software or plug-in rood-
     In another exemplary embodiment according to the pres- 35 ules running at forum sites to interface with the press release
  ent invention, a brand management system coupled to a             distribution system. The press release distribution system
  plurality of web sites over a communications network, is          and the press release interface software may together be also
  provided. The brand management system includes: a press           referred to as a press release distribution system.
  release distribution system adapted to receive a press release       In an exemplary embodiment according to the present
  related to an advertiser and provide the press release to one 40 invention, the brand management system includes an ad
  or more forum sites among the plurality of web sites to post      directory system or an ad directory in a form of a web site
  as a message, in accordance with relatedness between the          to link the brand advertisers or manufacturers to various
  press release and the one or more forum sites; a brand            different web sites that are likely to provide an effective
  monitoring tool adapted to automatically monitor one or           venue for marketing and advertisements for particular mar-
  more of the web sites for at least one keyword related to a 45 ket segments. The advertisers or manufacturers can view
  particular brand or product of the advertiser; and an adver-      (which can include logging in) the web page on which the
  tisement directory system comprising a directory of web           directory of web sites is placed, and select one or more web
  sites that are likely to provide an effective venue for one or    sites based on their particular needs, in accordance with the
  more advertisements for the particular brand or product.          information provided in the directory.
     These and other aspects of the invention will be more 50          The ad directory system can also be used to facilitate
  readily comprehended in view of the discussion herein and         distribution of the advertisements, tracking and monitoring
  accompanying dxawings.                                            of the effectiveness of the advertisements, and transfer of
                                                                    advertisement fees between the advertisers and the web site
         BRIEF DESCRIPTION OF THE DRAWINGS                          owners. The brand management system can use a brand
                                                                 55 monitor including a bot to monitor various different sites
     FIG. 1 is a configuration diagram of a brand management (e.g., popular forums, fan sites, etc.) through a keyword
  system coupled over the global computer networks to adver-        search, for example,
  tisers, ad sites, monitored sites, consumers and dealers;            The brand management system of the present invention
     FIG. 2 is a block diagram showing components of the            provides one or more of, without being limited to, the
  brand management system of FIG. 1;                             60 following features: 1) identification of the sites that would
     FIG. 3 is a flow diagram illustrating the process of using     be suitable or ideal for the brands and/or products of interest,
  the brand management system for ad placement and tracking         instead of finding one site at a time; 2) quantitative assess-
  in an exemplary embodiment of the present invention;              ment as to which site is truly better than another site; 3)
     FIG. 4 is a configuration diagram of a press release           quantitative measurement of ad effectiveness, by such infor-
  distribution system coupled over the global computer net- 65 mation as how many customers actually purchased products
  works to advertisers and forum sites in an embodiment in          as a result of a particular advertisement on a particular web
  accordance with the present invention;                            site; 4) independent confirmation of advertisement tracking




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  data provided by the web site operators; 5) ability to create      of the ad directory system 202. The advertisers may also post
  banner and/or other images that are suitable or ideal for all      specific products and quantities/inventories available for
  of the sites on which the advertisements are placed, because       sale for each product, such that transactions can be facili-
  separate ads may be required for certain specific sites, which     tated through the use of the brand management system 100.
  makes tracking even more complicated since the advertiser 5 Hence, the brand management system 100 brings the sellers
  must keep track of which ads go to which sites; and 6) saving      and purchasers together in an online community setting.
  the advertisers from having to re-do all of the advertising           The transactions can be consummated through the use of
  banners to reflect the changes and resubmit them to the            the online payment system 204. The users of the ad directory
  appropriate sites, when the products change or a new feature       system 100 can, in addition to purchasing products from the
  is added.                               10                         advertisers/manufacturers/distributors online, bid for prod-
     As illustrated in FIG. 1, a brand management system 100         ucts online, such that the ad directory system 202 can be
  is coupled to advertisers 103, and is coupled to monitored         used for advertising, selling, purchasing and/or bidding of
  sites 110, including ad sites 1 to N 104, 106, 108, over the       various different products having different prices and in
  global computer networks 102. The monitored sites 110 also         different quantities. All these transactions can be monitored
  include popular sites 109 that are not necessarily ad sites. By 15 using the ad tracker 206 such that the effectiveness of the ads
  way of example, the popular sites may include large sites          and/or ad campaigns can be measured.
  that are monitored but do not have ad sales provided through          The file manager 210 can be used for online distribution
  the brand management system 100. Consumers 112 (or                 of information related to products or brands (e.g., images,
  computers thereof) are coupled to the ad sites 1 to N 104,         brochures, performance data, etc.) to the dealers and/or the
  106, 108. The consumers generally would not directly 2o consumers. Any advertising fee transactions between the
  access the brand management system 100.                            advertisers and ad site owners can take place using the
     The brand management system 100 is used for monitoring          online payment system 204, for example.
  and marketing by one or more advertisers, for example, and            In other embodiments, the ad distributor 208 may also
  may also be referred to as a brand monitoring and marketing        distribute press releases as ad units, and the ad tracker 206
  system herein. The advertisers 103 represent one or more 25 may also track effectiveness of the press releases. In yet
  different advertisers, manufacturers, dealers or brand mar-        other embodiments, the file manager 210 may also be used
  keters who are using the services provided by the brand            to distribute the press releases. In still other embodiments, a
  management system 100. Similarly, the monitored sites 110          separate press releases distribution system is used as a part
  represent one or more sites that are monitored by the brand        of the brand management system 100 or as a separate
  management system 100 on behalf of the advertisers 103. 30 system!module to receives press releases and other news,
     As can be seen in FIG. 2, the brand management system           and distribute them to the advertisement sites (e.g., forum
  100 includes brand monitoring tools 200, an ad directory           sites). One instance of such press release distribution system
  system 202, an online payment system 204, and a file               is illustrated in FIG. 4, and described in reference to FIGS.
  manager 210. The ad directory system 202 includes an ad            4-6 below.
  tracker 206, an ad generator 207 and an ad distributor 208. 35        Search engine ranking, linked sites, eBay® postings, and
  In one embodiment, the brand management system option-             other negative or positive product comments on forums and
  ally includes a press release distribution system 400. The         other web sites can have a dxamatic impact on how a brand
  box 400 representing the press release distribution system         is perceived. This negative or positive "press" can also
  400 is shown in dotted lines because the press release             directly affect sales. Hence, in an exemplary embodiment,
  distribution system 400 is optional. In addition, the press 4o the brand management system 100 performs brand moni-
  release distribution system 400 may be implemented in one          toring using the brand monitoring tools 200.
  or more other modules, such as the ad tracker 206, the ad             The brand monitoring tools 200 include a bot 201. The
  distributor 208 and/or the file manager 210. Further, some of      brand monitoring tools 200 may also include one or more
  the components of the press release distribution system 400,       other tools known to those skilled in the art. During brand
  such as, for example, press release plug-ins shown in FIG. 45 monitoring, the bot is used to automatically monitor certain
  4 (or press release posters shown in FIG. 5) may be                web sites and web postings for specific keywords. These
  implemented at the forum sites, separately from the rest of        keywords may appear as topics and/or content of discussions
  the brand management system 100.                                   in different online forums. They may also appear as products
     The brand monitoring tools 200 are used for monitoring          for sale on Internet auction sites. Hence, the bot can be used
  the user forums, fan sites, etc. to afford advertisers or 50 to monitor/track various different web sites and/or web
  manufacturers an insight into how their products and/or            postings to search for particular keywords, brands, products,
  brands are received or perceived in the market, especially by      advertiser identifications, etc. to monitor how the monitored
  the relevant online community. The ad directory system 202         brands, products, etc. are characterized/perceived by the
  is for bringing together sellers and buyers of on-line adver-      online community. By way of example, the bot can be
  tisements, and includes ad tracking, ad generation and ad 55 targeted to one or more predetermined web sites. The user
  distributor features as follows. The ad generator 207 can be       may also have flexibility to tailor monitoring of various
  used by the advertisers or manufacturers to create or to           different web sites and postings to fit his needs using the bot.
  modify online ads (e.g., including banners), while the ad          The web sites searched can include one or more of, but are
  distributor 208 and the ad tracker 206 can be used to              not limited to, eBay® and other auction site postings,
  distribute ads and to track effectiveness of ads, respectively. 6o FroogleTM posts, Epinions® posts, forum posts, search
  Alternatively, the advertisers or manufacturers can submit         engines, number of links to the manufacturer’s web site,
  their own pre-created ads for distribution rather than using       Alexa® ranking, Google® Adwords®, Overture®, Groups,
  the ad generator 207.                                              and the like.
     By way of example, the ad directory system 202 facili-             EBAY® is a registered trademark of eBay Inc., a Dela-
  tates the advertisements by the manufacturers/distributors 65 ware corporation; FROOGLETM is a trademark of Google
  by enabling them to create/submit/modify their own adver-          Technology Inc., a California corporation; EPINIONS® is a
  tisements and placing them on the advertisement directory          registered trademark of Epinlons, Inc., a Delaware corpo-




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  ration; ALEXA® is a registered trademark ofAlexa Internet         be able to track information including contact form submis-
  Corporation, a California corporation; GOOGLE® and                sions, orders, number of shopping carts started, product
  Adwords® are registered trademarks of Google Inc., a              pages viewed, and the like.
  Delaware corporation; and OVERTURE® is a registered                  The ad generator 207, which may also be referred to as an
  trademark of Overture Services, Inc. a Delaware corpora- 5 ad generation system or an ad creation system, is a tool that
  tion.                                                             can be used to generate ads that are suitable for all ad sites.
     The advertiser, such as a brand owner and/or a product         The ad generator 207 can also be used to generate two or
  manufacturer, can select which keywords, trademarks, and          more ads, each of which is suitable for placement on one or
  phrases are relevant to their businesses. The advertiser can      more specific sites. In addition, the ad generator 207 can be
                                                                    used to convert existing ads on printed media to banner or
  be given links to any posts that contain these keywords. This 10
  feature can be used, for example, to give the marketing other ads suitable for placement on web pages.
                                                                       The ad distributor 208, which may also be referred to as
  manager an instant overview of the web activity that their        an ad distribution system, provides the advertiser with the
  brand is generating. For example, the marketing managers ability to remove and/or replace ads. Advertisers could also
  can have, all on one screen, a summary of Internet activities     run multiple ads in rotation in one single placement. Option-
  relevant to their brand.                                          ally, advertisers may have the brand management system
     The bot of the brand monitoring tools 200 should be more       automatically disable the less effective one or more ads of a
  sophisticated than a normal bot, and should be used for           plurality of ads. Advertisers would be able to set which
  checking Internet activities. In one embodiment, the bot is       factor they wish to use in evaluating effectiveness including
  able to navigate web sites that require users to log in to the 20 click-thrus, orders, contact form submissions, and/or the
  web site. In this embodiment, the bot is also able to look for    like.
  specific data on each web page. Further, the bot is a                In addition to traditional banner placements, the brand
  programmable bot that can be customized for each site being       management system 100, or the ad distributor 208 thereof,
  monitored.                                                        will enable advertisers to distribute online press releases, or
     In one embodiment, the bot reports indexing failures to 25 choose keyword-related placements tied to text or image ads
  indicate changes to the web sites that may cause the bot to       on the ad sites, which may be enthusiast sites.
  fail. "Behaviors" are programmed into the bot as many of             An online media buy may include dozens of web sites, so
  these web sites have rules designed to exclude bots from          organizing and tracking these payments online will be
  using specific features on their sites. For example, some         important for advertisers. The brand management system
  forums do not allow more than one search every 20 seconds 30 100 can process the transactions for the placement fees
  to avoid bots overloading their servers. Those skilled in the     through its online payment system 204 using a model similar
  art would know how to create/program a bot having one or          to that of an application service provider (ASP) model. By
  more of the above features according to exemplary embodi-         way of example, monthly fees may be charged by the ad
  ments.                                                            sites through the online payment system 204 for placing
     The ad directory system 202, which may also be referred 35 advertisements. Advertiser/site feedback may also be incor-
  to as an ad directory, of the brand management system 100         porated into the brand management system 100. The online
  provides manufacturers or advertisers with a large directory      payment system 204 can also be used by the advertisers
  of web sites related to a particular brand, such as top           and/or the ad sites to pay for services provided by the brand
  automotive enthusiast web sites. The manufacturers or             management system 100.
  advertisers can select web sites that they wish to advertise 40      A model similar to the ASP model can also be used
  their brands or products on, using a system similar to an         between the advertisers and/or ad sites and the brand man-
  online shopping cart.                                             agement system 100. By way of example, a model similar to
     By aggregating and organizing these sites, the brand the ASP can be used to implement the transactions between
  management system will enable advertisers to quickly create       the advertisers and/or the ad sites and the brand management
  and manage ad campaigns across multiple web sites. For 45 system 100. This way, the brand management system 100
  web sites selling advertising spaces, the ad directory system     can charge a monthly access fee to the advertisers and/or ad
  202 will enable them to post their site information, ad           sites for buying and selling of ad spaces.
  programs, audience type, and ad rates. These enthusiast sites        There are at least two fees that are associated with the
  will have the option of having their traffic audited for an       brand management system of the present invention. A first
  additional monthly fee. Such auditing process can be auto- 50 fee is an access fee to access the system for brand monitor-
  mated through an automated digital tracking system (e.g.,         ing and to access ad directory. The access fee can be a
  pixeling), for example. These sites can be specially marked,      monthly ASP style fee, and it is conceivable that some
  for example, to indicate that their traffic has been audited.     customers may only pay this monthly access fee but not buy
     Advertisers or manufacturers should be able to view these      any ads. The online payment system 204 is used to pay for
  enthusiast sites by site type (e.g., make/model) and easily 55 the placement of the ads. The operator of the brand man-
  select multiple ad placements to create an online media buy.      agement system, for example, may keep a percentage of
  Web sites selling their placements through the brand man-         revenue generated through all of the transactions involving
  agement system 100 should be able to review requested             purchasing ad spaces and placing ads.
  placements and ads submitted by manufacturers. Once an ad            According to FIG. 3, the advertiser or manufacturer first
  placement is accepted by a particular web site, the brand 60 accesses the ad directory system (300). The ad directory
  management system 100 will automatically place the ad on          system contains information on available ad sites corre-
  that particular web site. The ad distributor 208 manages ad       sponding to the products or brands of interest. The advertiser
  distribution, and the ad tracker 206 manages detailed ad          or manufacturer selects ad sites based on the site type (e.g.,
  tracking.                                                         catering to the specific industry) and/or the like (302).
     The ad tracker 206, which may also be referred to as an 65 The advertiser or manufacturer may already have avail-
  ad tracking system, would enable advertisers to easily track      able ads, or they may wish to modify existing ads and/or
  a variety of data per ad or per placement. Advertisers would      create new ads using the tools available in the brand man-




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  agement system, such as the ad generator 207 (304). After           distribute, and track ad banners across these publishers; 4)
  selection of the ad sites and the creation!submission of the        The brand monitoring and marketing system will automati-
  ads, a payment is arranged (305), for example, through the          cally monitor posts on these sites to see if anything negative
  online payment system 204. Then, the ads are distributed to         or positive is said about the advertiser; and 5) Other online
  the selected ad sites (306). The effectiveness of the ads can 5 services will be provided to advertisers through the brand
  be tracked (308) using the ad tracker 206, for example. The         monitoring and marketing system (e.g., e-commerce, etc.).
  ad campaign can then be adjusted (310) using factors such              In another embodiment in accordance with the present
  as effectiveness of the various different ad sites.                 invention, a press release distribution system is used to inject
     Further, advertisers or manufactures can gain detailed           or post press releases into the forum. The press releases can
  tracking information by using the brand management system 10 include text, video, graphics, images, multimedia, program-
  100. By way of example, a total summary for the campaign            ming, and/or any other suitable information as those skilled
  may show total clicks, total impressions, click-through rates       in the art would appreciate. Here, each of the press releases
  (CTR) and total user actions, all of which can be tracked,          may be viewed or referred to as an ad unit that can be
  such that ads can be tied to some user activity such as a           embedded into the forums.
  dealer search, product page view, contact form submission, 15 As shown in FIG. 4, a press release (PR) distribution
  or an online order. This way, one or more user activities           system 400 in an embodiment in accordance with the present
  associated with the advertisements can be tracked/moni-             invention, is coupled to advertisers 403 and forum sites 1 to
  tored.                                                              N (410, 420, 430), wherein N is an integer greater than or
     In addition, manufacturers or advertisers can distribute         equal to 3. In the described embodiment, there is no limit to
  ads evenly or remove ineffective ads after so many days or 2o the number of forum sites that the press release distribution
  after so many impressions. Further, the advertisers or manu-        system 400 is coupled with. The press release distribution
  factures can remove or edit existing ads or generate new ads.       system 400 receives press releases, news feed and/or Really
  This way, advertisers or manufactures can quickly change            Simple Syndication (RSS) feed over a network 402, which
  ads on multiple sites, run multiple ads in one placement, run       may be a global computer network or the Internet, or any
  different ads based on time of day, and/or remove ineffective 25 other suitable network known to those skilled in the art. The
  ads without having to resubmit the ads manually to multiple         press release distribution system 400 may be a part of a
  site owners.                                                        brand management system 100, or may be a standard alone
     Currently, product images, documents, and data are typi-         system. Such stand alone press release distribution system
  cally distributed by burning the data onto CD-ROMs as their         may be coupled or not coupled with the brand management
  dealers request them. By moving this functionality online, 30 system 100. One embodiment of the press release system
  the manufacturer will gain several benefits including, but not      400 may be referred to as POSTRELEASETM, which is a
  limited to, reduced labor costs associated with distributing        trademark of CIE Studios, LLC, Long Beach, Calif.
  materials to dealers and media and reduced CD media and                In the example depicted in FIG. 4, the press release
  postage costs.                                                      distribution system 400 receives press releases from the
     The file manager 210 is a part of a suite of tools (i.e., the 35 advertisers 403. In other embodiments, the press release
  brand management system 100) that address the common                distribution system 400 may receive the press releases in any
  needs of advertisers or manufacturers, such as the automo-          other suitable manner over the network 402 or otherwise.
  tive aftermarket industry.                                          Further, the news and RSS feeds may be provided using any
     The file manager 210 should enable advertisers or manu-          suitable method over the network 402 or otherwise, as those
  facturers to do one or more of, but not limited to, the 4o skilled in the art would appreciate. Any advertisements
  following: 1) upload various documents and images; 2)               including text and/or graphics can also be distributed and
  upload large images and automatically have "thumbnail" posted directly into forums using the press release distribu-
  previews created; 3) organize documents and images into             tion system 400, of course. The press releases are posted on
  categories and/or subcategories; 4) establish access rights         (or inserted into) the forum (or forum site) as a message or
  depending on user type; 5) track downloads by user and by 45 an announcement. The "message" may also be referred to as
  file; and 6) provide news/updates to dealers.                       a "post" throughout this specification. Further, the "mes-
     Further, the file manager 210 should enable manufactur-          sage" is not limited to text, but may also include one or more
  ers’ dealers to do one or more of, but not limited to, the          of images, video, web site code, Flash, or any other suitable
  following: 1) view thumbnails of images (created automati-          information or data.
  cally by the system); 2) search for files by a keyword; 3) 5o          As can be seen in FIG. 4, one or more users 440 (i.e.,
  browse files by category/subcategory; 4) select multiple files      computers or other network devices thereof) are also
  or download entire categories of files; and 5) quickly see          coupled to the forum sites 1-N (410, 420, 430) via the
  new files uploaded since the last login.                            network 402. The users 440 are consumers who may be
     While the present application has been described mainly          members or users of the forum sites 1-N. The press releases
  in reference to the automotive aflermarket, the directory 55 posted on the forum sites 1-N will be read by the users 440
  system in exemplary embodiments of the present invention            of the corresponding forum sites. The users 440 upload posts
  can be applied to any suitable market with strong enthusiast        at the forum sites, and also read the posts of interest from the
  following online. The sites and market segments having forum sites. These user activities can be used or analyzed to
  such strong enthusiast following online, may include wed-           generate personal/marketing profiles for the users. While
  ding sites, golf, professional wrestling, and the like.          6o only one box 440 is used to designate the users in FIG. 4, the
     As discussed above, in embodiments in accordance with            users of course can be located at multiple different locations
  the present invention, the following strategy is used, for          (e.g., across the globe).
  example, for brand monitoring, marketing and management:               The press release distribution system 400 may be included
  1) A large number of small automotive forums (publishers)           in the brand management system 100 of FIGS. 1 and 2, for
  are aggregated into one automotive network; 2) The clients 65 example, or implemented as a system separate from the
  are enabled to easily create online ad campaigns by selecting       brand management system 100 on the same or different
  various publishers; 3) The advertisers are enabled to upload,       server from that of the brand management system 100. In




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  other embodiments, the features and functions of the press           release distribution system 400 for such analysis/determi-
  release distribution system 400 are implemented in other             nation. As such, in the described embodiment, the press
  modules of the brand management system 100, such as the              release distribution system 400 is integrated into existing
  ad tracker 206, the ad distributor 208 and/or the file manager       forum sites using the press release plug-in modules, rather
  210.                                                               5 than sites specifically developed for operating with the press
     The forum site 1 (410) runs forum software 412; the               release distribution system. Hence, the press release distri-
  forum site 2 (420) runs forum software 422; and the forum            bution system 400 draws existing data from forums (i.e.,
  site N (430) runs forum software 432. The forum software             mines already existing data) that are generated by user
  412, 422 and 432 respectively have installed therein, respec-        activities on forums. To get these forum sites to join the
  tive press release (PR) plug-ins (or plug-in modules) 414, 10
                                                                       network of press release distribution system 400, a revenue
  424 and 434. The press release plug-ins may also be referred         sharing may be instituted, in which the press release distri-
  to as press release interface plug-ins herein. The forum
  software may be VBulletin or any other forum software                bution system 400 delivers ads and shares revenue, as many
                                                                       of these forum sites, despite having great traffic, typically
  available to those skilled in the art. Those skilled in the art
  would appreciate that the plug-in modules are designed and 15 need help to generate revenue from the traffic.
  developed to work with one or more desired forum software.              In other embodiments, the forum software may already
  The press release plug-in module receives the press releases         include a press release interface module for receiving and
  and/or other news from the press release distribution system         posting press releases from the press release distribution
  400, and posts the received press releases and/or other news         system 400 and for monitoring user data and forum activity
  on the corresponding forum site. Alternatively, the press 20 thereof, such that a separate plug-in module is not necessary.
  release distribution system 400 and the press release plug-          Hence, while the press release interface plug-in module is
  ins may together also be referred to as a press release              installed separately by the forum site owner, the site owner
  distribution system.                                                 needs only install the forum software when it already
     Each of the forum sites 1 to N (410, 420, 430) also               includes the features and functions of the press release
  includes a respective one of databases 415,425 and 435. The 25 interface plug-in module.
  database includes user data, e.g., name, birth date/age,                The press release distribution system 400 in one embodi-
  gender, occupation, addxess, e-mail addxess, phone number,           ment limits the time period during which particular press
  and/or any other personal data required (or optionally               releases are posted at one or more forums. Further, in one
  requested) by the forum site for registration as a member.           embodiment, the press release distribution system 400 (ei-
  The database also includes the forum postings, traffic and 30 ther alone or together with the forum software and/or the
  forum activities, and may also include history and/or archive
                                                                       press release interface plug-in module) limits the frequency
  of the forum postings, traffic and forum activities. The forum
                                                                       at which the press releases are displayed for each user. The
  activities may include the activities of the users/members
                                                                       press release distribution system 400 in one embodiment
  while logged onto the forum site, such as the posts down-
  loaded/read and posts written!uploaded by the users.             35 also tracks the result (i.e., effectiveness) of the press release
     In one embodiment, the press release plug-in module is            distribution campaigns.
  used to monitor the posts, user information, user behavior,             As shown in FIG. 4, therefore, press releases, news and/or
  and/or other forum activity at the corresponding forum site.         advertisements from!related to the advertisers 403 of par-
  By way of example, most forum sites require that the users           ticular brand or product can be directed to particular one or
  be registered as members in order to post on forums, while 4o more forum sites in accordance with the relationship or
  non-registered users can still view the site and posts thereon.      relatedness between the press releases, news, advertise-
  Also, most forums are broken down by topic areas. Further,           ments, advertisers, brand, product and the forum sites. By
  the registration process on many forums including nearly all         way of example, press releases, advertisement, etc. from
  automotive forums require age information and optional               aftermarket automotive parts manufacturers will be directed
  location, occupation, and other personal data. The press 45 to forum sites of auto enthusiasts and press releases, adver-
  release plug-in in one embodiment uses such personal data            tisements, etc. from golf club manufacturers will be directed
  and by tracking the content of each message the user posts           to golf enthusiast forum sites. Further, in one embodiment,
  and reads, to develop a marketing profile for that user.             the press releases, advertisements, news, etc. are directed to
  Further, almost every forum has a search feature or function,        one or more particular users/members of the forum sites in
  and the search activity of the user (e.g., search terms or 5o accordance with the user profiles and/or user activities at the
  keywords used by the user during the search) can also be             forum site. By way of example, a user actively reading or
  used to create user profile. As such, the plug-in module in          uploading on threads on multi-function cellular phones will
  one embodiment monitors the forum activity of the user and           be targeted to be provided with press releases and/or adver-
  uses that information to create a marketing profile (or user         tisements from cellular phone manufacturers.
  profile) and then deliver ads against that profile for a targeted 55    FIG. 5 is a conceptual block diagram of the press release
  advertising. By way of example, in one embodiment, the               distribution system 400 of FIG. 4. As shown in FIG. 5, the
  marketing profile (or user profile) can be created by analyz-        press release distribution system includes a press release
  ing the posts/messages that the user reads, the posts/mes-           handler module (or press release handler) 450, a news feed
  sages that the user creates, and/or the profile information the      handler module (or news feed handler) 452 and an rss feed
  user entered when the user created his/her account on the 60 handler module (or rss feed handler) 454 for receiving and
  forum.                                                               handling press releases, news feed, and rss feed, respec-
     By way of example, if someone is viewing a post thread            tively. The press release handler module 450, the news feed
  about wheels and he responds to the thread, the press release        handler module 452 and the rss feed handler module, either
  plug-in module can be used to determine that that particular         together or separately, may also be referred to as an input
  user may have an interest in wheels, and deliver wheel ads 65 handler or input handler module. The term "module" is used
  to that user. Alternatively, the press release plug-in module        throughout this specification to refer to any hardware, soft-
  may provide the user activity information to the press               ware, firmware, application, tool, widget, plug-in, any other




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  suitable processing apparatus or method known to those          FIG. 7 will be described in reference to FIGS. 4, 5 and 7. The
  skilled in the art to implement the described functions, or     press release distribution system 400 first receives a press
  any combinations thereof.                                       release or news (600). The press release may have originated
     The press release distribution system 400 also includes a    from one of the advertisers 403 who desires to use the press
  distributor/controller module 460 (to be referred to herein- 5 release as an advertisement to be distributed to the forum
  after as "distributor" or "distributor module") 460. The        sites of interest. By way of example, the advertiser may be
  distributor module 460 receives the press releases, news feed   a manufacturer of after market auto parts who desires to
  and rss feed, and provide them to one or more press release     distribute a press release regarding a scheduled release of a
  poster/monitor modules (to be referred to hereinafter as        new product to the auto enthusiast fan or forum sites. The
  "press release posters" or "press release poster modules") 10 press release distribution system 400 may also receive news
  470, 472, 474 to be posted at the respective forum sites. In    or RSS feed relevant to one or more of its associated forum
  one embodiment, each of the press release poster modules        sites 1-N (410, 420, 430), and distribute the news or other
  470, 472 and 474 posts or inserts the press releases as a       information to the forum sites and/or users/members of the
  message on the forum (or forum site). In one embodiment,        forum sites.
  the press release poster modules 470, 472, 474 are imple- 15       The press release distribution system 400 then distributes
  mented as plug-ins, such as the PR interface plug-ins 414,      the press release or news to the relevant forum sites (602).
  424 and 434 of FIG. 4.                                          The press release interface plug-in (414, 424 or 434) in the
     In addition to posting the press releases, news feed, and    forum software (412, 422 or 432) of these forum sites posts
  rss feed, the press release poster modules 470, 472, 474        such press release or news at the forum to be viewed by the
  monitor user data and/or forum activities of one or more 2o members and visitors of the forum site.
  users at respective forum sites. The press release poster          The press release plug-in module also monitors user data
  module 470, 472 or 474 may analyze the user data and/or         (e.g., stored in the database 415, 425 or 435) or the respec-
  forum activity data. Alternatively or in addition to the        tive forum site (604). Such user data is gathered from the
  analysis of the user data and/or forum activity data in the     users/members by the forum sites at the time of registration
  press release poster modules 470, 472, 474, in one embodi- 25 or at any other suitable time. The database at the forum site
  ment, the distributor module 460 analyzes the user data         also includes information regarding user activities. By way
  and/or the forum activities. The distributor module 460 may     of example, the database may include such forum activities
  also receive the result of the analysis of one or more of the   as reading the posts (or threads thereof) or writing posts onto
  press release poster modules 470, 472 or 474, and further       the forum sites. The press release plug-in also monitors these
  analyze such analysis result. Then the distributor module 30 forum activities of one or more users/members (605). The
  460 uses the analysis result to target the user/forum site to   monitored information may be gathered and analyzed by the
  direct the press releases, news, advertisements, messages       press release plug-in and/or may be provided to the press
  and/or non-"press" events. Therefore, in one embodiment,        release distribution system to be analyzed to generate user
  the distributor module 460 analyzes or further analyzes the     profiles (606). Based on such user profiles, the press release
  user/forum activity data, and/or controls providing press 35 distribution system can target particular forum sites and/or
  releases, news, rss feed, messages, non-"press" events, and/    members thereof to direct the press releases, news and/or
  or advertisements to the forum sites and/or the users. The      advertisements (608). Hence, based on the user profiles,
  press release poster modules 470, 472 and 474 are not           particular press releases, advertisements and/or news can be
  limited to posting press releases and/or monitoring the user    directed (or provided) to the particular forums and/or users
  data!forum activities, but may be used to post other infor- 4o (610).
  mation such as, for example, advertisements, other news,           While certain exemplary embodiments have been
  messages and/or non-"press" events, or any other informa-       described above in detail and shown in the accompanying
  tion suitable for posting on one or more forum sites.           drawings, it is to be understood that such embodiments are
     As can be seen in the schematic view of a screen shot of     merely illustrative of and not restrictive of the broad inven-
  a forum site home page 500 in FIG. 6, the home page of a 45 tion. It will thus be recognized that various modifications
  forum site typically includes a forum name 504 and one or       may be made to the illustrated and other embodiments of the
  more banner ads 502, 506. The home page typically displays      invention described above, without departing from the broad
  one or more posts 510 posted by the members of the forum.       inventive scope thereof. In view of the above it will be
  Such posts may include threads initiated by a particular        understood that the invention is not limited to the particular
  posting or postings. The home page 500 also displays a press 5o embodiments or arrangements disclosed, but is rather
  release 508, which is displayed with a background color         intended to cover any changes, adaptations or modifications
  (e.g., red) different from that of the member posts 510. This   which are within the scope and spirit of the invention.
  way, press releases from the advertisers 403 can be brought        What is claimed is:
  to the immediate attention of the forum member. In other           1. A method of displaying sponsored posts among a
  embodiments, the press release post (or the alert thereof) 55 plurality of non-sponsored posts on one or more web pages,
  may be displayed with other background color, distinguish-      the method comprising:
  ing font and/or text format (e.g., bold text) as those skilled     electronically receiving one or more sponsored posts over
  in the art would appreciate. Such press releases can be               a communications network, wherein the sponsored post
  viewed and referred to as ad units in the described embodi-           is directed to a particular user or user type;
  ment, and may be effective advertisements directed at par- 60      electronically displaying the sponsored post among the
  ticular forum sites, and/or particular members or users.              non-sponsored posts on the web page;
  While the press release 508 is shown as an announcement in         electronically tracking user data or activity with respect to
  FIG. 6, the press release 508 may be posted or inserted as a          the sponsored post, the data or activity comprising one
  message in other embodiments.                                         or more of impressions, clicks, click-through rate, or
     FIG. 7 illustrates a flow diagram showing an operation of 65       user actions;
  the press release distribution system in one embodiment in         wherein the sponsored post is not a banner advertisement
  accordance with the present invention. The flow diagram of            or a static header,




                                                       APPX339
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                                                     US 10,147,121 B2
                              15                                                                 16
    wherein when the sponsored post is displayed, it is                 display the sponsored posts among the non-sponsored
        displayed separately from any banner advertisement                 posts on the web page;
        and contiguously together with at least some of the             monitor user data or user activity directed to the spon-
        non-sponsored posts appearing on the web page to                   sored posts; and
        scroll together with the at least some of the non- 5            utilize a particular one of the monitored user data or user
                                                                           activity to deliver a specific advertisement in a form of
        sponsored post such that the sponsored post is in a fixed          the sponsored post to a particular user or user type, and
        position relative to at least some of the contiguously             to track one or more of impressions, clicks, click-
        displayed non-sponsored posts,                                     through rate, or user actions with respect to the spon-
    wherein the sponsored post includes at least one of video              sored post,
        or image content;                                           10 wherein the sponsored post includes image or video
    wherein a time period during which the sponsored post is               content, and
        posted is limited,                                              wherein the sponsored post is not a banner advertisement
    wherein a frequency at which the sponsored post is                     or a static header,
        displayed for the user or user type is limited, and             the one or more servers further configured to display the
                                                                  15       sponsored post separately from any banner advertise-
    wherein a plurality of features of the sponsored post are              ment or static header on the page, embed the sponsored
        the same as a corresponding plurality of features of the
        contiguous non-sponsored posts, and at least one fea-              post contiguously together with at least some of the
        ture of the sponsored post differs from or is in addition          non-sponsored posts on the page, enable the sponsored
        to the corresponding feature of the non-sponsored posts 2o         post to scroll together with the at least some of the
        in order to distinguish the sponsored posts from the               non-sponsored posts on the page, and place the spon-
        non-sponsored posts.                                               sored post in a fixed position relative to the contiguous
     2. The method of claim 1, wherein the sponsored post                  non-sponsored posts on the page,
  comprises a press release, news, announcement, message,               wherein   a plurality of features of the sponsored posts are
  advertisement, or non-press event.                                       the same as a corresponding plurality of features of the
                                                                  25       contiguous non-sponsored posts, and at least one fea-
     3. The method of claim 1, wherein the non-sponsored post
  comprises one or more of messages.                                       ture of the sponsored post differs from or is in addition
                                                                           to the corresponding feature of the non-sponsored posts
     4. The method of claim 1, wherein the communications
  network is the Internet.                                                 in order to distinguish the sponsored posts from the
     5. The method of claim 1, wherein each of the one or more 30          non-sponsored posts.
  web pages comprise one or more of forum sites, news sites,            11. The system of claim 11), wherein the sponsored post
  fan sites, popular sites, enthusiast sites, message forums,        comprises a press release, news, announcement, message,
  user forums, online communities, or popular forums.                news feed, advertisement, or non-"press" event.
     6. The method of claim 1, further comprising electroni-            12. The system of claim 10, wherein the non-sponsored
  cally generating user profiles from the electronically tracked 35 post comprises one or more of messages.
  user data or user activity at one or more of each of the web          13. The system of claim 10, wherein the communications
  pages.                                                             network is the Internet.
     7. The method of claim 1, wherein the user activity at one         14. The system of claim 10, wherein each of the one or
  or more of the web pages on which the sponsored posts are          more web pages comprise forum sites, fan sites, popular
  placed comprises one or more reads of the sponsored posts 4o sites, enthusiast sites, online communities, message forums,
  or searches at the web pages.                                      user forums, or popular forums.
     8. The method of claim 1, wherein the sponsored post is            15. The system of claim 10, wherein the distribution
  displayed with a background color or another distinguishing        system is further configured to generate user profiles from
  feature to denote it as being different from the non-spon-         the monitored user data or user activity at one or more of the
  sored posts.                                                       web pages on which the sponsored posts are placed.
                                                                  45 16. The system of claim 10, wherein the user activity at
     9. The method of claim 1, further comprising electroni-
  cally posting the sponsored posts among the non-sponsored          one or more of the web pages comprises one or more of
  posts at each of multiple web pages, and electronically            non-sponsored posts, reads of sponsored posts, or searches
  monitoring user data or user activity at each of the multiple      at one or more of the web pages on which the sponsored
  web pages.                                                         posts are placed.
                                                                  5o 17. The system of claim 10, wherein the sponsored post
     11). A system configured to distribute advertisements as
  sponsored posts for display among non-sponsored posts, the         further comprises text.
  distribution system comprising:                                       18. The system of claim 10, wherein the sponsored post
     one or more servers configured to:                              is displayed  with a background color or another distinguish-
     distribute sponsored posts on behalf of one or more 55 ing feature to denote it as being different from the non-
                                                                     sponsored posts.
        advertisers over a communications network to one or
        more web pages over the communications network;




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FORM 19. Certificate of Compliance with Type-Volume Limitations                             Form 19
                                                                                           July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 23-1392

  Short Case Caption: Integrated Advertising Labs, LLC v. Revcontent, LLC

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        03/14/2023
  Date: _________________                       Signature:        /s/ Justin B. Kimble

                                                Name:             Justin B. Kimble




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